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   EXHIBIT 5
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1                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK
2
                                CASE NO.:        24-cv-6563 (LJL)
3
        RUBY FREEMAN and WANDREA' MOSS,
4
               Plaintiffs,
5
        -vs-
6
        RUDOLPH W. GIULIANI,
7
              Defendant.
 8      _______________________________/
 9
10                              West Palm Beach Marriott
                                1001 Okeechobee Blvd.
11                              West Palm Beach, FL 33401
12
                                DATE:      Friday, December 27, 2024
13                              TIME:      9:12 a.m. - 5:28 p.m.
14
15
                    VIDEO DEPOSITION OF RUDOLPH W. GIULIANI
16
17
18
19
20
21                    Taken on behalf of the PLAINTIFFS before
22      Jennifer L. Bush, RPR, Notary Public in and for the State
23      of Florida at Large, pursuant to Notice of Taking
24      Deposition in the above cause.
25

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1                         A P P E A R A N C E S
2       APPEARING ON BEHALF OF THE PLAINTIFFS:
3
                              Aaron Nathan, Esquire
4                             Joanna Lamberta, Esquire
                              Meryl Governski, Esquire
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 8
 9      APPEARING ON BEHALF OF THE DEFENDANT:
10
                      Joseph M. Cammarata, Esquire
11                    Cammarata & DeMeyer PC
                      456 Arlene Street
12                    Staten Island, NY 10314
                      718-447-0020
13                    Joe@cdlawpc.com
14      APPEARING ON BEHALF OF ANDREW GIULIANI:
15                    Scott B. McBride, Esquire
                      Lowenstein Sandler LLP
16                    One Lowenstein Drive
                      Roseland, New Jersey 07068
17                    973-597-6136
18      Also Present:
19                    Daniel Ragland, Videographer
20
21
22
23
24
25

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1                         THE VIDEOGRAPHER:           We are now on the record

2                   on -- at 9:12 a.m. on December 27th, 2024.

3                         Please note that the microphones are

4                   sensitive and may pick up whispering and private

5                   conversations.

6                         Please mute your phones at this time.

7                         Audio and video recording will continue to

8                   take place unless all parties agree to go off the

9                   record.

10                        This is Media Unit 1 of the video-recorded

11                  deposition of Rudolph W. Giuliani, taken by

12                  counsel for plaintiff in the matter of Ruby

13                  Freeman versus (sic) Wandrea' Moss versus Rudolph

14                  W. Giuliani.

15                        My name is Daniel Ragland, the videographer

16                  representing Veritext.          The court reporter is

17                  Jennifer Bush from the firm Veritext.

18                        Will counsel please announce their

19                  appearances for the record, after which the court

20                  reporter will swear in the witness.

21                        MR. NATHAN:       Aaron Nathan, Willkie Farr &

22                  Gallagher.     I am counsel for plaintiffs.

23                        MS. LAMBERTA:         Joanna Lamberta, Willkie

24                  Farr & Gallagher.       I am counsel for plaintiffs.

25                        MS. GOVERNSKI:         Meryl Governski, Wilkie

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1                   Farr & Gallagher, also counsel for plaintiffs.

2                         MR. CAMMARATA:         Joseph Cammarata, Cammarata

3                   & DeMeyer PC, attorney for Rudolph W. Giuliani.

4                         MR. MCBRIDE:        Scott McBride, Lowenstein

5                   Sandler for intervener, Defendant Andrew Giuliani.

6       WHEREUPON,

7                                RUDOLPH W. GIULIANI,

8       called as a witness on behalf of the PLAINTIFFS, after

9       having been first duly sworn, was examined and testified

10      as follows:

11                        THE WITNESS:        I do.

12                               DIRECT EXAMINATION

13      BY MR. NATHAN:

14                  Q.    Mr. Mayor --

15                  A.    Yes.

16                  Q.    -- thank you for making time for us today.

17      I know you have done this before.                I apologize for the

18      boring introduction, but I've got to run through some

19      housekeeping.

20                        Could you please state your full name for

21      the record?

22                  A.    Rudolph, R-u-d-o-l-p-h, W., middle initial

23      for William, Giuliani, G-i-u-l-i-a-n-i.

24                  Q.    Thank you.

25                        You've been deposed before, right?

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1                   A.   Yes, sir.

2                   Q.   So you understand how this works?

3                   A.   I do.

4                   Q.   And you understand you are under oath?

5                   A.   I do.

6                   Q.   You understand that your testimony today

7       carries the same weight as testimony in court?

8                   A.   Yes, sir.

9                   Q.   Is there any reason you might not be able

10      to give accurate testimony today?

11                  A.   I couldn't hear the first part.

12                  Q.   Is there any reason you might not be able

13      to give accurate testimony today?

14                  A.   No.

15                  Q.   Is there any reason your memory might be

16      less than sharp -- less sharp than usual today?

17                  A.   No, sir.

18                  Q.   Do you have any physical or mental

19      conditions that would prevent you from giving your best

20      testimony today?

21                  A.   No, sir.

22                  Q.   If I ask a question that is unclear to you,

23      will you let me know?

24                  A.   Yes, sir, I will.

25                  Q.   And if you need a break, please let me

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1       know.

2                   A.    I will.

3                   Q.    You can take one.

4                         How did you prepare for this deposition?

5                   A.    I talked to my lawyers.              I reviewed some

6       documents to refresh my recollections that I could think

7       of that would come up possibly.               That's about it.

8                   Q.    What documents did you review?

9                   A.    Some of the motions -- I can't remember

10      really which documents.          I looked through a group of

11      documents that relate to the case when I -- different,

12      yeah, mostly memorandum in the case, memoranda in the

13      case.

14                  Q.    In addition to any filings in this case,

15      did you review any of your own communications?

16                  A.    No, sir, I don't think so.              Maybe

17      sporadically, not -- not in a regular kind of way.

18                  Q.    Okay.     Did you speak with anyone other than

19      your attorneys in preparation for the deposition?

20                  A.    Not in preparation for the deposition, no.

21                  Q.    Who did you speak to?

22                        MR. CAMMARATA:         Objection to the form.

23                        THE WITNESS:        I spoke to -- to Joe and I

24                  spoke to -- what attorneys did I speak to?

25                        (Simultaneously speaking.)

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1       BY MR. NATHAN:

2                   Q.   Excuse me.       I asked, other than your --

3       other than your attorneys, did you speak for -- did you

4       speak to anyone in preparation for the deposition?                     You

5       said "not in the preparation of the deposition"?

6                   A.   No.     I spoke about the fact of the

7       deposition with a number of people --

8                   Q.   Okay.

9                   A.   -- that I was going to be deposed today.

10                  Q.   Okay.     And who were those people?

11                  A.   Oh, my gosh.        Anybody who wanted to have an

12      appointment today.        Friends that called me for Christmas,

13      who asked me if I was going to be deposed.                   It is quite

14      well known.

15                  Q.   Fair enough.        Thanks for helping me get

16      that out of the way.

17                       All right.       Where were you born?

18                  A.   I was born in Brooklyn, New York.

19                  Q.   And did you grow up in the city?

20                  A.   For the first seven years in New York City.

21      For the next 14 years or so in Nassau County, although I

22      commuted to the city every day from the time I was 13,

23      and then I went to college in the city.                But my home was

24      in Nassau County.

25                  Q.   In Nassau County.           And then where did you

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1       go to law school?

2                   A.   I went to NYU.

3                   Q.   And that's also in New York City?

4                   A.   Yes, I -- that's right.

5                   Q.   I'm just taking a stab in the dark here,

6       but I believe you also served as US attorney for the

7       Southern District?

8                   A.   I did.

9                   Q.   And mayor of New York City?

10                  A.   That is correct.

11                  Q.   And it's fair to say that you are a

12      lifelong New Yorker?

13                  A.   Well, up until a year and a half ago, yeah.

14                  Q.   Okay.

15                  A.   Well, no, actually, let me make clear.                I

16      lived in Washington for six of the years that you are

17      talking about at three different times -- at two

18      different times.      I'm sorry.

19                  Q.   Okay.    Let's -- let's pin that down.

20                       When did you live in Washington the first

21      time?

22                  A.   I lived in Washington from 1974 to 1977.

23      And I lived in Washington from 1980 to 1983.

24                  Q.   And from 1974 to 1977, why were you living

25      in Washington?

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1                   A.   I was the associate deputy attorney

2       general, which is a -- one of the two chiefs of staff for

3       the deputy attorney general.

4                   Q.   Okay.   And the deputy attorney general, the

5       associate deputy attorney general is a role at the

6       Justice Department in Washington DC?

7                   A.   Yeah, the department -- I was an assistant

8       US attorney before that and then I went to Washington to

9       be one of the two chiefs of staff to Judge Harold Tyler

10      who became the associate attorney general.

11                  Q.   Okay.   And then from 19 -- I believe the --

12      from 1980 to 19- --

13                  A.   1981, actually --

14                  Q.   Okay.

15                  A.   -- the official appointment --

16                  Q.   Okay.

17                  A.   -- to '83.

18                  Q.   Okay.   1981 was when the Reagan

19      administration began?

20                  A.   Correct, and I was the associate attorney

21      general which is that third-ranking position of the

22      Justice Department.

23                  Q.   The third ranking -- and what aspects of

24      the Justice Department did you supervise as associate

25      attorney general?

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1                   A.   I -- I supervised the criminal divisions of

2       the Justice Department, both the criminal division and

3       the criminal divisions and the civil division, anti-trust

4       division, the civil rights division, the environmental.

5                        I supervised US Marshals; and in those

6       days, Immigration and Nationalization Service, the Bureau

7       of Prisons, the pardon attorney, anything having to do

8       with criminal matters that reported to the attorney

9       general reported through my office.

10                       Anything that had to do with civil matters

11      and the budget reported -- and Congress reported to the

12      Deputy Attorney General's Office.             So that's the way we

13      divided.

14                  Q.   Okay.

15                  A.   Other justice departments divided -- just

16      divided differently.

17                  Q.   Did you have any -- did you supervise the

18      Office of the United States Trustee?

19                  A.   United States Attorneys?

20                  Q.   Trustee.

21                  A.   No, I believe the deputy did.            That would

22      have been a civil function.          I'm not actually sure.         I

23      don't remember.

24                  Q.   Okay.   Only if you recall.

25                  A.   It would make sense to me that the deputy

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1       attorney general would do that.

2                   Q.   Okay.   All right.        Based on that, it sounds

3       like you have quite a bit of experience as a lawyer in

4       many different jobs.

5                        At this point, you know your way around

6       litigation?

7                   A.   Yes, sir.

8                   Q.   And you understand what civil discovery is?

9                   A.   I do.

10                  Q.   You responded to some discovery in this

11      case?

12                  A.   Oh, my gosh, many, not just yours but

13      thousands of others.

14                  Q.   Sure.   And in this case, the case that's

15      captioned Freeman versus Giuliani in the Southern

16      District of New York, you understand it has two different

17      docket numbers?

18                  A.   I know there are two different cases, yeah.

19                  Q.   Okay.   All right.        You know that there is a

20      case with the docket number -- a miscellaneous docket

21      number 24 miscellaneous-353?

22                  A.   That number doesn't mean anything to me,

23      but...

24                  Q.   That doesn't?       Okay.     All right.     Well, I

25      don't want to ask you to talk about something you're not

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1       aware of.

2                        But you responded to discovery requests

3       from the plaintiffs in this litigation over the question

4       of your homestead?

5                   A.   Yes.

6                   Q.   Okay.     And you also responded to discovery

7       in this litigation over enforcement of the plaintiffs'

8       judgment against you?

9                        MR. CAMMARATA:          Objection.

10                       You can answer.

11                       THE WITNESS:        Yes.

12      BY MR. NATHAN:

13                  Q.   Okay.     And the discovery responses that you

14      provided to the plaintiffs in this case have been

15      truthful?

16                  A.   To the best of my ability.

17                  Q.   Some of those responses were -- did you

18      respond to any interrogatories?

19                  A.   I believe I did.

20                  Q.   And your --

21                  A.   I get them confused.            You have to

22      understand that your case is one of, at times, four or

23      five massive discovery requests I get at once from

24      different cases.        I'm involved in a dozen, maybe more

25      than a dozen litigations in which four or five are very

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1       active.

2                   Q.   I understand.       And you take each of them

3       seriously, right?

4                   A.   As serious as I can, being inundated.

5       There are only 24 hours in a day.

6                   Q.   When you get a discovery request from the

7       plaintiffs, you do your best to answer it completely and

8       fully?

9                   A.   Yes, sir.

10                  Q.   Okay.   And you answered interrogatories in

11      this case under oath?

12                  A.   If that's what it says.

13                  Q.   Okay.   When you receive a document that

14      asks for your responses under oath, you understand that

15      that means that your answers are sworn?

16                  A.   Yes, sir.    At the bottom when I sign it,

17      that's what it says, yeah.

18                  Q.   Okay.   And you answered the interrogatories

19      in this case truthfully?

20                  A.   Yes, sir.

21                  Q.   Okay.   Whenever you are under oath, you

22      tell the truth?

23                  A.   I do.

24                  Q.   And generally when you testify in court,

25      you tell the truth?

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1                    A.    Always when I testify in court.               I tell the

2       truth to the best of my ability.

3                    Q.    Okay.     And when you testify in a

4       deposition, you tell the truth?

5                    A.    Again, to the best of my ability.

6                    Q.    When you file documents in court, you also

7       tell the truth?

8                          MR. CAMMARATA:         Objection.

9                          THE WITNESS:        Again, to the best of my

10                   ability, yes.

11      BY MR. NATHAN:

12                   Q.    When you say "to the best," is there a

13      reason that you would be unable to answer truthfully?

14                   A.    Sure, I don't remember.              I might remember

15      incorrectly.       There are a thousand reasons why you could

16      testify incorrectly rather than untruthfully.                    You know

17      that.       Particularly if you are testifying in sometimes

18      simultaneously five cases, six cases.

19                   Q.    Okay.     If you testified incorrectly, you'd

20      fix the mistake, right?

21                   A.    When it is called to my attention, of

22      course.

23                   Q.    Okay.     And if you filed something in court

24      that was inaccurate in any way, you'd fix the mistake?

25                   A.    Again, if it was called to my attention.

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1                   Q.   Okay.   You'd make an amended filing?

2                   A.   Well, I would tell my -- I would tell my

3       lawyer if it came up.        Usually somebody else would

4       discover it, and I would correct it.

5                   Q.   Okay.   All right.        Well, as -- as we go

6       forward today, we're going to be talking a lot about two

7       different apartments.        I just want to make sure we can

8       understand ourselves and each other clearly.

9                        So if I say your Palm Beach condo or your

10      condo, will you understand that I'm referring to the

11      condo apartment at 315 South Lake Drive in Palm Beach,

12      Unit 5-D?

13                  A.   Yes, sir.

14                  Q.   Okay.   And you don't own any other

15      condominium apartment in Florida?

16                  A.   I do not.

17                  Q.   Okay.   If I talk about your New York

18      apartment, will you understand that I'm referring to the

19      co-op apartment at 45 East 66th Street, apartment 10-W in

20      New York, New York?

21                  A.   Yes, sir.

22                  Q.   And you don't own any other apartment in

23      New York?

24                  A.   I do not.

25                  Q.   Okay.   So if we get mixed up or if you

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1       don't understand what I'm talking about, please just ask

2       me to clarify.

3                   A.   I will.

4                   Q.   Okay.     I'm going to hand you and mark as

5       Giuliani Deposition Exhibit 1, a set of pretrial

6       disclosures that were served on plaintiffs by your

7       counsel in this litigation.

8                        MR. NATHAN:       Is this...

9                        (Giuliani Exhibit 1, Defendant Rudolph

10      W.Giuliani's Pretrial Disclosures, was marked for

11      identification.)

12                       MR. CAMMARATA:         Thank you.

13      BY MR. NATHAN:

14                  Q.   Do you recognize this as a document served

15      in this litigation?

16                  A.   I do.

17                  Q.   And you see that on the front page it has

18      two docket numbers up in the case caption?

19                  A.   I do.

20                  Q.   Okay.     It has both the docket numbers for

21      the 24-civil-6563 matter and the docket number for the

22      24- --

23                  A.   I see two, yes.

24                  Q.   -- mc-353 matter.           Okay.

25                       And you see that in Roman Numeral I

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1       starting on page 1 of this document, you've listed the

2       following potential trial witnesses for your -- that you

3       may offer at trial in this matter?

4                   A.   Is that on page 1?

5                   Q.   Page 1 and it continues on to page 3.

6                   A.   I see that, yes.

7                   Q.   Okay.    Did you review this document before

8       it was served?

9                   A.   I did.

10                  Q.   Okay.    Did you review it -- okay.            I would

11      like to review with you the witnesses that you plan to

12      call in this matter.       Are these all of the witnesses that

13      you may offer at trial in -- well, strike that.

14                       When I talk about this litigation, unless I

15      specify, will you understand that I'm just talking about

16      the trial -- excuse me.        Strike that.

17                       Are these all of the witnesses that you

18      intend to rely on at trial in either of the matters that

19      are scheduled for trial in January?

20                  A.   I'm sorry?

21                  Q.   Excuse me.      Are these all of the witnesses

22      that you intend --

23                  A.   I don't know.

24                  Q.   You don't know whether these are all the

25      witnesses that you intend --

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1                            (Simultaneously speaking.)

2                            THE WITNESS:       I'm not preparing for trial.

3                   My lawyers are.

4       BY MR. NATHAN:

5                   Q.       Okay.    You told me just now that you

6       reviewed this document before it was served.

7                   A.       I did.

8                   Q.       Okay.    And did you see that it says that

9       these are the potential trial witnesses for your case in

10      this matter?

11                  A.       As of that date.

12                  Q.       As of that date.         Okay.      Let's go to the

13      first witness.         I see you've listed yourself, Rudolph W.

14      Giuliani?

15                  A.       Yes, sir.

16                  Q.       Okay.    The next witness is Maria Ryan?

17                  A.       Yes, sir.

18                  Q.       Who is Maria Ryan?

19                  A.       Maria Ryan is my part- -- I consider her my

20      partner.         She is technically the president of Standard

21      which is the company, and the CEO, I believe.                     She runs

22      it would be the best way to describe it.                    And she is in

23      charge of -- she's in charge of my business.

24                  Q.       When you say "partner" -- excuse me.

25      Continue.

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1                   A.   Yes, she owns part of the business and

2       she's in charge of it.

3                   Q.   Okay.     When you say "partner," do you mean

4       business partner?

5                   A.   Yes, I do.

6                   Q.   Okay.     How long have you known her?

7                   A.   Since, well, 2017.           I guess -- it would be

8       seven years.

9                   Q.   How often do you speak to Maria Ryan?

10                  A.   Pretty close to every day but not

11      necessarily every day.

12                  Q.   Okay.     How do you communicate with her?

13                  A.   In person, on the phone mostly.

14                  Q.   Okay.     Do you ever exchange emails with

15      her?

16                  A.   Yes.

17                  Q.   And when you speak to her or communicate

18      with her, what do you talk about?

19                  A.   Beyond this case?

20                  Q.   Yeah.

21                  A.   Everything.       The way you would with any

22      business partner.

23                  Q.   Okay.     And you speak with her about --

24                  A.   From who won the latest football game to

25      what the weather is to how our families are doing.                   I

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1       mean, many things that have nothing to do with this case.

2                   Q.      But you also speak to her about issues that

3       have to do with this case?

4                   A.      Sure, yes, as part of everything else.

5                   Q.      Okay.     Aside from her role at Standard USA,

6       LLC, what other business roles has she helped for you in

7       the past five years?

8                   A.      Well, she was president of my prior

9       company, Giuliani Communications.                  She worked with me as

10      a -- she did work for -- when I had it, Giuliani Safety

11      and Security.        That was consulting work.

12                          She worked with me on the -- assisted me on

13      the representation of the president in the -- in the

14      litigation regarding the 2020 election.                   Probably other

15      roles too.

16                          We have done many things together as

17      partners.        We cohosted a radio show for three years on

18      WABC Radio, maybe four years, I don't remember.                     And

19      we've cohosted specials on television and on radio.

20                  Q.      Okay.     In any of her roles in connection

21      with your companies, did Ms. Ryan -- or Dr. Ryan, excuse

22      me, have access to your email?

23                  A.      Yes.

24                  Q.      For what purpose?

25                  A.      To look at it for messages, to sometimes do

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1       a message for me.           I get my email and the social media

2       confused.        But sometimes I'll ask her to do it.               Like if

3       I'm going to do a communication on X or -- I might ask

4       her to do it.

5                           (Reporter asks for clarification.)

6                           THE WITNESS:        On X, formerly known as

7                   Twitter.    Or any of the others.

8       BY MR. NATHAN:

9                   Q.      Would you say that was a regular practice

10      that she --

11                  A.      Yeah, it's a regular practice with her and

12      with Ted Goodman and the people who came before them.

13                  Q.      Does Dr. Ryan -- has Dr. Ryan also had

14      access to your phone?

15                  A.      I'm not sure I understand the question.

16                          MR. CAMMARATA:         Objection.

17      BY MR. NATHAN:

18                  Q.      Do you have a cell phone?

19                  A.      I do.

20                  Q.      Do you have more than one cell phone?

21                  A.      I do.

22                  Q.      And does she have access to those phones?

23                  A.      She has access -- I have some cell phones

24      that are not operative, so nobody has access to them,

25      including me.

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1                   Q.      How many operative cell phones do you have?

2                   A.      Well, I have two really and then I have a

3       third one that's used for the purpose of calling in my

4       show, and only that.

5                   Q.      Okay.

6                   A.      So if you were to make a call into my show,

7       you would use that number and it is an old iPhone that's

8       dedicated to that.          So everybody has access to that,

9       probably Ted Goodman has most access to that.                    But nobody

10      calls me on that.

11                          Then I have an iPhone, that is the main

12      iPhone that I use for business mostly, because 24 hours a

13      day is mostly business, but also I would use it for

14      personal.        I would call my children or -- then I have a

15      third cell phone that is used just for videoing, to

16      dedicated -- it's almost -- you almost consider it a

17      camera.

18                          But since it has a phone number, somehow

19      people discover it and you get some phone calls on it.                         I

20      prefer not to because it would interrupt a broadcast.

21                          So I have two operative cell phones and

22      third, a potentially operative, but I never use it.

23                  Q.      You told me just a moment ago that Dr. Ryan

24      has access to your email accounts.

25                          Which email accounts does she have access

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1       to?

2                   A.    Well, I just have -- I just have one that

3       I -- that I use.       I have some dormant ones but I never

4       use them.

5                   Q.    Which is the one that you use?

6                         MR. CAMMARATA:        Objection.

7                         THE WITNESS:      I'm not going to --

8                         MR. CAMMARATA:        I believe we have --

9       BY MR. NATHAN:

10                  Q.    You can answer.

11                        MR. CAMMARATA:        I believe we have a

12                  protective order with that information.

13      BY MR. NATHAN:

14                  Q.    You can answer.

15                  A.    I'm -- instruction by counsel, I'm not

16      going to answer.

17                        MR. CAMMARATA:        You can answer the question

18                  as to one email.

19                        THE WITNESS:      Well, I do have an email.

20                        MR. CAMMARATA:        That email.

21                        THE WITNESS:      I have one email -- I have

22                  one email that I know of that I use.            I've had

23                  many emails over the years but I don't use them

24                  anymore.

25

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1       BY MR. NATHAN:

2                   Q.    Which is the email that you use?

3                   A.    I'm not -- I'm not going to disclose that.

4                   Q.    Is it truthandjusticeforyou@protonmail.com?

5                   A.    I'm not going to disclose it.

6                   Q.    Okay.   Are you following your attorney's

7       instruction not to answer that question?

8                   A.    Yes, I -- yes.

9                   Q.    Okay.   And --

10                        MR. CAMMARATA:       Take a break.       There is no

11                  question pending.

12      BY MR. NATHAN:

13                  Q.    On -- on what basis are you declining to

14      answer the question?

15                  A.    It could change -- 99 percent of it

16      contains matters that have nothing to do with this case

17      and a lot of them are privileged.              A lot of them are

18      personal and it would seem to me that it constitutes

19      overbroad discovery, prying into things -- using this

20      litigation for the purpose of prying into things that are

21      frankly none of your business, that have been utilized in

22      the past for leaking, for giving information to other

23      people, so I don't give my email out generally anyway.                      I

24      give it out to people that I believe will use it for a

25      proper purpose.

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1                         MR. CAMMARATA:          Can you repeat the

2                   question --

3                         MR. NATHAN:       Yes.

4                         MR. CAMMARATA:          -- as to the email?

5       BY MR. NATHAN:

6                   Q.    What email address -- what is the address

7       of the email account that you currently use?

8                   A.    I will -- I will -- no, will not disclose

9       it.

10                        MR. CAMMARATA:          Hold on.     Can I do a

11                  follow-up question?

12                        MR. NATHAN:       Are you objecting?

13                        MR. CAMMARATA:          Can I do a follow-up

14                  question?

15                        MR. NATHAN:       Are you objecting to the

16                  question?

17                        MR. CAMMARATA:          I'm objecting to the

18                  question.

19                        MR. NATHAN:       What's the basis of the

20                  objection?

21                        MR. CAMMARATA:          Can you repeat the

22                  question?

23                        MR. NATHAN:       What is the address of the

24                  email account that you use?

25                        MR. CAMMARATA:          Is it the -- I'm objecting

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1                   to the --

2                         (Simultaneously speaking.)

3                         MR. CAMMARATA:          I'm objecting to the

4                   question but is it the email address that -- you

5                   have to be more specific.            Is it the email address

6                   he communicated with your office?

7                         MR. NATHAN:       The question is for the

8                   witness and you can object if you'd like.                But the

9                   witness is going to need to answer the question.

10                        MR. CAMMARATA:          You can answer the

11                  question.     You can answer that question.

12      BY MR. NATHAN:

13                  Q.    The question is:          What is the address of

14      the email account that you used?

15                  A.    I will not disclose that.

16                  Q.    Okay.

17                        MR. NATHAN:       The only basis for the witness

18                  not to answer this question would be a privilege

19                  objection.

20      BY MR. NATHAN:

21                  Q.    Is that the objection -- is that the basis

22      for your refusal to answer this question?

23                  A.    I told you my basis.

24                  Q.    Okay.

25                        MR. CAMMARATA:          Is there a pending question

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1                   right now?

2                         MR. NATHAN:       Okay.      If you are -- if you

3                   are going to refuse to answer this question, then

4                   at the end of our time here today, I'll hold the

5                   deposition open to ensure that we have an

6                   opportunity to get your answer but I'll move on

7                   right now.

8                         MR. CAMMARATA:          Okay.

9       BY MR. NATHAN:

10                  Q.    You described two phone numbers on cell

11      phones that are operative.

12                        You described one that you use only for

13      video and I'd like to know now, because we were

14      discussing Dr. Ryan, does Dr. Ryan have access to the two

15      cell phones that you use for placing phone calls?

16                  A.    She has access to it, yes.

17                  Q.    Okay.     She knows the password to each

18      phone?

19                  A.    I believe she does.             You would have to ask

20      her but I believe she does.

21                  Q.    Okay.     Do you maintain an electronic

22      calendar?

23                  A.    Not really, no.

24                  Q.    Do you maintain a physical calendar?

25                  A.    Not in any organized sense, no.

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1                   Q.   Okay.     How do you keep track of your

2       appointments?

3                   A.   I write them down on pieces of paper.

4       Sometimes Dr. Ryan writes it down.               Sometimes Ted Goodman

5       writes it down.        Sometimes Michael Ragusa, who you see

6       here, and I put it close to my desk in -- that's how I do

7       it.   And occasionally I'll do an entry in my -- in my

8       iPhone or iPad but they are very sporadic.

9                   Q.   Okay.     Has Dr. Ryan ever had access to any

10      of your personal bank accounts?

11                  A.   She has.

12                  Q.   Which bank accounts has she had access to?

13                  A.   Oh.     Well, she has access to all the

14      business accounts, for sure.             She has access to my

15      personal accounts if I ask her to do something for me --

16                  Q.   Okay.

17                  A.   -- in that account.

18                  Q.   So for any of the businesses that you've

19      operated over the last five years, Dr. Ryan would have

20      had access to those business accounts?

21                  A.   Well, since she's been president of the

22      company, maybe not the beginning.

23                  Q.   You mentioned that she's president of

24      Standard USA, LLC.

25                       Is that the company that you are referring

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1       to?

2                   A.   Yes, sir, and the one before it, the one --

3                   Q.   The one before that was Giuliani

4       Communications LLC.

5                        And so Dr. Ryan would have had access to

6       Giuliani Communications' accounts as well?

7                   A.   I'm not sure from the beginning but most of

8       the time, yes.

9                   Q.   Okay.     Throughout the year 2024, would she

10      have had access to the Giuliani Communications business

11      account?

12                  A.   This year.

13                  Q.   This year?

14                  A.   Yes.

15                  Q.   Okay.     Does she also handle any -- strike

16      that.

17                       Does Dr. Ryan assist you with any of your

18      personal financial affairs?

19                  A.   She does.

20                  Q.   Okay.     How does she do that?            What type of

21      assistance does she provide for your personal financial

22      affairs?

23                  A.   She gives me advice about them, about it

24      and then helps me to organize it.

25                  Q.   Does she help you manage financial issues?

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1                   A.   Yes.

2                   Q.   How does she --

3                   A.   The way my -- anywhere from a way a

4       secretary, a personal secretary would, to the way in

5       which a financial advisor for Merrill Lynch would --

6                   Q.   So --

7                   A.   -- or from the -- from the...

8                   Q.   -- she helps -- she assists you with

9       financial trans- -- she assists you with executing

10      financial transactions?

11                  A.   Yes, but that's been true in my life for

12      25 years, that somebody does that.

13                  Q.   And for the -- for how long has Dr. Ryan

14      played that role for you?

15                  A.   I'd have to go back.            Not at the beginning,

16      somewhere along the way.          When I first met her, I had a

17      secretary, a personal secretary, and a special assistant

18      and they all did that.         Over time, that became less.             Her

19      role became more.        So it's hard to say.          So it evolved.

20                  Q.   Okay.     This year --

21                  A.   Oh, I -- also, I have an accountant,

22      changed accountants, but I've had an accountant all --

23      two of them actually, now one.

24                  Q.   Who is your accountant now?

25                  A.   Joe Ricci --

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1                   Q.      How long --

2                   A.      Joseph Ricci.

3                   Q.      How long has Joseph Ricci been your

4       accountant?

5                   A.      Oh, he's been the accountant for the

6       businesses, I think, from the beginning.                   So that's 20 --

7       20 -- most of 24 years, he's been an accountant for the

8       business.        He also participated in preparing our tax

9       returns and things like that.

10                  Q.      How long has he helped -- how long has he

11      been your personal accountant?

12                  A.      For about a year and a half or two years.

13                  Q.      Okay.     Did he assist you with filing of

14      your tax returns for the tax year 2023?

15                  A.      Yes.

16                  Q.      Did he assist you in filing your personal

17      tax returns for the tax year 2022?

18                  A.      Yes, but he's assisted me for the filing of

19      my tax returns for the last approximately 20 years.                      But

20      it was -- there was another principal accountant who

21      actually did it.

22                  Q.      Who was that?

23                  A.      That was Bob Gilbert for the longest time,

24      and then his assistant, and then the company whose name

25      escapes me.        Gosh, I don't know.           I can't remember right

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1       now.

2                         MR. CAMMARATA:          Don't guess.

3                         THE WITNESS:        If I took a break and checked

4                   my records, I could get you the name.

5       BY MR. NATHAN:

6                   Q.    Okay.     We can come back to that.            When did

7       Joe Ricci become your sole personal accountant?

8                   A.    Well, certainly for the 2023 year.               He's

9       taken over more and more of that role for the last three

10      years.      Now he is, and he was for the last year.

11                  Q.    And when we talk about the 2023 year,

12      that's the filing season that extends into 2024, is

13      that -- am I correct?

14                  A.    Yes.

15                  Q.    Okay.

16                  A.    But it might have been sometime in 2023.

17                  Q.    In the calendar year 2023 --

18                  A.    Yes.     Right, right.

19                  Q.    -- as opposed to tax year.             Excuse me.       All

20      right.

21                        And did Dr. Ryan also assist you in

22      preparing your personal taxes?

23                        MR. CAMMARATA:          Objection.

24      BY MR. NATHAN:

25                  Q.    You can answer.

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1                   A.    Answer?     To some degree.          She played some

2       role, not -- I mean, in the way a number of people did.

3                   Q.    When you say, "she played some role," can

4       you describe the role that she played?

5                   A.    Well, she would get information that he

6       needed or wanted, as would others.

7                   Q.    Okay.     And what would she do with that

8       information?

9                   A.    Give it to him.

10                  Q.    How do you think -- excuse me.              How did she

11      give it to him?

12                  A.    Mostly mailing it.

13                  Q.    Mailing it.       Did Dr. Ryan ever communicate

14      with Mr. Ricci by email?

15                        MR. CAMMARATA:         Objection.

16                        THE WITNESS:        You'd have to ask her that.

17                  You'd have to ask her that.

18      BY MR. NATHAN:

19                  Q.    Did you ever communicate with Mr. Ricci by

20      email?

21                  A.    Probably but not often.

22                  Q.    Would Mr. Ricci send you emails?

23                  A.    I'm sure he did.          I don't -- I --

24                  Q.    Okay.

25                  A.    I don't -- I just don't remember a specific

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1       one right now.

2                   Q.   Okay.   Returning to Dr. Ryan's role in your

3       personal financial affairs.          In the -- in terms of the

4       access she had to your financial accounts, did she need

5       your approval to make financial transactions on your

6       behalf?

7                        MR. CAMMARATA:        Objection.

8                        You can answer.

9                        THE WITNESS:      Yes.

10      BY MR. NATHAN:

11                  Q.   Okay.   And how did that work?

12                  A.   Usually I would get on the telephone and

13      say, yes, she can complete this transaction.

14                  Q.   Did she have access to your credit card or

15      to any of your credit cards?

16                       MR. CAMMARATA:        Objection.

17                       You can answer it.

18                       THE WITNESS:      On occasion, not regularly.

19      BY MR. NATHAN:

20                  Q.   Okay.   Did she -- did she travel with you?

21                  A.   At times she -- yes.

22                  Q.   Okay.   When would she travel with you?

23                  A.   Whenever she traveled with me.              I don't

24      know when she would travel with me.                 That's a very large

25      categorical question.

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1                   Q.    What would have been a reason for her to

2       travel with you?

3                         MR. CAMMARATA:         Objection.

4                         THE WITNESS:        Oh, that I was going to

5                   give -- I think of the most recent, I was going to

6                   give a speech in Oklahoma to a group of people

7                   that invited me to speak to them.

8                         I do a certain amount of speaking,

9                   sometimes get paid for it.            You know, at one time

10                  I used to do 150 a year.           Now I do a lot fewer but

11                  I still do speaking.         I'm a paid speaker.

12                        I also speak for charitable purposes or for

13                  political purposes.         So it would depend on the

14                  speech.

15                        She -- at this point, she and/or Ted

16                  Goodman would accompany me on those speeches

17                  recently.     There -- different people have played

18                  that role over the last 20 years.

19      BY MR. NATHAN:

20                  Q.    Okay.     In any of Dr. Ryan's roles, have you

21      paid her?

22                  A.    The business has paid her.

23                  Q.    How much?

24                  A.    You want a salary?           I'm not sure.

25                  Q.    You don't know how much your business has

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1       paid her?

2                   A.    I would have to be approximating.

3                   Q.    Okay.   Does she draw a salary from each of

4       your businesses?

5                   A.    Pardon me?

6                         MR. CAMMARATA:       Objection.

7       BY MR. NATHAN:

8                   Q.    Does she draw a salary from each of your

9       businesses?

10                  A.    I believe she -- I believe that she and Ted

11      and Mike are paid through Standard, from one place.

12                  Q.    Okay.   And when Giuliani Communications --

13      during the period when Giuliani Communications was the

14      entity that operated -- excuse me, strike that.

15                        How long has Standard been in existence?

16                  A.    Briefly.     Six months.           I'm guessing.

17                  Q.    Okay.   And during that time, Dr. Ryan has

18      drawn a salary from Standard USA?

19                  A.    I mean, I don't -- Ryan Medrano would know

20      the answer.      He makes out all the checks, including mine.

21                  Q.    Prior to Standard USA, how was Dr. Ryan

22      paid?

23                  A.    Pardon me?

24                  Q.    Before Standard USA existed, how was

25      Dr. Ryan paid?

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1                   A.    Well, I believe it was Giuliani -- I mean,

2       I would have thought of it as Giuliani Communications but

3       technically it might have been -- there is a company that

4       we have for the purpose of paying checks, I think.                  So

5       they may have paid her.        You'd have to ask Ryan.

6                   Q.    Okay.   Ryan --

7                   A.    Ryan Medrano.

8                   Q.    Ryan Medrano?       Who is Ryan Medrano?

9                   A.    Ryan Medrano is -- best description would

10      be the controller of Standard right now.               He's been my

11      controller since the time I left being mayor of every one

12      of the companies that I was part of or owned.

13                  Q.    Okay.   I'll ask you a bit about Mr. Medrano

14      in a second.

15                        While we're still on the topic of Dr. Ryan,

16      it says on this document that the topics of Dr. Ryan's

17      testimony will be Rudolph W. Giuliani's relocation from

18      his New York City cooperative apartment to his Palm Beach

19      County, Florida, condominium as his homesteaded property.

20                        What does Dr. Ryan know about that topic?

21                        MR. CAMMARATA:       Objection.

22                        You can answer.

23                        THE WITNESS:      Many things.       But probably

24                  the thing that's describing is she -- she is the

25                  one that I asked to find me an agent in order to

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1                   sell the apartment in New York because I was

2                   relocating to Florida.

3                         And I -- since the issue is homestead, I

4                   discussed that with her many, many times.               And

5                   officially she played the role of searching for

6                   and finding the agent negotiating with them, at

7                   one time discussing several agents, and then we

8                   took on one exclusively.          And she did all that

9                   negotiating.

10      BY MR. NATHAN:

11                  Q.    When you say --

12                  A.    And then worked out with them, you know,

13      the visits that people would make to the apartment.

14      Since I've always traveled a fair amount a lot of times,

15      it would have to be done when I wasn't there.                  So she

16      knows quite a bit about that as well as the -- over time

17      how I moved the things that I needed down here to

18      Florida.

19                  Q.    What's the first conversation you recall

20      having with Dr. Ryan about your plans to relocate to

21      Florida?

22                  A.    I can't remember the first conversation.

23      Could be right around the first time I met her.

24                  Q.    When was that?

25                  A.    Well, it would have been '18, 2018, 2019,

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1       but only sporadically.          In the last three years it would

2       be, you know, it would be very often.

3                   Q.    Okay.     If Dr. Ryan were to testify in this

4       matter, you believe she'd testify truthfully?

5                         MR. CAMMARATA:          Objection.

6                         You can answer.

7                         THE WITNESS:        Of course.

8       BY MR. NATHAN:

9                   Q.    Okay.     You consider her to be an honest

10      person?

11                  A.    Yes.

12                  Q.    And she would follow the rules of the

13      Court?

14                        MR. CAMMARATA:          Objection.

15                        You can answer it.

16                        THE WITNESS:        I don't understand the

17                  propriety of that question, but I'm happy to

18                  answer yes.

19      BY MR. NATHAN:

20                  Q.    Okay.

21                  A.    I would be a character witness for her any

22      time, any place.

23                  Q.    Okay.     Okay.     The next witness you've

24      listed here is Ryan Medrano.

25                        Could you -- I know you've spoken about him

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1       before, but just could you say who Ryan Medrano is,

2       please?

3                   A.       Ryan Medrano right now is the controller of

4       Standard which means he -- it would be fair to say he

5       handles all of his financial affairs and -- and would be

6       much more knowledgeable about them, even Dr. Ryan or Ted

7       Goodman or me.

8                   Q.       Okay.   So you described Mr. Medrano earlier

9       as your controller.          What does that mean to you?

10                  A.       It means he handles all the financial

11      affairs.         He keeps all the documents that we're going to

12      need for tax returns.          He keeps all the documents we're

13      going to need to pay, not just salaries, but all the

14      expenses, all of the expenses of the business, the way he

15      always has done.         It's been a very, very -- at one point,

16      a very large role and now it's a much narrower role, but

17      it's still pretty -- pretty busy.

18                  Q.       Okay.   Does Mr. Medrano perform that

19      function for you in your personal life as well?

20                           MR. CAMMARATA:       Objection.

21                           THE WITNESS:      Well, it overlaps somewhat,

22                  but, yes, I would say that's true, somewhat.                  In

23                  other words, the documents from my business he

24                  would transmit to my accountant.              My personal

25                  documents I would transmit myself.                You know, like

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1                    health documents or the things that come to me

2                    personally, like or the maintenance that I pay.                   I

3                    would transmit that myself.

4                          So I think it's fair to say he transmits

5                    the business information that overlaps with

6                    personal life.      I transmit the purely personal

7                    information.     He doesn't handle my personal

8                    finances.

9       BY MR. NATHAN:

10                   Q.    Okay.     How do you communicate with

11      Mr. Medrano?

12                   A.    By phone.

13                   Q.    And do you communicate with him in any

14      other ways?

15                   A.    Rarely.     I mean, I do -- rarely.            I don't

16      use email often, so even if he communicated with me by

17      email, I'd be more likely to communicate back to him on

18      the phone or have Ted or Dr. Maria do it.

19                   Q.    Okay.     So he might send you an email?

20                   A.    Uh-huh.

21                   Q.    But then you might respond by phone rather

22      than write back?

23                   A.    Yeah, I'm giving you sort of a general

24      idea.       More often than not, I either respond by phone or

25      somebody else would respond.              Every once in a while I

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1       would.

2                   Q.    Okay.   So even though you might not be

3       writing him emails, he -- he might write you some emails

4       and -- okay, excuse me, strike that.

5                         So just so I'm clear, Mr. Medrano -- would

6       you say Mr. Medrano emails you regularly?

7                   A.    No, he more regularly would email my staff.

8                   Q.    Your staff, and would -- would Mr. Medrano

9       ever email you directly?

10                  A.    Occasionally, that -- that would be -- yes,

11      occasionally would be the right answer.

12                  Q.    Okay.   If he needed to speak to you

13      directly, he would send you an email?

14                  A.    Well, he might just call me, but --

15                  Q.    I understood --

16                        (Simultaneously speaking.)

17                        THE WITNESS:      His basic -- his basic -- his

18                  basic communications over the years, remember, we

19                  had a very, very big company, so we're used to

20                  that practice, would be that somebody who was

21                  working for me, who probably had far more

22                  knowledge about it than I did.

23      BY MR. NATHAN:

24                  Q.    Okay.   So just again, just so I understand,

25      your testimony is that occasionally Mr. Medrano would

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1       send you an email but that your practice would be maybe

2       to respond by email sometimes but more often return the

3       message by phone?

4                   A.     Yeah, I mean, if he responded -- if he

5       communicated by email or text, I'm going to guess that

6       more often than not, it was a personal matter than a

7       business matter.       He usually knew who to go to --

8                   Q.     Okay.

9                   A.     -- about the business rather than go to me.

10                  Q.     But -- but there would have been occasions

11      where Mr. Medrano wanted to communicate with you about a

12      personal matter and so he emailed you directly?

13                  A.     I can't remember exactly but he might have

14      called me.       You know, the point that I'm trying to make

15      is, he did not in any way regularly communicate with me

16      about the business.        He regularly communicated with

17      people on my staff.

18                         When I would receive an email from him,

19      which would be occasional, as it related to the business,

20      I would probably give it to the staff.

21                  Q.     And when you say "give it to the staff,"

22      you would forward it on --

23                  A.     Yeah, I would say, "Ted, could you handle

24      this?"

25                  Q.     Okay.

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1                   A.    Or --

2                   Q.    Would you do that by forwarding the email

3       to Ted?

4                   A.    No, I might just show it to him.

5                   Q.    Okay.

6                   A.    Or if it was personal, then I would respond

7       to it.      Usually I would respond by making a telephone

8       call.

9                   Q.    Okay.

10                  A.    He's been ill for a while, so there are

11      times in which he's calling me about that.

12                  Q.    Okay.   Mr. Medrano would also email your

13      staff about business matters?

14                  A.    I -- I believe so, yeah.           I mean, I -- I

15      haven't overlooked -- yes, that's what I understand --

16                  Q.    If Mr. --

17                  A.    -- for years.

18                  Q.    If Mr. Medrano wanted some information from

19      you or your staff, he could email Dr. Ryan with a

20      request?

21                        MR. CAMMARATA:       Objection.

22                        THE WITNESS:      Yeah, you'd have to ask them,

23                  if they emailed, called, by mail.              I mean, they

24                  communicated every way you can communicate, not

25                  just with Dr. Ryan but -- everybody on my staff,

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1                   at any level, knows him and feels free to

2                   communicate with him openly.

3                           He's also a close personal friend of all of

4                   ours and we're very worried about him because he's

5                   not feeling well.

6       BY MR. NATHAN:

7                   Q.      Okay.   I'm sorry, earlier you testified

8       that he would more regularly email your staff than he

9       would email you.

10                  A.      I mean, I probably understated that.              It

11      would be much more often.

12                  Q.      Much more often.        And when he would email

13      your staff, they would respond on your behalf or with the

14      information that Mr. Medrano was requesting?

15                          MR. CAMMARATA:       Objection.

16                          THE WITNESS:      Again, you would have to ask

17                  them.    I mean, I'm sure, I'm sure they did.

18      BY MR. NATHAN:

19                  Q.      Okay.

20                  A.      But there may be times in which they would

21      have -- they didn't.

22                  Q.      Okay.   In Mr. Medrano's roles with your

23      company, did he have access to any of your email

24      accounts?

25                          MR. CAMMARATA:       Objection.

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1                         THE WITNESS:      I don't -- I don't know the

2                   answer to that.

3       BY MR. NATHAN:

4                   Q.    Do you generally know who has access to

5       your email accounts?

6                         MR. CAMMARATA:       Objection.

7                         THE WITNESS:      I don't know what that means,

8                   "access to my email account."            You mean know --

9                   knows my email?

10      BY MR. NATHAN:

11                  Q.    I just -- strike that.

12                        Okay.   What does Mr. Medrano know about

13      your -- I'm sorry, here it says, on this witness

14      disclosure list, that Mr. Medrano is going to testify

15      about Rudolph W. Giuliani's relocation from his New York

16      City cooperative apartment to his Palm Beach County,

17      Florida condominium as his homesteaded property.

18                        What does Mr. Medrano know about that?

19                  A.    I actually don't know what he knows about

20      it.

21                  Q.    Okay.   How would he have learned anything

22      about that topic?

23                  A.    How would he know about it?

24                  Q.    Yeah.

25                  A.    You'll have to ask him.

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1                   Q.   Okay.    Did you ever speak to him about it?

2                   A.   I probably did but I don't recall.

3                   Q.   Okay.    You don't recall any

4       conversations --

5                   A.   No.

6                   Q.   -- with Mr. Medrano about --

7                   A.   Not specifically.

8                   Q.   Okay.    And you don't --

9                   A.   I remember general conversations with many

10      people about it, I would assume him, but I can't be sure.

11                  Q.   You don't recall ever speaking to him about

12      your intentions to relocate to Florida?

13                  A.   Well, I talk to everybody about it, so I

14      must have talked to him about it.

15                  Q.   But you don't recall any specific

16      conversations?

17                  A.   Correct, I can't -- I can't give you a date

18      or time.

19                  Q.   Okay.

20                  A.   Nor does one come to mind.

21                  Q.   If Mr. Medrano were to testify in this

22      matter, do you suspect he would tell the truth?

23                  A.   I know he would.

24                  Q.   Do you think he's a credible person?

25                  A.   He certainly is.

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1                   Q.   He would take his oath seriously?

2                   A.   Yes.

3                   Q.   Okay.     The next witness you've listed here

4       is Monsignor Alan Placa?

5                   A.   Yes.

6                   Q.   Who -- who's Ms. -- excuse me, who is

7       Monsignor Placa?

8                   A.   He's been my lifetime friend.              We're -- we

9       met in high school together and we've been friends

10      since then -- close friends, probably my closest personal

11      friend --

12                  Q.   Okay.

13                  A.   -- after Peter Powers, who passed away a

14      few years ago, along with Peter Powers.

15                  Q.   It says here on this list that Mr. --

16      Monsignor Placa would testify about discussions of

17      Rudolph W. Giuliani's relocation from his New York City

18      cooperative apartment to his Palm Beach County, Florida

19      condominium as his homesteaded property prior to

20      December 31, 2023.

21                       How would Monsignor Placa know about that

22      topic?

23                       MR. CAMMARATA:          Objection.

24                       You can answer.

25                       THE WITNESS:        We have regularly -- we used

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1                   to have more when we lived in the same city but

2                   now, again, since I moved here, we'd regularly

3                   have personal conversations.

4                          And even when we lived apart, we would see

5                   each other quite often.         And for a long period of

6                   time, he worked with my business, so it's hard --

7                   there is not like a specific occasion but I talk

8                   to him about everything.

9       BY MR. NATHAN:

10                  Q.     What did he do for your business?

11                  A.     He's my closest friend.

12                         He did legal -- he did -- he did a number

13      of things.       When we had five businesses, he acquired our

14      insurance, negotiated it, particularly our health

15      insurance because he ran a hospital corporation at one

16      time and was very familiar with it.                  He worked as a

17      lawyer doing legal research for us on security matters.

18      He helped us draft contracts.            He's also a lawyer, as

19      well as a Catholic priest.

20                  Q.     Which businesses did he perform these

21      services for?

22                  A.     He did it for Giuliani Security, Giuliani

23      Partners and then he did some for Giuliani Communications

24      and for Standard.       Not really for Standard, some, because

25      I consulted with him about it but mostly his -- his work

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1       was with Giuliani Safety and Security and Giuliani

2       Partners.

3                   Q.      Okay.

4                   A.      He would do research.

5                   Q.      Did you pay Monsignor Placa for any of

6       those roles?

7                   A.      Yes, for quite -- for several years.              I

8       can't remember exactly how long but...

9                   Q.      Do you recall which entities he drew a

10      salary from?

11                  A.      Well, I'm sure he drew the salaries from

12      the same entity that everyone did which would be Giuliani

13      Partners.        But you'd be paid from Giuliani Partners

14      whether you did work for any one of the subsidiaries.

15                  Q.      Okay.

16                  A.      Ryan would know exactly how it was

17      consolidated.

18                  Q.      Okay.   But Giuliani Partners would have

19      been the entity that paid --

20                  A.      I think it was, yes.

21                  Q.      -- Monsignor Placa and -- all right.

22                          I see that Monsignor Placa lives in Palm

23      Beach; is that accurate?

24                  A.      He lives in West Palm Beach, yes.

25                  Q.      In West Palm.       Again, is that --

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1                   A.   Palm Beach Gardens.

2                   Q.   Palm Beach Gardens.

3                   A.   Yeah.

4                   Q.   I apologize for the crosstalk.

5                   A.   That's okay.

6                   Q.   Palm Beach gardens, Monsignor Placa lives

7       here in Palm Beach --

8                   A.   He does.

9                   Q.   -- in Palm Beach County.             That makes him

10      the only witness on this list, I believe, who lives here

11      in Florida?

12                  A.   You'd have to look, yeah, I guess.               That's

13      what it looks like.

14                  Q.   Okay.     So if anyone would know about your

15      relocation to Florida, he would; is that right?

16                  A.   No.     Other people would know about it.

17                  Q.   Well, I'm not -- I'm not saying other

18      people wouldn't know but he would -- he would know,

19      wouldn't he, about your relocation to Florida?

20                  A.   Well, I talked to him about it.               You'd have

21      to ask him if he -- if he know -- I assume he knows about

22      it.

23                  Q.   But he has personal experience --

24                  A.   I've talked to him about it.

25                  Q.   He talks about it --

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1                   A.       For years.       I've talked to him about it for

2       years.

3                            THE REPORTER:         Okay.     I'm sorry.

4                            THE WITNESS:        I'm sorry.

5                            THE REPORTER:         I can only take one at a

6                   time, so please.

7                            THE WITNESS:        I talked to him about it for

8                   years.     So I know I've talked to him about it.                    He

9                   would have to tell you what he recollects of that.

10      BY MR. NATHAN:

11                  Q.       Okay.     Since you -- since you've been

12      living in Florida, have you seen him in person?

13                  A.       Yes.

14                  Q.       Okay.     Do you see him regularly?

15                  A.       I would say so, yeah, regularly.

16                  Q.       Okay.     And is that how he would know that

17      you physically have relocated to Florida?

18                  A.       I talked to him about -- discussions about

19      doing it.        As long as I've talked to Dr. Ryan about it, I

20      mean, five years ago, six years ago, seven years ago, I

21      told him that was my eventual goal, when it was my

22      eventual goal.         I told him as I was getting closer to it

23      and I told him when I decided.                 As I did with personal

24      friends.

25                  Q.       Okay.     The next witness on this list -- oh,

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1       excuse me.       Monsignor Placa, you know him very well?

2                   A.     I do.

3                   Q.     And you find him to be a credible person?

4                   A.     Yes, sir.

5                   Q.     If he were to testify in this matter, he'd

6       testify truthfully?

7                   A.     He would.

8                   Q.     Okay.     And he would take his oath

9       seriously?

10                  A.     Yes.

11                  Q.     The next witness is Michael Ragusa.                Who is

12      Michael Ragusa?

13                  A.     Michael Ragusa is a New York City

14      corrections officer.          His status -- he has a status as an

15      investigator for them, like a detective, and he works

16      for -- he works for -- he worked for Giuliani

17      Communications and then, for now, Standard on a part-time

18      basis.

19                  Q.     Okay.     How long has Mr. Ragusa worked for

20      Standard?

21                  A.     Well, Standard, since it's been in

22      existence, and for us, about a year and a half.

23                  Q.     Okay.

24                  A.     And I'm -- I can't remember exactly when.

25      It could have been -- it could be two years, it could be

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1       a year and a half.

2                   Q.   Prior to Standard being in existence, he

3       worked for Giuliani Communications?

4                   A.   He did, he worked for Giuliani

5       Communications as well.

6                   Q.   Okay.   And how is Mr. Ragusa paid?

7                   A.   Same way as Ryan and -- Dr. Ryan and Ryan

8       Medrano and Ted Goodman.        They are all paid the same way.

9                   Q.   And how is that?

10                  A.   Through Standard by Ryan.           Ryan Medrano

11      sends out the -- the checks or wire transfers, whatever

12      they elected.

13                  Q.   Okay.   Here it says that "Mr. Ragusa would

14      testify about discussions of Rudolph W. Giuliani's

15      relocation from his New York City cooperative apartment

16      to his Palm Beach County, Florida, condominium as his

17      homesteaded property prior to December 31, 2023."

18                       How would Mr. Ragusa have gained personal

19      knowledge of that subject?

20                  A.   Because either I would tell him or Dr. Ryan

21      would tell him that -- that we were -- that we moved

22      there or basically through discussions with me or other

23      members of the company.

24                  Q.   And those discussions, would they occur

25      over email?

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1                   A.      No.     I don't think -- maybe, but I don't

2       think so.        They would be in person.

3                   Q.      Okay.     The next witness -- oh, and if

4       Mr. Ragusa were to testify in this matter, would he

5       testify truthfully?

6                   A.      Yes, sir.

7                   Q.      He would take his oath seriously?

8                   A.      Yes, sir.

9                   Q.      The next witness is Theodore Goodman.                Who

10      is Theodore Goodman?

11                  A.      Ted is -- I would consider Ted for a number

12      of roles.        He's the producer of my daily shows.               He's --

13      and he's someone who carries out a lot of the

14      technological organization that we need.                   He helps

15      Dr. Ryan in negotiating our contracts.                   He plays a

16      multifaceted role.

17                          The main one every day is he produces --

18      now he produces my show, two of my shows, which, one is

19      at 7:00 to 8:00 with FrankSpeech Network, and the second

20      is 8:00 to 9:00 on X, as well as YouTube, Gettr, Rumble,

21      Facebook, QUX, and Newsmax.

22                  Q.      How long have you known Ted Goodman?

23                  A.      I've known Ted for a very long time, like

24      -- well, very long.           I've known Ted since at least 2020.

25      Yes, since at least 2020.

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1                   Q.    Okay.   How often do you speak to Ted?

2                   A.    Every day.

3                   Q.    How do you speak --

4                   A.    Almost every day.

5                   Q.    Okay.   And what methods do you use to

6       communicate with him?

7                   A.    Almost all of it is oral.            He's with me --

8       he's probably with me, you know, most of the time.

9                   Q.    Okay.   You mentioned before that sometimes

10      you would receive an email and you'd ask Ted to take care

11      of it.      Does Ted have access to your email accounts?

12                  A.    For that purpose, yeah.            I mean, I'll show

13      it to him or sometimes I'll hand it to him.

14                  Q.    Is he able to access your email accounts

15      without you showing him an email?

16                        MR. CAMMARATA:       Objection.

17      BY MR. NATHAN:

18                  Q.    Is he otherwise able to access your email

19      accounts?

20                  A.    I think so.     He -- he -- sometimes he'll

21      bring an email to my attention.             I don't always look at

22      it.   So he must be able to access it.

23                  Q.    When he brings an email to your attention,

24      that's an email that's been sent to your email account;

25      is that accurate?

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1                   A.       Well, no, sometimes it will be sent to him

2       for me to respond to something or sometimes -- you'd have

3       to ask him whether he actually accesses my -- technically

4       accesses my email account.             I'm not sure.          Same thing as

5       Dr. Ryan.

6                   Q.       Okay.   Just so I understand, so people

7       might try to get in touch with you by sending an email to

8       Ted?

9                            MR. CAMMARATA:       Objection.

10      BY MR. NATHAN:

11                  Q.       Is that right?

12                  A.       You'd have to ask him that.              Oh --

13                  Q.       I think you just mentioned --

14                           (Simultaneously speaking.)

15                           THE WITNESS:      I don't know if some people

16                  would.     All I can tell you is he will come to me

17                  and say, Oh, Alan wants you to call him back, or

18                  he might say -- or he might say, You got a call

19                  from -- from Senator Graham, or it could be

20                  personal or it could be business or politics.

21      BY MR. NATHAN:

22                  Q.       Okay.   I think -- yes, you testified a

23      moment ago, "sometimes it will be sent to him for me to

24      respond to or sometimes -- you'd" -- excuse me.

25                           You testified that sometimes an email would

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1       be, quote, "sent to him for me to respond to."

2                        Is that an accurate statement about how

3       people would communicate with you through Ted?

4                   A.   I'm not sure.         I -- I'm not.        I'm sorry.

5                   Q.   I can simplify.          Do people ever send Ted

6       emails requesting a response from you personally?

7                        MR. CAMMARATA:          Objection.

8                        You can answer.

9                        THE WITNESS:        Yes, that's happened.

10      BY MR. NATHAN:

11                  Q.   Okay.     Does Mr. Goodman know anything about

12      your plans to relocate to Florida?

13                  A.   Yes.

14                  Q.   What does he know?

15                  A.   He knows -- he knows my original plan to do

16      it which I explained to him when he first came to work me

17      for me, that I was going to eventually do it.                  He knows

18      the process through which I went.               You'll have to ask him

19      exactly what he knows.         But I think he knows, if not all

20      of it, most of it.

21                  Q.   And how has he learned that information?

22                  A.   Just by being around, by my talking to him,

23      my -- when he first came to work with me, I told him that

24      we were going to be in both -- we were going to work in

25      three places, basically, and travel a lot; was he able to

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1       handle that.      And I told him which ones, Florida, New

2       York and New Hampshire, and that we would travel a lot.

3       He said he loves doing that.

4                         And I said -- at that time, I think I said

5       we'll spend a lot of time in Washington, but we didn't.

6       He would accompany me on most of those trips and he knew

7       that my ultimate plan was to locate here.                   He knows when

8       I made the decision to sell the apartment which was

9       sometime before it was listed because it took a while to

10      get a listing.        He knows about the dislocations that took

11      place when the apartment was viewed by prospective buyers

12      because we had to sometimes relocate our shooting.                    We

13      had to clean it up.

14                  Q.    Does Mr. Goodman have --

15                  A.    He knows about our plans to -- he knows

16      about how we created a studio here, he helped me create

17      it.

18                  Q.    When did he help you create a studio here?

19                  A.    Year and a half ago, two -- I didn't do

20      live -- I didn't do live streaming until Ted was with me.

21      Before that, I did -- I did just a radio show and

22      podcasting which is sort of a prerecorded.                   So Ted would

23      have to have been here when we initiated the ability to

24      do it here, which is little different than just

25      podcasting.      Podcasting is a recording that you send in.

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1       Live streaming is something you do live and then you can

2       convert it into a podcast.

3                   Q.   Sure.   So Mr. Goodman helped you set up a

4       studio in Florida -- excuse me, where is your studio in

5       Florida?

6                   A.   It's in my house.

7                   Q.   It's in the Palm Beach condo?

8                   A.   At 315, yeah.

9                   Q.   And Ted helped you set that up about a year

10      and a half ago?

11                  A.   Whenever we started live streaming,

12      sometime shortly after that.           We came to Florida and set

13      one up here.

14                  Q.   Okay.   It sounds like you are saying that

15      happened sometime in the middle of 2023?

16                  A.   I think earlier than that.

17                  Q.   Earlier than 2023?

18                  A.   Yeah, in fact, I can tell you -- when did

19      the Yankees play the Guardians?            Not recently.      I think

20      the Yankees played in the World Series in '22.                They

21      missed the playoffs in -- had to be in '22.

22                  Q.   Okay.

23                  A.   I began live casting by simulcasting the

24      Yankee playoff games.      And doing a -- doing a play by

25      play sort of, because I've always had a desire to do one,

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1       and whenever they put me on a Yankee broadcast, they

2       would only let me do color.            And I used to get angry at

3       John Sterling, who is a good friend of mine, for not

4       letting me do color -- not letting me do play by play.

5                          So I was watching the Guardians and the

6       Yankees in the playoffs and I said, "Ted, let's go live."

7       That's how we started.         And we got a gigantic audience,

8       so then we continued it as a political show.                 That was in

9       2022.       And now we've done 570.

10                   Q.    Okay.   I relate to this way of marking

11      time.       I appreciate that.

12                   A.    That's what I remember.

13                   Q.    So it would have been --

14                   A.    And almost from the first time that we

15      decided to make it regular, probably the next time we

16      went to Florida, which would have been 2022, we set up a

17      live studio here.

18                   Q.    So you set up -- you set up a studio --

19                   A.    Because we knew when we --

20                   Q.    -- in the Palm Beach condo around the time

21      of the 2022 --

22                   A.    Right after --

23                   Q.    -- baseball playoffs?

24                   A.    After it was over.         Yeah.

25                   Q.    Just after --

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1                   A.   Yeah.

2                   Q.   -- the --

3                   A.   Around that time.

4                   Q.   The Yankees playoff run in 2022.

5                        Okay, thank you.

6                        It says here on this witness list that

7       Mr. Goodman would testify about photographs taken that

8       show the defendant, which is you.

9                        Are there any other topics that Mr. Goodman

10      might testify about in this matter?

11                  A.   I'm sure, I just don't -- I mean --

12                  Q.   Okay.

13                  A.   -- just doesn't come to mind what they -- I

14      mean --

15                  Q.   That's fine.

16                  A.   -- there -- there are probably things he

17      knows but I don't know what he knows.                 He's been -- he's

18      around all the time, so...

19                  Q.   Okay.     And if Mr. Goodman were to testify

20      in this matter, he would testify truthfully?

21                  A.   Yes, sir.

22                  Q.   And he would take his oath seriously?

23                  A.   Mm-hmm.     Yes, sir.

24                  Q.   And he would take court orders seriously?

25                  A.   Yes.

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1                   Q.       Okay.   Does Mr. Goodman have access to any

2       of your personal bank accounts?

3                   A.       Not unless I ask him -- no, he doesn't have

4       access on his own.

5                   Q.       Okay.   Does he have access to any of your

6       businesses bank accounts?

7                   A.       The bank accounts, oh, sorry.              He may or

8       may not.         I don't know if he has access to the Standard

9       account.         He -- he has ownership interest in Standard, so

10      he may.

11                  Q.       Okay.   Does he have access to any of your

12      credit cards?

13                  A.       Only at -- at times when I would give it to

14      him ask him to do something for me.

15                  Q.       Okay.   Is Mr. -- is Mr. Goodman --

16                  A.       I don't have any right now.

17                  Q.       Do you pay Mr. Goodman?

18                  A.       Well, Standard does, yeah.

19                  Q.       Okay.   Before Standard was in existence,

20      did you pay Mr. Goodman?

21                  A.       It is possible and I'm only doing this out

22      of excess of caution, just in case.                     Might have been a

23      time when we -- when we used him as a consultant before

24      he was a permanent employee.              But I -- I'm only saying

25      that as a possibility.

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1                   Q.    Okay.     Does Mr. Goodman hold any property

2       for you?

3                   A.    No, sir.

4                   Q.    Does he hold any money for you?

5                   A.    No, sir.

6                         MR. NATHAN:       Okay.      We're coming up at

7                   about an hour and a half and this is a natural

8                   stopping point, so --

9                         THE WITNESS:        Sure.

10                        MR. NATHAN:       -- if everyone agrees, we can

11                  take a break.

12                        THE WITNESS:        Yes, appreciate it.

13                        MR. CAMMARATA:         Do we have a breakout room?

14                        THE VIDEOGRAPHER:           Time is 10:23.      We're

15                  going off the record.

16                        (A recess is taken.)

17                        THE VIDEOGRAPHER:           This is Media Number 2

18                  in the deposition of Rudolph W. Giuliani.                The

19                  time is 10:40 a.m.        We are back on the record.

20      BY MR. NATHAN:

21                  Q.    Mr. Mayor, during the break, did you

22      discuss your testimony here today with anyone?

23                  A.    I did not.       We talked about other things.

24                  Q.    And when you say "we," who do you mean?

25                  A.    Myself and my lawyer.

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1                   Q.     All right.     But you didn't discuss the

2       substance of your testimony with him?

3                   A.     No, sir.

4                   Q.     Okay.   I'm going to continue speaking about

5       this exhibit in front of you marked as Exhibit 1.                   And

6       I'd like to direct your attention to page 3 of that

7       document.

8                   A.     Oh, yes.

9                   Q.     Roman numeral II, where it says that you've

10      got a list here --

11                  A.     Oh, this what we were looking at before.

12                  Q.     Oh, excuse me.

13                  A.     I'm sorry.

14                  Q.     Page 3, this is the same document as

15      before.

16                  A.     Yeah, go ahead.

17                  Q.     So at page 3, there is the beginning of a

18      list of -- of exhibits that spans the next two pages, on

19      page 5.      It looks here as though you've listed one large

20      trial exhibit named Defendant's Trial Exhibit that has

21      175 pages.       Is that what you see here?

22                  A.     Actually, the -- the lawyers put together

23      the exhibits for the trial.

24                  Q.     Okay.   Did you review these exhibits before

25      they were listed here?

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1                   A.   As best I could figure them out, sure.

2       I -- I don't know them in detail.

3                   Q.   Okay.     And these are the exhibits you

4       intend to rely on in trial in this matter?

5                   A.   Well, they are conducting the trial, so

6       yeah, I'd have to say that these are the ones that are,

7       at that time, they believe they are going to rely on at

8       trial.

9                   Q.   When you say "they," who do you mean?

10                  A.   Well, Mr. Cammarata.

11                  Q.   Okay.     Mr. Cammarata is your attorney

12      acting on your behalf --

13                  A.   Yes, he's --

14                  Q.   -- in this matter, right?

15                  A.   Yes, he -- he would be responsible for

16      this, yes.

17                  Q.   And these are the exhibits that, through

18      your attorneys, you've disclosed that you intend to rely

19      on in this matter?

20                  A.   Yes.

21                  Q.   Okay.     All right.        I'd like to begin with

22      the first of those exhibits.             And the pagination may get

23      a little complicated here so stop me and ask for

24      clarification if I say things in a way that is confusing.

25                       The first of these on the list is at page 7

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1       of this big document but it's marked as -- Defendant's

2       Trial Exhibit 001 is the first page in the --

3                   A.       Page 7?

4                   Q.       Yeah, if you flip to the first of the

5       exhibits in the documents.

6                   A.       Uh-huh, the warranty deed?

7                   Q.       The warranty deed.

8                   A.       I see it.      Yeah.      Uh-huh.

9                   Q.       All right.       The warranty deed spans page

10      numbers Defendant's Trial Exhibit 001 through 003 and it

11      also has docket stamps on top.                 It is a document that's

12      been filed at ECF Number 42-1 in the case 24 civil 6563

13      and DCF 179 in the case 24, miscellaneous 353, at

14      page 16.

15                           What is the warran- -- this warranty deed?

16                  A.       What is it?

17                  Q.       Yes.     Do you recognize this?

18                  A.       Really don't.         But I recognize that there

19      was one.         So this has to be -- do I remember this deed?

20      I mean, I remember doing it but I don't remember the

21      deed.

22                  Q.       Okay.     And --

23                  A.       Did I sign it somewhere?

24                  Q.       What do you plan to say about this at

25      trial?

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1                   A.    Well, this is when I bought the apartment.

2                   Q.    I'm sorry, we have to take a brief break.

3                   A.    This would be the official --

4                   Q.    Excuse me, excuse me, sir.           I'm sorry, we

5       have to take a quick break just to deal with technical

6       issue with the Zoom.

7                   A.    I'm sorry.

8                         THE VIDEOGRAPHER:         Time is 10:44.      We're

9                   going off the record.

10                        (A recess is taken.)

11                        THE VIDEOGRAPHER:         Time is 10:45 a.m.

12                  We're back on the record.

13      BY MR. NATHAN:

14                  Q.    Okay.   We're discussing Defendant's Trial

15      Exhibit pages 1 through 3, the warranty deed for the

16      South Lake condominium, the Palm Beach condo.

17                        Can you please tell me what you plan to say

18      about this document at trial?

19                  A.    It represents when I purchased the

20      condominium at 315 South Lake.

21                  Q.    Okay.   And when did you buy the

22      condominium?

23                  A.    Pardon me?

24                  Q.    When did you buy the condominium?

25                  A.    This would be the best I could do about the

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1       date.       That's why I put it in.

2                    Q.    Okay.     And so this document just shows the

3       date that you purchased the condominium?

4                    A.    Correct.

5                    Q.    Okay.     Why did you buy the condominium --

6       why did you buy the condominium?

7                          MR. CAMMARATA:         Objection.

8                          THE WITNESS:        I had been coming to Florida

9                    every winter since 2002, 2001 -- no, 2002 and

10                   staying for periods of time.               I would bring my

11                   children here.

12                         I would stay sporadic -- you know, a

13                   weekend, a week at a time.            And I'd rent either at

14                   The Breakers or Mar-a-Lago or sometimes some other

15                   place if they were booked.

16      BY MR. NATHAN:

17                   Q.    Okay.

18                   A.    Sometime earlier I purchased a condo for my

19      in-laws at Palm Beach Towers, probably was about three

20      years earlier.        I used to stay there.              We owned it, but

21      they lived there.          "We," meaning my wife and I.            And we

22      had been looking for two or three years.                    So we finally

23      found something we liked and purchased it.

24                   Q.    Okay.     And you purchased -- excuse me, you

25      purchased it to use as a vacation home?

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1                   A.    I purchased to use for -- for the winter

2       months or any other time we wanted to use it.                  But

3       primarily, at the beginning, for the winter months.                    It

4       was always the thought that this would be where I would

5       retire but that was in the future.

6                   Q.    Okay.    But for the, at least for the first

7       period that you owned the Palm Beach condo, you used it

8       as a part-time vacation home?

9                         MR. CAMMARATA:        Objection.

10                        THE WITNESS:       Yeah, not so much vaca- --

11                  not just vacation, I come and live here for a

12                  period of time.

13                        Like my ex-wife would spend the entire

14                  winter here.    So I'd commute here constantly.

15      BY MR. NATHAN:

16                  Q.    Okay.

17                  A.    It was more than -- it was more than just a

18      vacation home but I hadn't made the decision that this

19      would be my permanent --

20                  Q.    Okay.    So at that --

21                  A.    -- place to live, or the place I would

22      vote, I'd say.

23                  Q.    The period -- during this period, you

24      maintained a principal residence in New York; is that

25      right?

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1                   A.   I think you could call it.            A place I

2       voted.

3                   Q.   Okay.

4                   A.   That's where I paid taxes and I voted.

5                   Q.   Okay.   And would you say that your

6       principal residence was in New York?

7                   A.   I would.

8                   Q.   Okay.   How frequently -- yeah, you -- you

9       mentioned that you used Palm Beach condo during the

10      winter months.

11                       Which are the winter months in your mind?

12                  A.   Well, when I was married to Judith, our

13      regular sometimes varied based on family circumstances.

14      Our regular routine was, we would come here before

15      Christmas for weekends but then usually on Christmas

16      night or the day after, we would come down and she would

17      stay here until after Easter with occasional trips back

18      to New York.

19                       And I would stay here -- I'd come here each

20      one of the weekends and very often, I'd work out of here

21      for a week or two or fly out of here.               At that time, I

22      would do 100 -- as many as 150 speeches a year.                So I was

23      probably traveling 200 of the -- of the days of the year.

24      So it was just as easy for me to travel out of here as it

25      was out of New York.

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1                            So during -- this was sort of my home base

2       during the -- from December through April, May.

3                   Q.       Okay.     So -- so you said roughly from

4       Christmas through Easter.              So that translates in most

5       years from December through roughly April?

6                   A.       Yeah, before that it would be sporadic

7       visits like in September, October, November.                     But she

8       would permanently move here, very often, December 26th,

9       and then come back sometime in April.

10                  Q.       Okay.     So during the period when you

11      maintained your New York apartment as your principal

12      residence, there were still periods of the year when you

13      considered Palm Beach your home base; is that accurate?

14                  A.       Correct.

15                  Q.       Okay.     And they were pretty substantial

16      periods.         They were several months from December through

17      April the following year?

18                  A.       That was the regular process.

19                  Q.       That was your habit year to year?

20                  A.       Right.     But for example, in 2016, I spent

21      the entire summer traveling with President Trump when he

22      was running for president.

23                  Q.       Oh.     So any given year might have been

24      slightly different from another, but in general from

25      about December to about April, you considered yourself to

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1       be sort of based in Florida?

2                   A.    Correct.

3                   Q.    Okay.   Even during the period that you

4       maintained a principal residence in New York?

5                   A.    That's correct, yeah.

6                   Q.    Okay.

7                   A.    I also spent the summers in south -- in

8       Water Mill.      We had a home there.

9                   Q.    Where is Water Mill?

10                  A.    Water Mill is in South Hampton.

11                  Q.    On Long Island?

12                  A.    So from May until September, again, my

13      ex-wife lived there, and I traveled there each weekend

14      and spent occasional weeks there.

15                  Q.    Okay.   So during the time that you were

16      maintaining a principal residence at the New York

17      apartment, it's fair to say that you spent a substantial

18      amount of your time in other locations?

19                  A.    Yeah, I probably spent a little more time

20      in the two others than I did in New York but probably

21      the -- probably the most time in New York.

22                  Q.    Okay.

23                  A.    Like a plurality at the time.

24                  Q.    Okay.   You would --

25                  A.    Although I travel so much, I probably spent

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1       most of my time, 200 days, on the road.

2                    Q.    Okay.   And from May to September you would

3       also have foothold in South Hampton, which is on Long

4       Island; is that correct?

5                    A.    Correct.    South Hampton, Florida, and New

6       York, Manhattan.       And the world.

7                    Q.    Okay.   And just so I'm clear, in your

8       discovery responses, you used the term "vacation home" to

9       refer to the way that you used the Palm Beach condo

10      before January 1, 2024.

11                         Is anything about that inaccurate?

12                   A.    Yeah, it is inaccurate because, you know, I

13      think of a vacation home as you just go there

14      occasionally on vacation.          It was more like a winter

15      residence, certainly for my wife, and I was there

16      probably half the time.

17                   Q.    Okay.   But would it be fair to call it a

18      second home?

19                   A.    Yeah, it would be fair to call it a second

20      home.       And you could call the Hamptons a third home.

21                   Q.    A third home, okay.          Thank you.     All right.

22                         I made a little error in the page counting

23      on the warranty deed we were just talking about.

24      Actually pages 1 through 4 of the defendant's trial

25      exhibit?

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1                    A.    Page 1 of 4, yeah.

2                    Q.    1 through 4, right.          These are the tiny

3       little page numbers stamped on the bottom right-hand

4       corner of these pages.         I'm now going to move to the next

5       document.

6                          This is the quitclaim deed that you'll see

7       here.       And this spans three pages, from pages 5 through 7

8       of the defendant's trial exhibit.               It's also got docket

9       stamps up top.        It's Document 42-2 in the 24-civil- --

10                   A.    Quitclaim deed.

11                   Q.    653 matter.

12                   A.    Yeah, I see it.

13                   Q.    What is this document?

14                   A.    Well, I mean, again, I don't specifically

15      recall.       But looking at it, this looks like when Judith

16      signed the Florida residence over to me as the singular

17      owner.

18                   Q.    Okay.   And why was she doing that?

19                   A.    That was part of the divorce.            That was

20      part of the divorce settlement.

21                   Q.    Okay.   And when did you -- when was your

22      divorce from Judith finalized?

23                   A.    It must have been around that time, I don't

24      know the exact date.

25                   Q.    And in connection with the divorce, Judith

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1       executed this quitclaim deed --

2                   A.   She did.

3                   Q.   -- to transfer her interest in the property

4       to you?

5                   A.   Correct.

6                   Q.   And since that date, you've been the sole

7       owner of the property?

8                   A.   I have.

9                   Q.   And that occurred January 14, 2020,

10      according to this document?

11                  A.   That's when we signed it.             It seems to me I

12      probably took possession of it quite a bit before that,

13      as she did the home in the Hamptons.

14                  Q.   Okay.     And since that time, was there any

15      change in the way that you used the Palm Beach condo?

16                  A.   Progressively I spent more and more time

17      there, until I decided it was going to be my permanent

18      residence and I was going to vote here rather than in New

19      York, and then I was going to leave New York as soon as I

20      sold my condo.

21                  Q.   Okay.     Your plan was to -- I'm sorry, when

22      you say as soon as you "sold your condo," you mean the

23      New York apartment?

24                  A.   Yes, when I -- when I put it up for sale, I

25      knew I would have only one other place to live and it

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1       would be here, and that's when I decided this would be my

2       permanent residence.

3                   Q.    So you planned to move to the Palm Beach

4       condo as soon as you sold your New York apartment?

5                   A.    Correct.    It's something I had talked about

6       and thought about for some years.              I knew eventually I

7       was going to do it.       And then the thing that made me come

8       to the conclusion that this was my permanent residence is

9       when I decided to put my home in New York up for sale.                      I

10      didn't have the intention of buying like another home

11      there and then eventually I didn't have the resources to

12      do it.      But at first I didn't have the intention to do

13      it.

14                  Q.    Okay.   Well, let's move to the next

15      document, because the next document jumps forward in time

16      to July 12th, 2023.       And this begins at page 8 of the

17      defendant's trial exhibit?

18                  A.    Which one is it?

19                  Q.    You see the --

20                  A.    This one?

21                  Q.    Lower page.     It's the Sotheby's.

22                        MR. CAMMARATA:       I'm just pointing him in

23                  the numerical direction.

24      BY MR. NATHAN:

25                  Q.    I just want to direct your attention now --

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1                         MR. CAMMARATA:         So it's page -- could we

2                   stick to page -- maybe it would make it easier for

3                   me just to --

4                         THE WITNESS:        The one that says Sotheby's

5                   on top?

6       BY MR. NATHAN:

7                   Q.    Exactly.      The one that says Sotheby's on

8       top.     Do you see in the bottom right-hand corner of that

9       document that it's marked as Defendant's Trial

10      Exhibit 008?

11                  A.    I do.     I do.

12                  Q.    Okay.     And 008 is the page number that I've

13      been referring to.

14                  A.    Defendant Trial Exhibit 008, I see it.

15                  Q.    Okay.     So I'll use those page numbers just

16      to keep track of where we are in this big document.

17                        So what is this document?

18                  A.    This is the eventual agreement that we

19      entered with Sotheby's, the exclusive agreement, to

20      handle the sale of 45 East 66th Street.

21                  Q.    Okay.     And that's the New York condo?

22      Excuse me, that's the New York apartment?

23                  A.    Yeah, what we've been calling the New York

24      condo.      Actually, it's the New York co-op and the Florida

25      condo.

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1                   Q.     Thank you for that.            This relates to the

2       New York co-op, the New York apartment?

3                   A.     Correct.

4                   Q.     Okay.     And you've mentioned a little bit

5       about the decision to put this on the market.                     Why did

6       you decide to put it on the market at this time?

7                   A.     I decided quite a bit before this.                It was

8       a long process in getting Sotheby's.                     I can't tell you

9       exactly when I decided.           It even could have been in 2022.

10      I decided that I was going to make Florida my permanent

11      residence.       I was going to sell this apartment, meaning

12      the co-op.       I get them confused too.

13                         My -- originally I was going to make

14      Florida my -- my permanent residence and I was going to

15      use -- use the money from this and buy something, either

16      buy a bigger home here or maybe buy one in New Hampshire

17      because I spent so much time there.                     In fact, I even went

18      home shopping both here and -- in 2022, went home

19      shopping here and in New Hampshire.                     But those were like

20      plans that I would execute in my head six months later, a

21      year later.

22                  Q.     Okay --

23                  A.     I got serious about selling this sort of at

24      the end of 2022, selling the co-op, and I started looking

25      at -- asked Maria to handle it for me, Dr. Maria, and she

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1       brought me a number of agents and my original intention

2       was to -- of course, when I bought it, I had a group of

3       agents -- to have a number of agents.

4                        But then Sotheby's talked her and me, since

5       we're very friendly with some of the people there, into

6       handling it.     And we signed this because we -- when I

7       signed this, I seem to recall we thought we were going to

8       sell it right away.        We had a buyer.            So I guess what I'm

9       trying to explain to you is this was the end of -- this

10      was the end of a long process of deciding that Florida

11      would be my permanent residence, and at this point, my

12      only residence.        I couldn't afford anything else.

13                  Q.   Okay.     I think you said when you were --

14      you were formulating this plan you went home shopping

15      here, meaning in Palm Beach and in New Hampshire, but

16      those were plans that you would execute, in your head,

17      you said, six months later.

18                  A.   Yeah, unless I found something great.

19                  Q.   Did any of those plans ever come to

20      fruition?

21                  A.   No, they never did.            That was probably in

22      2022.

23                  Q.   Okay.     Do you recall why you didn't find

24      anything you liked in New Hampshire?

25                  A.   No.     Or here.      I don't remember why.

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1                   Q.   But you were looking for homes to consider

2       purchasing in New Hampshire at that time?

3                   A.   I was -- I was thinking that I would be a

4       permanent resident here and New Hampshire would be part

5       time.

6                   Q.   Okay.     And you said you also went home

7       shopping here.        Did you look at any other apartments to

8       consider purchasing here?

9                   A.   I did.     I had homes.

10                  Q.   Did you see anything that you considered

11      purchasing?

12                  A.   Considered, yeah, uh-huh.

13                  Q.   Okay.     Why didn't you purchase another

14      apartment down here?

15                  A.   Ultimately, I didn't want to give up -- I

16      really love this place, I mean, I would have taken --

17                  Q.   This place meaning --

18                  A.   I'm sorry, I would have taken the Florida

19      condo over the new New York co-op if that were a trade in

20      the -- when we were trading places with my ex-wife, it

21      just worked out better, the allocation of resources,

22      because she got a lot more cash, that I get the -- that I

23      get two residences and she get one.

24                       But when I was going to get two residences

25      and she was going to get one, I was going to take the one

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1       in South Hampton, and this.

2                    Q.    "This" meaning the condo --

3                    A.    "This" meaning Florida.              I just happen to

4       like it better.       The staff -- the staff is nicer and the

5       people are wonderful.          I mean, I've lived in many

6       different places and they're just wonderful people.                     I

7       mean, I have a balcony and I used to smoke cigars -- used

8       to smoke cigars here, too, in the courtyard -- and they

9       never complained.          In New York, my gosh, if I even took a

10      cigar out, they would complain.

11                         I just liked -- I liked living here a lot.

12      I mean, I decided to live here because I enjoyed it so

13      much.       I -- the reason I resisted was I had so many

14      things to do in New York.            Probably would have done it

15      five years ago, six years ago.

16                   Q.    Since your divorce, did you ever consider

17      selling the Palm Beach condo?

18                   A.    I thought about it -- or I thought about it

19      but I never put it on -- I don't think I ever put it on

20      the market.

21                   Q.    Okay.     But you were shopping -- you were at

22      least --

23                   A.    At one point we thought about selling it

24      all as a way of settling the divorce, and then decided

25      the better thing to do would be to trade it.

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1                    Q.    Okay.   You mentioned you were looking

2       around at other apartments and homes in the Palm Beach

3       area.       If you had purchased one of those homes, would you

4       have sold the Palm Beach condo?

5                          MR. CAMMARATA:       Objection.

6                          THE WITNESS:      Might not have.        I was trying

7                    to see if I could keep it.          Emotionally, I didn't

8                    want to give it up.

9       BY MR. NATHAN:

10                   Q.    Okay.   This document, the Sotheby's

11      document, is dated 2023.          There are no documents in this

12      defendant's trial exhibit between the 2020 date on the

13      quitclaim deed and the 2023 date on the Sotheby's listing

14      agreement.

15                         And I'm just wondering, was there anything

16      during that period that you think is relevant to your

17      plans to live permanently at the Palm Beach condo?

18                   A.    Documents, documents.

19                   Q.    Any documents that would be relevant

20      between that period?

21                         MR. CAMMARATA:       Objection.

22                         You can answer.

23                         THE WITNESS:      That would be from the time

24                   of my divorce until 20- -- there probably are, I

25                   just can't remember.

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1       BY MR. NATHAN:

2                   Q.       What type -- what type of documents would

3       exist that would be relevant?

4                   A.       Since I can't remember, I don't know what

5       they are.

6                   Q.       Fair enough.     All right.       Let's move to the

7       next document --

8                   A.       I'd have to know what you are looking for.

9                   Q.       -- in the defendant's trial exhibit.             This

10      one begins on page 13 of the defendant's trial exhibit.

11      I direct your attention to that page.

12                           The title says, Original Application for

13      Homestead and Related Tax Exemptions and it has a docket

14      stamp of 24-mc--

15                  A.       Oh, one of the things that I --

16                  Q.       Excuse me, just let me --

17                  A.       Oh, I'm sorry.       I thought of something.

18      I'm sorry.

19                  Q.       -mc-00353, document 79 in that case

20      caption.         That's the next document I want to talk about.

21      But first go ahead and --

22                  A.       I was going to say one of the things, among

23      others, that comes to mind is I reorganized -- I -- at

24      some point between 2020 and 2023, I -- I reconfigured the

25      apartment in Florida so that it had Ethernet and was able

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1       to broadcast internationally on radio because I knew I

2       would be ending up here, so I could -- at that time I was

3       working for WABC -- so that I could do my radio show out

4       of here.         They're probably documents that indicate that.

5       I had to sign a contract for that.

6                   Q.       Okay.    And do you recall --

7                   A.       That would have been like in 2021.

8                   Q.       Okay.    Thank you.        Yeah, actually I do just

9       have a couple other questions about your plans to sell

10      the New York co-op going back to 2023.

11                           Are you aware that Judith -- excuse me.

12      Let me start from the beginning.

13                           In 2020, you were divorced from Judith

14      Giuliani; is that accurate?

15                  A.       Yeah, I always thought it was 2019.               But

16      you are right.         That's what it says.

17                  Q.       Oh, okay.     But the divorce that we're

18      talking about in that 2019-2020 period, we've been

19      discussing the divorce settlement, that's your divorce

20      from Judith Giuliani?

21                  A.       Correct.

22                  Q.       Okay.    And prior to the divorce, you owned

23      the Palm Beach condo jointly with Judith?

24                  A.       I did.     I owned everything jointly with

25      Judith.

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1                   Q.   Jointly.    Okay.      Including the New York

2       co-op?

3                   A.   And South Hampton.

4                   Q.   Okay.   Are you aware that following your

5       divorce, Judith's name remained on the co-op shares of

6       the New York apartment?

7                   A.   On both.

8                   Q.   Well, let me clarify.

9                   A.   I just was very negligent in removing her.

10                  Q.   Okay.   But you are aware of that actually

11      as of today, Judith's name is still listed on the co-op

12      shares for the New York --

13                  A.   Yeah, and we have -- we have an application

14      pending with the board to change it for about six --

15      eight months.

16                  Q.   For about eight months --

17                  A.   Yeah.

18                  Q.   -- you've had that in with the board?

19                  A.   Maybe more.

20                  Q.   Do you remember --

21                  A.   But she doesn't -- I mean, she acknowledges

22      that she doesn't own it.

23                  Q.   Okay.

24                  A.   She had to do that for something or other

25      recently, recently being within the last year.

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1                   Q.    Okay.    Do you recall when you first took

2       steps to try to remove her name from the co-op shares?

3                   A.    Over a year ago.

4                   Q.    Could you be more precise than that?

5                   A.    No.

6                   Q.    Okay.    Was it before you listed the

7       apartment for sale in 2023?

8                   A.    Probably.

9                   Q.    Okay.    But you were aware that without

10      transferring the apartment into your name, you wouldn't

11      be able to sell the apartment without her approval; is

12      that correct?

13                  A.    Well, I think I could have used the divorce

14      decree and gotten through it.             It would be easier to have

15      her approval.      But the divorce decree makes it clearer.

16                  Q.    Okay.    So with the force of the divorce

17      degree, you would --

18                        (Simultaneously speaking.)

19                        THE WITNESS:       With the force of the divorce

20                  decree, I didn't feel like a real compulsion --

21      BY MR. NATHAN:

22                  Q.    The divorce decree gave you everything you

23      needed?

24                  A.    The divorce decree gave me full title to

25      New York and Florida.         It gave her the Hamptons.

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1                   Q.    And I'm sorry, Mr. Mayor, because we're

2       both doing this, I just -- we have to remind both of us

3       to let the other finish speaking.

4                   A.    Okay.     I'm sorry.

5                   Q.    And I'm sorry too.

6                         So it was your view that with the divorce

7       decree you would easily be able to effectuate the

8       transfer from Judith and your names jointly into your

9       name solely?

10                  A.    Correct.

11                  Q.    Okay.     Okay.     Did you -- did you have any

12      conversations with any title insurance companies while

13      you were contemplating the sale of the New York

14      apartment?

15                        MR. CAMMARATA:         Objection.

16                        You can answer.

17                        THE WITNESS:        I really left the sale mostly

18                  to Dr. Maria.     She handled that.

19      BY MR. NATHAN:

20                  Q.    Did anybody ever bring up with you that

21      Judith's name remaining on the co-op would pose an

22      obstacle to a sale?

23                  A.    No.

24                  Q.    Okay.     And you are aware that there are

25      some IRS tax liens that run against your property in New

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1       York?

2                   A.   I'm aware they do now, yeah.

3                   Q.   They do now.

4                   A.   Yeah.

5                   Q.   And when -- when did you become aware of

6       their existence?

7                   A.   You'd have to look at the date.              Whatever

8       the date is.

9                   Q.   Okay.    Did you ever have any plans to

10      satisfy those liens?

11                  A.   I did.

12                  Q.   When did you make those plans?

13                  A.   When they happened and my accountant

14      negotiated with them and made an agreement that we would

15      pay them a certain amount per month, I think it was

16      10,000, and that -- and that when we sold the co-op, we

17      would pay them full balance.

18                  Q.   When you say your accountant, who do you

19      mean?

20                  A.   Robert Gilbert.

21                  Q.   Okay.    And that agreement --

22                  A.   And his associate.

23                  Q.   Is that agreement that you mentioned still

24      in effect?

25                  A.   No, the bankruptcy sort of interrupted

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1       that.

2                   Q.       Okay.     And by "interrupted," you mean what?

3                   A.       It means I didn't continue to pay the

4       10,000 but the agreement still remains that I have to use

5       part of the -- part of the proceeds to satisfy the tax

6       indebtedness.

7                   Q.       Okay.     All right.        I'm ready to move to

8       this next document I mentioned, the one that's titled

9       Original Application for Homestead and Related Tax

10      Exemptions, beginning on page 13 of the defendant's trial

11      exhibit.         I direct your attention there.

12                           Can you tell me what this document is?

13                  A.       Well, all I can tell you is it is what it

14      says it is, an original application for homestead-related

15      tax exemptions that I filed with Florida and that they

16      granted at some point.

17                  Q.       And you filed this document?

18                  A.       I filed the document with the help of -- of

19      a lawyer, yes.

20                  Q.       Okay.     And I direct your attention to

21      page 2 of the document.

22                  A.       Two?

23                  Q.       Page 2.

24                  A.       Oh, page 2, yeah.

25                  Q.       Do you see your signature on the document?

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1                   A.    I do.

2                   Q.    And it's dated May 18, 2024?

3                   A.    That's correct.

4                   Q.    And below that there is another date that's

5       crossed out.      I don't know if you can make it out.                It

6       looks to me like May 16, 2024.              Is that what you see?

7                   A.    I think it's crossed out because it was

8       sent to me to be signed on the 16th and I actually signed

9       it on the 18th and I am very, you know, peculiar about

10      that and I want to make sure it's the exact date.

11                  Q.    Okay.

12                  A.    I'm guessing at that.

13                  Q.    And who helped you prepare this document?

14                  A.    A -- a lawyer.

15                  Q.    Okay.     What's the name of the lawyer who

16      helped you prepare it?

17                  A.    Gosh.     I'll think of it.          Just give me a

18      minute.      Can I consult my lawyer?

19                  Q.    No.     Is it Gary Rosen?

20                  A.    Yes, I think it was Gary or one of his

21      associates.

22                  Q.    Okay.     Gary Rosen is an attorney --

23                  A.    Yes.

24                  Q.    -- who assisted you?

25                  A.    He has a law firm that -- may have been one

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1       of his associates who helped me.

2                   Q.       Okay.

3                   A.       Gary -- yes, it's comfortable to say that

4       Gary would be responsible, sure.

5                   Q.       Okay, fair enough.

6                            And here it says that -- at the top of

7       page 1 of the document, that you are applying for

8       homestead exemption and the box is checked that says

9       "new"?

10                  A.       Correct.

11                  Q.       Okay.   So had you ever applied for this

12      type of homestead exemption before?

13                  A.       I don't recall.

14                  Q.       Okay.   When you filed this document, did

15      you review it to make sure your answers were accurate?

16                  A.       Sure, sure, I did this.

17                  Q.       Okay.

18                  A.       I had -- I had a certain amount of time to

19      do this.         So I think I was very careful about the date, I

20      wanted to make sure we got it in within the period of

21      time that I had to do this.              There was a certain amount

22      of time you have from the beginning of the year to file

23      and there is a certain amount of time that you have to

24      get a license.         So I wanted to make sure we did that.

25                  Q.       So it says at the top of the document that

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1       the application is due to the property appraiser by

2       March 1st.

3                            Is that your understanding?

4                   A.       No, that isn't my understanding.

5                   Q.       What's that?

6                   A.       Oh, due to the property appraiser?

7                   Q.       Right.

8                   A.       Yeah, but I thought I had six months to do

9       this for the State of Florida.                You'll have to check with

10      Gary.

11                  Q.       Okay.    So you expect to offer this document

12      at trial.         What do you plan to say about it?

13                  A.       Well, I mean, it -- it indicates that I am

14      affirming that my permanent Florida residency was on

15      January 1st.         I made the decision that it was my

16      permanent residency, I can't give you an exact date but

17      before January 1st.           And realized that it would apply as

18      of January 1st, did that in 2023, probably in December

19      when I decided that I would just -- also that I wanted

20      to -- I wanted to make sure that I could register to vote

21      in Florida in 20- -- in 2024.

22                           So -- so sometime -- I mean, describe the

23      process?         At the time that I signed -- around the time

24      that I signed the application with Sotheby's, I made the

25      decision that Florida was going to be my permanent

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1       residence and maybe my only residence at that point.

2                         And then I've -- by December, I was certain

3       of it.      And then when I went back -- when I went back to

4       Florida, I made a -- made an appointment to change my

5       license that got canceled for some reason.                 Then I -- I

6       think I did it in February.           And then I -- and then I

7       executed this.

8                   Q.    How did you prove to the Florida tax

9       authorities that you satisfied the requirements for this

10      homestead tax exemption?

11                  A.    Well, one of them -- one of them was

12      getting the license in early 2024.              I had had a license

13      in Florida to drive.       I hadn't -- I hadn't had a license

14      in New York.      Also, the tax bills that I showed them for

15      Florida that I paid in 2023, some utilities.

16                  Q.    Do you see down at the -- about halfway

17      down the page where it says "Proof of residence" and then

18      there is a list of documents?

19                        MR. CAMMARATA:        I'm sorry, where are you

20                  looking?

21                        MR. NATHAN:     I'm still on Defendant's Trial

22                  Exhibit page 13, about halfway down the page.

23      BY MR. NATHAN:

24                  Q.    There is a list of documents that you can

25      use as proof of residence and then the next column over,

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1       you filled out several of the entries.

2                        Are these the documents that you relied on

3       or that you offered to the Florida tax authorities?

4                   A.   Yeah, I didn't know which ones we did.                 But

5       yeah, now that we look at it, those would -- those would

6       be the ones, yes.

7                   Q.   Okay.     And these are the documents that

8       would -- that would have established that you were --

9       that you were entitled to the homestead tax exemption at

10      the Palm Beach condo as of January 1st, 2024?

11                  A.   Yes, sir.

12                  Q.   Okay.     You mentioned that you didn't have

13      New York driver's license.           Why didn't you have a New

14      York driver's license?

15                  A.   I never renewed it.

16                  Q.   Why --

17                  A.   I wasn't driving for a long time.               So I

18      never renewed it.        When I was the mayor, I had a -- a

19      large security detail.

20                       When I was in private practice, I owned a

21      security company and had had numerous death threats,

22      including two attempts to kill me in 2018, one in France

23      and one in -- and one in -- and one in our -- in Albania.

24                       I have a -- I have -- I have fatwas issued

25      against me by the Ayatollah, personally.

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1                         There are two groups in jail, convicted,

2       one in Belgium, the other one in Albania for attempting

3       to kill me.      Organized by the Iranian government.

4                   Q.    Do you recall when you last had an active

5       New York driver's license?

6                   A.    So I had -- I had security but what -- I

7       mean, what's the expiration date?              I always kept a

8       license because I always -- I liked to drive.

9                   Q.    And you told me just a moment ago that --

10                  A.    I don't remember when it expired.

11                  Q.    Okay.

12                  A.    It expired before.

13                  Q.    Okay.

14                  A.    It had been expired about a -- I seem to

15      recall about a year.

16                  Q.    About a year before you obtained a --

17                  A.    Yeah.

18                  Q.    -- new driver's license?

19                  A.    Maybe less, maybe a little less -- I always

20      meant to renew it and I really decided to renew it

21      probably some time in 2023 here and made a couple of

22      appointments and couldn't keep them.                 Made another

23      appointment in 2024, early, like early January, couldn't

24      keep it.

25                  Q.    Okay.   You testified a moment ago --

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1                   A.   And then eventually I did it, I did it that

2       day.

3                   Q.   You testified a moment ago that when your

4       New York driver's license --

5                   A.   Oh, I know, I know what it was.

6                   Q.   Go ahead.

7                   A.   I'm sorry.      I thought I needed to take a

8       driver's test, a written driver's test.                 So I went and

9       got the manual and I did -- maybe I should submit that.

10      I did that in 2023 and I studied to take the test and

11      finally when I got there, they told me my license wasn't

12      expired long enough so I had to take a test.

13                       So I didn't have to take a test but I had

14      to study for it any way.

15                  Q.   Okay.    This was in New York?

16                  A.   Un-uh.    This was in Florida.

17                  Q.   This was in Florida.           Okay.

18                       You mentioned that you allowed your New

19      York driver' license to expire and didn't renew it and

20      that it was -- so you didn't have an active driver's

21      license anywhere for maybe a year, little over a year?

22                  A.   Yeah, that sounds about right.

23                  Q.   Okay.    And you mentioned that was because

24      you -- you weren't driving for a long time.

25                       When was the last time you drove a car?

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1                   A.    Well, now I have.          I mean, I've had the --

2       since I've had the license.

3                   Q.    Since you've had the Florida driver's

4       license --

5                   A.    Right.

6                   Q.    -- how -- how often do you drive?

7                   A.    I don't have a car now because you've taken

8       it from me.      I used to drive that car regularly when I

9       was here.

10                  Q.    Okay.    And while you were living in New

11      York before you obtained a Florida driver's license, did

12      you drive a car?

13                  A.    I never did when I didn't have a license.

14      I'm enormously compulsive, obsessive compulsive about

15      that.

16                  Q.    During the period when you --

17                  A.    When I had a license and I was driven, I

18      would occasionally drive because I liked to drive.                   But I

19      never really had to drive.

20                  Q.    Okay.    Up at the top of this document, do

21      you see the line that says, "Do you claim residency in

22      another county or state"?

23                  A.    No, I don't.       Where is it?

24                  Q.    This is up at the top of the page.               It's

25      the third line of the form.

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1                   A.   This -- third line on page 1?

2                   Q.   Yep.

3                   A.   Correct.

4                   Q.   Okay.     You see it says, "Do you claim

5       residency in other county or state," and then there is a

6       box that says, "Yes, no, per applicant"?

7                   A.   Yeah, I don't know why it's filled out no

8       in co-applicant.        There is no co-applicant.

9                   Q.   Right, but the applicant boxes are not

10      checked; is that right?

11                  A.   Yeah, that seems like a mistake.

12                  Q.   Do you know why the co-applicant boxes were

13      checked and --

14                  A.   A mistake --

15                  Q.   -- the applicant boxes were not --

16                  A.   I'm sure it's a mistake.

17                  Q.   Okay.

18                  A.   There was no co-applicant.                 So must have

19      looked at it and just missed co-applicant there and

20      filled out the last box.

21                  Q.   Does this document list all of the --

22                  A.   And I -- and that's -- that's the best

23      explanation I can give because unless -- unless -- until

24      I construed residency as homestead permanent residency

25      and my residency now was in Florida.                  That's the only

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1       explanation I can give for it.

2                            But I don't -- residency is -- is kind of

3       vague, right?         Does it mean one of many or does it mean

4       the residency you are going to claim?                   I'm not even sure

5       I would know how to answer that now.

6                   Q.       Okay.   But you did answer it then.               You

7       checked the -- or --

8                   A.       Well, the co-applicant answered it.

9                   Q.       The co-applicant --

10                  A.       There was no co-applicant.

11                  Q.       So -- so if you -- okay.            Should that box

12      have been checked "no"?

13                  A.       I don't know what it should have been

14      checked.         Again, it depends on what "residency" means.

15                  Q.       Okay.   Why would it have made sense --

16                  A.       If residency means --

17                  Q.       -- to check the box "no"?

18                  A.       Well, as you know, you can have many

19      residencies and you have one domicile.                   And the homestead

20      is the dom- -- domicile.            So is this saying, do you have

21      other residencies, in which case at that time I did, but

22      Florida was my domicile or is it saying, do you claim --

23      the claim residency makes the confusion.                      I'm -- I'm

24      claiming permanent residency in only one place but I was,

25      at the time, a resident of two places.

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1                   Q.   Okay.    So --

2                   A.   Do you understand what I'm saying?

3                   Q.   I -- I think I do.

4                   A.   I think it's inherently confusing and I

5       have no idea why the co-applicant box is checked because

6       there was no co-applicant --

7                   Q.   Okay.

8                   A.   -- as far as I know.

9                   Q.   This document is about obtaining the

10      homestead tax exemption for the Florida condo for the

11      year 2024.

12                       Is -- is that your understanding?

13                  A.   Yes.

14                  Q.   And the proofs of residence that are listed

15      here, are these all of the documents and proofs of your

16      residents that you think supported your entitlement to

17      that homestead tax exemption at the time this document

18      was filed?

19                  A.   Where are they?

20                  Q.   This is --

21                  A.   Proof of residency?

22                  Q.   About halfway down.

23                  A.   Where it says proof of residence?

24                  Q.   Right.    The documents listed there, are

25      those all of the documents that supported your claim to

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1       this homestead tax exemption at the time you filed this

2       document?

3                   A.      No, there probably were others.               These are

4       the ones that seem the most relevant.                   I mean, I could

5       have -- I could have put in what I described to you

6       before, the records of change in the apartment so that I

7       could broadcast from there.             There might have been other

8       things.      But these are the ones that came to mind.

9                   Q.      Okay.   You mentioned that in 20- --

10                  A.      Driver's license, expired.               Vehicle tag

11      number.      Florida voter registration.               Declaration of

12      domicile.        I guess that would be this.             I don't have any

13      children so there would have been no -- dependent

14      children.        So there would be no --

15                  Q.      To the extent that you had other

16      documents --

17                  A.      It seems to me that I had other documents

18      but these are the only ones they are asking for.

19                  Q.      To the extent that you have other documents

20      that would have been relevant, why didn't you list them

21      here?

22                          MR. CAMMARATA:       Objection.

23                          THE WITNESS:      They weren't asked for.

24      BY MR. NATHAN:

25                  Q.      Okay.   But in your mind, these documents

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1       were sufficient to show that you were entitled to bring

2       homestead --

3                   A.    No, not in my mind.            It's their mind, they

4       have to decide on it.         This is what they asked for.              This

5       is what I gave them.

6                   Q.    Okay.     If you thought that this wouldn't be

7       enough to prove that you were entitled to --

8                   A.    I did.

9                   Q.    -- a homestead tax exemption, would you

10      have given them more?

11                        MR. CAMMARATA:         Objection.

12                        THE WITNESS:        I wouldn't have given them

13                  more if they had asked for more.

14      BY MR. NATHAN:

15                  Q.    But your goal was to get the homestead tax

16      exemption for the Palm Beach condo; is that right?

17                        MR. CAMMARATA:         Objection.

18                        THE WITNESS:        Okay.      Correct, and I

19                  answered the questions that they asked.

20      BY MR. NATHAN:

21                  Q.    Okay.     If you thought that there was

22      something missing here that would have strengthened your

23      claim for a homestead tax exemption, you would have

24      provided it --

25                  A.    No.

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1                    Q.    -- to the tax authorities?

2                    A.    Wouldn't have given them anything beyond

3       what they asked for.          I don't know why I would do that.

4       I mean, this is what they asked for.                    They know what they

5       want.       I'm not going to give them --

6                    Q.    Do you see just above the line --

7                    A.    The bill -- the bill --

8                          THE REPORTER:         Okay.     I'm sorry.       One at a

9                    time, please.

10      BY MR. NATHAN:

11                   Q.    Let's try again.          I just have a question

12      for you about this document.

13                         If you look just above where the tax says

14      proof of residence, do you see it says "Please provide as

15      much information as possible"?

16                   A.    I do.

17                   Q.    Okay.     Did you try to follow that

18      instruction --

19                   A.    I did.

20                   Q.    -- when you filled out this document?

21                   A.    I answered every question.                 I don't even

22      know where I would put it.             It didn't occur to me I

23      should submit more than what they wanted.                      I don't

24      know -- I mean, I'm looking at it, I'm trying to figure

25      out where I would put it.

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1                   Q.   You understood that the county property

2       appraiser would determine your entitlement to the

3       homestead tax exemption based on the information you

4       submitted?

5                   A.   This is a lot of sort of interpreting, but

6       it seems to me they know what questions to ask.                  And if

7       you answer them, they are going to do it based on the

8       answers to the questions they asked.

9                   Q.   So it would be based on the answers to the

10      questions they asked --

11                  A.   I'd be surprised --

12                  Q.   -- that you submitted?

13                  A.   Correct.

14                  Q.   Okay.    So when you --

15                  A.   They don't ask for anything else.               I've

16      never even thought to give them anything else because

17      they didn't ask for anything else.              If they asked for

18      anything else, I think I would have thought of other

19      things to give them, like I told you.                But it never even

20      occurred to me that I should give them more things.                     And

21      again, I don't know where I'd put it.

22                  Q.   In your view, the information you did give

23      them was enough to entitle you to the homestead tax

24      exemption?

25                  A.   No, in their view.          They asked the

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1       questions, I didn't.        If they wanted more information,

2       they'd ask for more information.

3                    Q.    When you filed this application, did you

4       think the homestead tax exemption would be granted?

5                    A.    I didn't see any reason why it wouldn't.                   I

6       answered all the questions that they have here correctly.

7       And my understanding of domiciliary is you get to decide

8       that.       And you can have five residences and you decide

9       this one is my domiciliary.

10                   Q.    Okay.   What does this application -- strike

11      that.

12                         How does this document support your claim

13      that you established a homestead at the Palm Beach condo

14      under the Florida constitution?

15                         MR. CAMMARATA:       Objection.

16                         THE WITNESS:      That's their determination.

17                   I don't think I've read the Florida Constitution.

18      BY MR. NATHAN:

19                   Q.    Okay.   You understand your claim in this

20      case is that the Palm Beach condo is protected by the

21      homestead exemption under the Florida Constitution?

22                         MR. CAMMARATA:       Objection.

23                         THE WITNESS:      It is.

24      BY MR. NATHAN:

25                   Q.    Okay.

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1                   A.     I thought they granted this in some way.

2                   Q.     Well, I'm just asking about the relevance

3       of this document.

4                   A.     All I can tell you is how I answered the

5       questions.       I have not read the Florida Constitution.                 My

6       lawyers helped to fill this out and if they wanted more

7       documents, I would have given them more documents.                   But

8       this is what they asked for.            This is what the appraiser

9       asked for.

10                  Q.     Okay.   And so in your opinion, this

11      document only shows how you answered questions that the

12      county property appraiser asked you?

13                         MR. CAMMARATA:       Objection.

14                         THE WITNESS:      That's all it could do.           Here

15                  are the questions, I answered all of them.               There

16                  is nothing else I could do.

17      BY MR. NATHAN:

18                  Q.     Okay.   And you -- okay.           Do you remember

19      when -- this document was signed on May 18, 2024.                   Do you

20      remember when it was submitted?

21                         MR. CAMMARATA:       Objection.

22                         THE WITNESS:      I assume around then.

23      BY MR. NATHAN:

24                  Q.     Okay.   How did you get the signed version

25      of this document back to Mr. Rosen?

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1                   A.    I don't remember.         As I said, I do remember

2       I got it -- probably got it on or before the 16th, but

3       didn't get around to signing it until the 18th, which is

4       why we made that last change.

5                   Q.    Okay.   And you -- it looks like you signed

6       this by hand; is that right?

7                   A.    Oh, I did, yeah.        Yeah, I signed it by

8       hand.

9                   Q.    So a copy of this was scanned and returned

10      to Mr. Rosen?

11                  A.    I don't know if it was scanned and returned

12      or was personally returned.           I'm not sure.

13                  Q.    Okay.   Did anybody help you get this

14      document back to Mr. Rosen?

15                  A.    I don't remember.

16                  Q.    Is that something you would have emailed

17      yourself?

18                        MR. CAMMARATA:       Objection.

19                        THE WITNESS:      Emailed, if it was -- I could

20                  have -- I could have, but this -- it doesn't look

21                  like a document that was photographed.

22      BY MR. NATHAN:

23                  Q.    Would somebody have emailed it for you?

24                        MR. CAMMARATA:       Objection.

25                        THE WITNESS:      Could have or it could have

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1                   been me.   It could have been Maria or it could

2                   have been Ted or I could have hand-delivered it.

3                   Or he could have come and picked it up.                 Any

4                   number of possibilities.

5       BY MR. NATHAN:

6                   Q.    Do you recall where you were when you

7       signed this document?

8                   A.    Pardon me?

9                   Q.    Do you recall where you were --

10                  A.    I don't, I don't.

11                  Q.    You mentioned that in 2023 you were

12      studying to take the driver's test for the Florida

13      driver's license you obtained and then they told you you

14      didn't need to take the test?

15                  A.    I found that out when I went to the -- I

16      went to the motor vehicle bureau.               You had to make

17      appointments unless you wanted to stand in a long line.

18      I missed a couple.       Then when I got there and I gave them

19      all the information, I said, "Where do I go to take the

20      test?"      "You don't have to take a test."                Your -- your

21      license isn't expired long enough where you have to take

22      a test.

23                  Q.    When did that occur?

24                  A.    The date that I -- the date that's on my

25      application.      It was all done in person.

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1                   Q.      The date you applied for your Florida

2       driver's license?

3                   A.      Yeah.   One of the reasons I held up was I

4       wanted to study the book.           Then it turned out I didn't

5       have to.

6                   Q.      Okay.   But you didn't learn that you didn't

7       have to until --

8                   A.      Until I got there.

9                   Q.      Until you got there.          And when you got

10      there, did you obtain the driver's license right then or

11      did you have to wait?

12                          MR. CAMMARATA:       Objection.

13                          THE WITNESS:      I got it right then.

14      BY MR. NATHAN:

15                  Q.      Okay.

16                  A.      Let me amend that answer so it's perfectly

17      accurate.        I actually went there with the intention of

18      getting an identification card and an appointment to do

19      the test.        And when I applied, when I went to the clerk,

20      the clerk said, "You don't have to take the test."                    I

21      said, "What?"        And she said, I can just give you -- "we

22      can process the driver's license right now."                   And I said,

23      "Okay."      And she did.

24                  Q.      Okay.

25                  A.      And the reason I had held up going was six

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1       months earlier, at least, I had gotten the booklet and I

2       read it several times.          And studied for it.            I guess

3       that's good.

4                   Q.    Okay.     Just the last few questions about

5       this application for your homestead tax exemption.                       Why

6       didn't you file this document earlier?

7                         MR. CAMMARATA:         Objection.

8                         THE WITNESS:        I'm not sure I knew it had to

9                   be filed.     I thought you just -- you decided what

10                  your -- I thought of it more in terms of the law

11                  that I remembered of domiciliary.                You decide what

12                  your domicile is.       And I decided -- by the end of

13                  '23 I had gone through my laborious process of

14                  deciding where I would permanently reside.

15                        In '23 I decided I would reside here, when

16                  I put the apartment up for sale, but I would not

17                  buy anything else.        And then I got a license and

18                  then I found out I had to file an application.

19      BY MR. NATHAN:

20                  Q.    Okay.

21                  A.    So I filed it as soon as I found out.

22                  Q.    So when you -- when you changed your

23      domicile, you -- you can just decide that you are now

24      going to have a different domicile?

25                  A.    That's the way I remember it.                It's up to

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1       you.     You decide your domicile.

2                   Q.       Okay.   And could you change it back just by

3       deciding that now you are going to change it back?

4                            MR. CAMMARATA:       Objection.

5                            THE WITNESS:      Of course you can change it

6                   back.

7       BY MR. NATHAN:

8                   Q.       Okay.   And how -- how many times back and

9       forth?

10                           MR. CAMMARATA:       Objection.

11                           THE WITNESS:      I have no idea how many times

12                  but the decision of what is your domicile is

13                  yours.     You decide that.

14      BY MR. NATHAN:

15                  Q.       And do you have to do anything else?

16                           MR. CAMMARATA:       Objection.

17                           THE WITNESS:      Well, you have to have some

18                  connection to the place.            You have to have a

19                  residence there or you have to be voting there or

20                  you have -- in order to objectively show that it's

21                  your domicile.       But you could make that decision.

22                  That's your decision to make, particularly, if you

23                  have dual residences and you can change it.

24                           I mean, that's my understanding of it.               I'd

25                  be very surprised if that was something different.

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1       BY MR. NATHAN:

2                   Q.       So if you have two residences, you can just

3       decide to make one your primary residence without doing

4       anything else?

5                            MR. CAMMARATA:      Objection.

6                            Counsel, you are asking him -- him to

7                   interpret the law.

8                            MR. NATHAN:    I don't -- I don't want to

9                   hear speaking objections.

10                           MR. CAMMARATA:      You are asking him to

11                  interpret the law.

12                           MR. NATHAN:    But that's not a proper

13                  objection.

14                           MR. CAMMARATA:      Okay.         Well, it will be at

15                  trial.

16      BY MR. NATHAN:

17                  Q.       Answer the question.

18                  A.       It's my understanding that you --

19                           MR. CAMMARATA:      You are laughing but it

20                  is -- you're asking him to interpret that law.

21                           Him MR. NATHAN:       Trial objections are not

22                  proper objections in deposition.

23                           MR. CAMMARATA:      Okay.

24                           MR. NATHAN:    You can state your

25                  objection --

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1                          MR. CAMMARATA:         It's fine.

2                          MR. NATHAN:       -- on the record.

3                          MR. CAMMARATA:         Note it that I'll preserve

4                    it for trial.     That's fine.

5                          THE WITNESS:        It's my understanding that

6                    you decide what your domicile is if you have

7                    several residences.         And then if you need to prove

8                    it, you have to have at least some connection to

9                    that place and owning a residence is usually

10                   enough.   That would be my understanding.

11      BY MR. NATHAN:

12                   Q.    Okay.     And in this situation, you owned a

13      residence both in New York and in Florida?

14                   A.    Yeah, and I could have -- I could have made

15      either one at any time my domicile, and I kept it in New

16      York.       I had decided in '23 that I was going to change it

17      to -- to Florida.

18                         That's my -- that was my permanent

19      residence and then I executed the documents in 20- -- the

20      necessary documents beyond owning property there with the

21      driver's license and then this application that I didn't

22      know about, that you had to file such an application.                      As

23      soon as I found out about it, I filled it out.

24                   Q.    Okay.     But you made the decision when?

25                   A.    I made the decision -- safest way to say it

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1       is before the end of the year, some time in 2023 after --

2       when I put the apartment up for sale, and we had original

3       buyer and I thought we were going to sell it right away,

4       I made the decision that Florida should now be my

5       permanent residence because it could be -- I would have

6       to move there like that.

7                   Q.   Why would you have to move there like that?

8                   A.   Because I didn't have any place to live in

9       New York.

10                  Q.   Why didn't you have any place to New York?

11                  A.   Because I'd be selling the apartment.

12                  Q.   Had you sold the apartment at that point?

13                  A.   No, but I was -- I wasn't going to wait

14      until I sold it to decide where I was going to live.                   I'm

15      not used to being homeless.           I kind of cured homelessness

16      when I was mayor.

17                  Q.   Okay.    I'd like to turn to the next

18      exhibit, which begins at page 17 of the defendant's trial

19      exhibit in this document.

20                       If you'll just turn --

21                  A.   Page 17?

22                  Q.   Yeah, I think you may have gone one or two

23      pages too far but if you flip --

24                  A.   Okay.

25                  Q.   -- just after this application for the

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1       homestead tax exemption.

2                    A.    This -- I see a thing that says

3       "Declaration of domicile."

4                    Q.    Just before that.

5                    A.    Before that.

6                    Q.    Now you are getting there.

7                    A.    This one?

8                    Q.    The first page of that document, if you

9       just keep flipping back.

10                   A.    This it?

11                   Q.    There you go.

12                         And there is a page number 17 in the bottom

13      right corner.       This is titled 2024 Notice of Proposed

14      Property Taxes and Proposed or Adopted Non-Ad Valorem

15      Assessments.

16                         This is a notice of your property tax

17      liabilities in Palm Beach County and it shows you were

18      entitled to a homestead tax exemption for the tax year

19      2024.       Is that right?

20                   A.    I'm -- I'm not aware of that.

21                   Q.    Take a look at the document and just make

22      sure you understand what it is.

23                   A.    (Complies.)

24                   Q.    You can turn to the -- it's three pages

25      long, four pages long so you can flip through it.

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1                          Oh, excuse me.         It's actually two

2       documents.       The first two pages are a notice of the

3       property taxes, and then the second two pages are your

4       actual property tax bill.

5                   A.     I see "Exemption and discounts

6       requirements."

7                   Q.     I think you flipped back one page too far.

8       If you turn to --

9                   A.     I have exemption and discount requirements.

10      That's not right?

11                  Q.     No.     Turn the page one more time --

12                  A.     Okay, I see --

13                  Q.     Okay.     So you have this colorful page with

14      the few columns.

15                  A.     It says, "Do not pay"?

16                  Q.     Correct, because this is not a bill.                This

17      is just a notice.          If you flip the page over, there is a

18      table that shows the exemption.

19                  A.     On the back of that or the next page?

20                  Q.     Exactly.      No, you are doing fine, on the

21      back of that.       You see the table that lists exemptions?

22                  A.     No.

23                  Q.     It says, last year, 0.               This year, 50,000

24      or 25,000 depending on the column -- the column.

25                         And then if you look at the bottom table on

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1       that document, it says that the exemptions applied

2       include the homestead tax exemption --

3                   A.   I'm not sure I ever --

4                   Q.   -- and the additional homestead tax

5       exemption?

6                        Do you see that this --

7                   A.   I don't remember this.

8                   Q.   Okay.    Do you see that this was sent to you

9       at --

10                  A.   I think once it said, do not -- not a bill,

11      I may not have looked at it.

12                  Q.   Fair enough.

13                       If you look at the bottom of the second

14      page with those blue tables, you see that it's -- it has

15      your 315 South Lake Drive address.              So this would have

16      been mailed to you at -- at your Palm Beach condo; is

17      that right?

18                  A.   If it says that, sure.

19                  Q.   Okay.    And then the next page, this is the

20      property tax bill beginning on page 19 --

21                  A.   This is the bill?

22                  Q.   Correct.     Correct.

23                  A.   Okay.

24                  Q.   Labeled 2024 Real Estate Property Tax Bill.

25      And you can see the exemptions listed in the third column

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1       of that top table?

2                   A.   I don't.

3                   Q.   Well, why don't you look at the very top of

4       the document, you see --

5                   A.   Property control number, the year, build

6       number.

7                   Q.   Yep.

8                   A.   Applied exemptions.

9                   Q.   Applied exemptions, and you see there that

10      it says --

11                  A.   Homestead, additional homestead.

12                  Q.   And so this means that the homestead tax

13      exemption you applied for was granted; is that right?

14                  A.   I gue- -- I mean, I honestly don't recall

15      that, but I guess.

16                  Q.   Okay.     And it was granted based on the

17      information you provided in your application; is that

18      right?

19                  A.   I assume that, sure.

20                  Q.   Could it have been granted based on

21      anything other than --

22                  A.   No.

23                  Q.   -- the information you provided?

24                  A.   I -- that's all the informa- -- as we

25      pointed out, I answered their questions and they -- no, I

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1       don't recall giving any -- any other information.

2                   Q.   Okay.    And this exemption applied to the

3       entire tax year of 2024; is that right?

4                   A.   I don't know, does it?              I mean, this is an

5       extraordinarily confusing document, because you pay it at

6       different times, I mean, you have all the way until -- I

7       mean, we didn't -- can you refresh my recollection on

8       when I paid it?

9                   Q.   I'm just asking about what the county tax

10      authorities decided about whether you were entitled to a

11      homestead tax exemption.

12                  A.   Yes.

13                  Q.   And this document shows that they decided

14      you were entitled to a homestead tax exemption for the

15      tax year --

16                  A.   That's -- that's what --

17                  Q.   -- of 2024?

18                  A.   That's what it -- that's what it says up

19      here.

20                  Q.   Okay.    And they made that decision based on

21      the application we just looked at --

22                  A.   They would have to.           That's the only -- as

23      far as I know, that's the only information I have.

24      Unless they did a separate investigation of their own.

25                  Q.   Okay.    You mentioned a moment ago that --

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1       we were talking about -- well, okay.                 Let me -- you -- we

2       were talking about how you change your domicile when you

3       have two different residences and you -- you were

4       testifying that it's your decision and it's -- it's up to

5       you which is your domicile when you have two different

6       residences.

7                         What does "domicile" mean to you?

8                         MR. CAMMARATA:       Objection.

9                         THE WITNESS:      What you regard as your

10                  permanent home.

11      BY MR. NATHAN:

12                  Q.    Permanent home.        Would you say that it also

13      means your principal residence?

14                  A.    Yeah.

15                  Q.    Okay.   All right.        Now I'd like to turn to

16      defendant's -- page 21 of the defendant's trial exhibit

17      document.

18                  A.    Is that beyond declaration of domicile?

19                  Q.    That is declaration of domicile, thank you.

20                  A.    Okay.

21                  Q.    So you expect to offer this document at

22      trial.      What do you plan to say about it?

23                        MR. CAMMARATA:       Objection.

24                        THE WITNESS:      Just another indication

25                  that -- that this is my permanent residence.

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1       BY MR. NATHAN:

2                   Q.   Okay.    And --

3                   A.   I mean, I don't really know if it's

4       necessary if you have the one before it but...

5                   Q.   The ones before it meaning the two

6       documents --

7                   A.   The fact that they approved it.

8                   Q.   The fact that the homestead --

9                   A.   That the state approved it.

10                  Q.   The tax authorities --

11                  A.   That the county approved it.

12                  Q.   Thank you.      The tax authorities for Palm

13      Beach County approved your application for a homestead

14      tax --

15                  A.   That would seem to be dispositive, right?

16                  Q.   Okay.    Is there anything else you would

17      testify about at trial relating to the homestead tax

18      exemption documents we were just looking at?

19                  A.   I don't know.        You'd have to ask me.

20                  Q.   In your mind --

21                  A.   I haven't prepared -- I haven't prepared my

22      testimony yet, so there might be other things I've

23      testified to.     I mean, some of it comes about by calling

24      my attention to things I don't remember.                   I have to

25      explain I was doing a lot of other things and engaged in

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1       equally compelling litigation, two or three of them.

2                   Q.       Do you recognize this declaration of

3       domicile document as --

4                   A.       Honestly, I don't recognize it.

5                   Q.       Okay.    Well --

6                   A.       I signed it.

7                   Q.       Do you see that you signed it?              Okay.

8                   A.       I'd have to go back and ask, I assume Gary,

9       what this -- what this represents.

10                  Q.       Gary is Gary Rosen?

11                  A.       Gary Rosen.

12                  Q.       Did he assist you with this document?

13                  A.       I'm assuming he did because it's a Florida

14      document and -- I don't have an independent recollection

15      of this.         I don't dispute that it's mine but I don't

16      have --

17                  Q.       Okay.    And you signed it and you see that

18      it was also notarized?

19                  A.       Yes, up in New Hampshire, right.

20                  Q.       Okay.    Were you in New Hampshire when you

21      executed this document?

22                  A.       I was.    That was during the summer where I

23      was kind of a vagabond.            I lived in about five places by

24      myself.

25                  Q.       Okay.    And as you sit here today, what's

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1       the relevance of this document to the claims in this

2       case?

3                   A.   I don't know.

4                   Q.   You don't know the relevance of this

5       document?

6                   A.   No.     As I said, I don't have an independent

7       recollection of it.

8                   Q.   As far as --

9                   A.   Now that you say I signed it in New

10      Hampshire, I do remember going to get a -- I do remember

11      going to get notary in New Hampshire but I also remember

12      going to get one in Illinois and -- and in Texas.                   So I

13      guess this is the one I did in New Hampshire.                  In fact,

14      my full recollection of this is I remember signing a

15      document and getting it notarized in New Hampshire.

16                  Q.   Okay.

17                  A.   And then in several other places.

18                  Q.   And you see up in the upper right-hand

19      corner of the document it says it was recorded July 15,

20      2024, in Palm Beach County; do you see that?

21                  A.   I do.

22                  Q.   Did you record this document in Palm Beach

23      County personally?

24                  A.   No.

25                  Q.   Who did that?

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1                           MR. CAMMARATA:       Objection.

2                           THE WITNESS:      I think you'd have to ask

3                   Gary.    Gary Rosen.

4       BY MR. NATHAN:

5                   Q.      Gary Rosen would know who recorded this

6       document?

7                   A.      That's my best answer.             I'm not sure -- I'm

8       honestly not sure who filed it.

9                   Q.      Was Gary Rosen handling this declaration

10      for you?

11                  A.      I don't recall the declaration.             He was

12      handling this matter for me.

13                  Q.      And what do you mean by "this matter"?

14                  A.      The -- the proper documentation of my

15      decision that Florida was my homestead or domicile.

16                  Q.      When did you first retain Mr. Rosen?

17                  A.      I don't recall exactly when.

18                  Q.      Can you give me a ballpark?

19                  A.      And I don't recall a specific time.              I -- I

20      would say sometime in 2023 or early '24.

21                  Q.      Okay.   Is there a reason you didn't file

22      this declaration of domicile earlier?

23                          MR. CAMMARATA:       Objection.

24                          THE WITNESS:      I don't recall -- I can't

25                  answer the question.         I don't -- somebody would

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1                   have to explain this to me.                  I don't understand

2                   this document completely, what the purpose of it

3                   is.

4       BY MR. NATHAN:

5                   Q.      Okay.     Sitting here today, you don't recall

6       why you filed this when you did?

7                   A.      I do not.      I don't know if there was a

8       requirement for it or -- no.               I mean, all I'm doing is

9       interpreting what I see here.                I don't have any

10      independent knowledge to give you on it other than it

11      appears to me to not be necessary.

12                  Q.      And why isn't it necessary?

13                  A.      Unless there is a distinction between

14      homestead and domicile.

15                          (Reporter asks for clarification.)

16                          THE WITNESS:        Because unless there is a

17                  distinction between homestead and domicile.                    They

18                  granted the homestead as evidenced by the tax

19                  bill.    I assume that was before -- it seems like

20                  this was before I filled out this declaration of

21                  domicile.       There has to be a reason for it but I

22                  have to ask my lawyer what it is.                  I don't know.

23      BY MR. NATHAN:

24                  Q.      Okay.     Could you have executed this just to

25      give the appearance that you were going to maintain a

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1       permanent home at the Palm Beach condo?

2                          MR. CAMMARATA:       Objection.

3                          THE WITNESS:      I didn't have to give an

4                   appearance.    I had already been declared having a

5                   homestead.

6       BY MR. NATHAN:

7                   Q.     So why did you execute this document?

8                          MR. CAMMARATA:       Objection.

9                          THE WITNESS:      I don't remember executing

10                  it.   I can't do any better than tell you I don't

11                  have any independent recollection of executing it.

12                  You'll have to ask my lawyer as to why I did it.

13                  But since I submitted all the others, it is not

14                  going to fool anybody.

15      BY MR. NATHAN:

16                  Q.     Okay.   Let's just look at the language of

17      this document and you'll see just above your signature it

18      says that you, "Hereby declare that you resided and

19      maintained a place of abode at 315 South Lake Drive, Unit

20      5-D, Palm Beach, which place of abode I recognize and

21      intend to maintain as my permanent home."

22                         And it goes on to say that if you

23      maintained another place of abode in some other state or

24      states, you hereby declare that this place, the Palm

25      Beach condo, quote, "constitutes my predominant and

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1       principal home and I intend to continue it permanently as

2       such."

3                         Is that your understanding of what you were

4       attesting to when you signed this document?

5                   A.    I don't remember signing the document.

6       That's true.      Everything you just said is true.

7                   Q.    And it's true as of when?

8                   A.    I mean, that would be true as of before the

9       end of 2020 -- 2023.

10                  Q.    Okay.   But you didn't sign this document

11      until the 13th of July, 2024; isn't that right?

12                        MR. CAMMARATA:       Objection.

13                        THE WITNESS:      That's what it says.          But I'm

14                  not sure -- I don't know what this document does

15                  that the other documents don't do.             And it seemed

16                  to me that the homestead was already granted.

17      BY MR. NATHAN:

18                  Q.    Okay.   And your --

19                  A.    So I'm not certain as to what the relevance

20      of this document is.

21                  Q.    Your view is that when you say "the

22      homestead was already granted," you mean the homestead

23      tax exemption we were just discussing a few moments ago?

24                  A.    Yes.

25                  Q.    And your view is that by granting that

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1       exemption, it also meant that you had established a

2       homestead at the Palm Beach condo that's disputed in this

3       case?

4                           MR. CAMMARATA:         Objection.

5                           THE WITNESS:        Sure.      What else would it

6                   mean?

7       BY MR. NATHAN:

8                   Q.      Okay.     And that -- that homestead tax

9       exemption was granted based on the information that you

10      submitted to the Palm Beach County taxing authorities

11      with that application we had discussed?

12                  A.      To the best of my recollection, I do not

13      recall submitting any other information.                       Could we get --

14      could you give me the date of the tax document?

15                  Q.      Well, you submitted the tax -- the

16      application of the tax exemption on May 18th.                       I was

17      going to ask you on what date it was granted.

18                          Do you know that?

19                  A.      No.     The -- I don't remember.

20                  Q.      Do you have any reason to think that -- do

21      you have any way to know whether it was before or after

22      July 13th?

23                          MR. CAMMARATA:         Objection.

24      BY MR. NATHAN:

25                  Q.      2024?

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1                   A.   Again, you would have to -- no, I don't

2       remember the date.

3                   Q.   So sitting here today, you don't know one

4       way or the other which came first, the declaration of

5       domicile that was executed on July 13, 2024, or the

6       granting of the homestead tax exemption which occurred

7       after you applied on May 18, 2024?

8                   A.   My best recollection is that I received

9       document -- that the tax document that says exemption --

10      the exemptions were granted before I did the declaration

11      of domicile.

12                  Q.   And what's that based on?

13                  A.   Just my recollection.               Maybe it is the way

14      you placed them.

15                  Q.   When you say you "received" it, how did you

16      receive it?

17                  A.   In the mail.       These come in the mail.

18                  Q.   And it was mailed to your address at 315

19      South Lake Drive, Palm Beach condo here in Palm Beach,

20      Florida?

21                  A.   That's what it says.

22                  Q.   And do you recall when you received it at

23      that address?

24                  A.   I don't recall exactly, no.               So I'm just

25      telling you my best recollection.

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1                   Q.    Okay.   But you don't have any documents to

2       back up your recollection that you received the homestead

3       tax exemption before the declaration of domicile was

4       executed on July 13th?

5                         MR. CAMMARATA:       Objection.

6                         THE WITNESS:      I'd have to look.         I never

7                   looked.

8       BY MR. NATHAN:

9                   Q.    You never looked for any documents --

10                  A.    I never looked to see -- to see which --

11      which came first.

12                  Q.    Okay.

13                  A.    And since I was traveling from about the

14      end of June until September almost constantly, I'd have

15      to -- I mean, I could search and see if there is

16      anything.

17                  Q.    Where would you search?

18                  A.    In my record -- in my files that I keep.

19                  Q.    In your files.       And that's --

20                  A.    It's rather sporadic.

21                  Q.    But that's not a search you've made so far?

22                        MR. CAMMARATA:       Objection.

23                        THE WITNESS:      Well, it has but I -- but I

24                  never -- I never -- as I said, this -- this

25                  declaration of domicile, I don't remember.              The

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1                   other I do remember.         So I never searched it with

2                   that in mind.

3       BY MR. NATHAN:

4                   Q.    Okay.     All right.        I just want to turn

5       another page here.         We'll go past the declaration of

6       domicile there for a moment.

7                         Do you see at page 22 of defendant's trial

8       exhibit, it says that -- well, what this says and what

9       this is is a letter addressed to Rudolph Giuliani at 216

10      Lakeville Road, Great Neck, New York.

11                  A.    Yeah.

12                  Q.    Yeah.     What is that address?

13                  A.    I have no idea.

14                  Q.    You don't know -- you don't recognize that

15      address?

16                  A.    No, I never lived in Great Neck.

17                  Q.    Okay.

18                  A.    Ever, ever, ever.

19                  Q.    And on the right-hand side of that upper --

20                  A.    Sorry.

21                  Q.    In the upper right-hand corner, it says

22      "Property description," 45 East 66th Street, 10W.

23                        THE REPORTER:         What was the --

24                        MR. NATHAN:       Excuse me.         45 East 66th

25                  Street 10W.

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1       BY MR. NATHAN:

2                   Q.    So that's the New York apartment address --

3                   A.    May I ask a question?                Is this -- oh, I

4       guess I should ask you:          Is this -- here's the

5       declaration of domicile.

6                   Q.    Right.

7                   A.    This is a separate document --

8                   Q.    This is a brand-new document --

9                   A.    -- even though --

10                        (Simultaneously speaking.)

11                        THE REPORTER:         Okay, one at a time.

12      BY MR. NATHAN:

13                  Q.    I'll -- I'll describe the document to you

14      just to make sure --

15                  A.    Yeah.

16                  Q.    -- you recognize it.            You see that this is

17      from the New York State Department of Taxation and

18      Finance?

19                  A.    I see that.

20                        MR. NATHAN:       Okay.      Joe, I see you nodding.

21                  I just ask you not to coach the witness.

22                        MR. CAMMARATA:         I'm not coaching him.

23                        MR. NATHAN:       Okay.

24                        MR. CAMMARATA:         I'm nodding at you

25                  actually.

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1                          MR. NATHAN:     Well, you were looking at him.

2                          MR. CAMMARATA:       No, I actually wasn't.

3                          THE WITNESS:      Well, I wasn't looking at

4                   him.

5       BY MR. NATHAN:

6                   Q.     Rudolph Giuliani, 216 Lakeville Road,

7       that's not an address you recognize but this is a

8       document from the New York tax authorities and it says,

9       "Confirmation of no STAR credit," and it says, "We,"

10      meaning the tax authorities of New York, "received your

11      request for confirmation that you are not receiving New

12      York State school tax relief STAR credit."                  And as of

13      January 1st, 2024, you are not receiving the STAR credit

14      in New York State.

15                         Do you recall anything about this document?

16                  A.     I do not.

17                  Q.     Okay.   Do you recognize this document?

18                  A.     I don't.

19                  Q.     Okay.   You disclosed it as an exhibit that

20      you plan to on rely on trial.

21                         What do you plan to say about this document

22      at trial?

23                  A.     That my lawyer submitted it.

24                  Q.     How do you know your lawyer submitted it?

25                  A.     Because he gave it to me.

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1                   Q.    Which lawyer gave it to you?

2                   A.    Would have probably been Joe or Gary, one

3       or the other.

4                   Q.    Okay.   As far as you know, what relevance

5       does this have to your -- to the claim in this case?

6                   A.    None.   I think.       I don't know what the

7       relevance is.

8                   Q.    Okay.   But as far as you know, it doesn't

9       have any relevance because you don't know one way or the

10      other; is that right?

11                        MR. CAMMARATA:       Objection.

12                        THE WITNESS:      No, I would have to speculate

13                  as to what the relevance is --

14      BY MR. NATHAN:

15                  Q.    Okay.   Fair enough.

16                  A.    They can tell you.

17                  Q.    If you look at the next document, and this

18      may help solve the mystery of the address but this is a

19      letter from the New York State -- City Department of

20      Finance, Property Exemptions Administration.                 It is

21      addressed to Gary Rosen, Esquire, at 216 Lakeville Road

22      in Great Neck, New York.

23                        Does that refresh your recollection of what

24      the 216 Lakeville Road address might be?

25                  A.    Well, that obviously -- I mean, that looks

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1       like it is his address.

2                   Q.   Okay.     So Gary --

3                   A.   Gary's address in New York.

4                   Q.   And Gary Rosen was representing you in

5       connection with this matter?

6                   A.   He was.     Yes.

7                   Q.   Okay.     And this is a letter to Gary Rosen

8       advising that the cooperative condominium abatement for

9       Unit 10W at 45 East 66th Street, which is the New York

10      apartment, has been removed for the period beginning

11      July 1st, 2023.       Is that accurate?

12                  A.   That's what it says.

13                  Q.   Okay.     Do you have any recollection of this

14      document?

15                  A.   I can't say I recall the document, no.

16                  Q.   Okay.     You disclosed it as an exhibit that

17      you plan on rely at trial.

18                       What do you plan to say about this

19      document?

20                  A.   That it speaks for itself.

21                  Q.   What does it say, when it speaks for

22      itself?

23                  A.   What you just read.            Do I have to read it

24      again?

25                  Q.   Okay.     Does it -- what relevance does it

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1       have to the claims in this case?

2                         MR. CAMMARATA:         Objection.

3                         THE WITNESS:        You really want me to get the

4                   legal interpretation?

5                         MR. CAMMARATA:         Objection.

6                         THE WITNESS:        It seems like they are

7                   acknowledging that I wasn't a permanent resident

8                   in 2023.

9       BY MR. NATHAN:

10                  Q.    How do you know that?

11                  A.    Well, I don't know that.             You asked me to

12      interpret it.

13                  Q.    Well, I'm not asking you to guess, I'm just

14      asking you based on what you know.

15                  A.    Well, then I can't guess, then I -- then I

16      can't give you the relevance of it.

17                  Q.    Based on what you know, this document has

18      no relevance to the claim?

19                  A.    No.

20                        MR. CAMMARATA:         Objection.

21                        THE WITNESS:        It seems to me that it has

22                  the relevance that I just said.             That's my --

23      BY MR. NATHAN:

24                  Q.    And what's that based on?

25                  A.    My ability to reason.

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1                   Q.    Okay.    Is it based on any personal

2       knowledge?

3                         MR. CAMMARATA:        Objection.

4                         THE WITNESS:       Personal -- personal

5                   knowledge is that I decided in 2023 that I would

6                   be a permanent resident of Florida.

7       BY MR. NATHAN:

8                   Q.    Do you know what the cooperative

9       condominium abatement is?

10                  A.    I know -- I know -- I know what it is and I

11      assume it wasn't granted because maybe -- I'm saying

12      again, maybe it just applies if you are a permanent

13      resident.

14                  Q.    You say "maybe" but you don't know --

15                  A.    I don't know for sure.

16                  Q.    -- one way or the other?

17                  A.    Right.

18                  Q.    Okay.

19                        MR. NATHAN:      All right.         It's now noon.     I

20                  think this is a natural place to break for lunch.

21                  If -- if that's okay with everyone, we'll go off

22                  the record.

23                        MR. CAMMARATA:        Yes.

24                        THE WITNESS:       Wonderful.

25                        MR. NATHAN:      Okay.

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1                          THE VIDEOGRAPHER:        This is the end of Media

2                   2.   The time is 12:02 p.m.         We're going off the

3                   record for a media change.

4                          (A lunch recess is taken.)

5                          THE VIDEOGRAPHER:        This is Media Number 3

6                   in the deposition of Rudolph Giuliani.             And the

7                   time is 12:39 p.m. and we're back on the record.

8       BY MR. NATHAN:

9                   Q.     Mr. Mayor, during the break, did you

10      discuss your testimony, your deposition testimony with

11      anyone?

12                  A.     Not any of the details, no.

13                  Q.     Did you discuss it at all?

14                  A.     Just the fact that it was going on with my

15      lawyer.

16                  Q.     What did you discuss?

17                  A.     I think that's privileged.

18                  Q.     The fact that it was going on?

19                  A.     I think what I discussed with him is

20      privileged.

21                  Q.     It was privileged -- okay.

22                         Did you discuss any of the substantive

23      comments we've been addressing here today?

24                  A.     I would assert the client privilege.             You

25      don't have a right to what I discuss with my attorney --

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1                            MR. NATHAN:    Joe, are you instructing --

2                            THE WITNESS:     -- whether I did or didn't.

3                            MR. NATHAN:    Joe, are you instructing your

4                   client --

5                            MR. CAMMARATA:      I believe my client

6                   answered --

7                            MR. NATHAN:    -- not to answer the question?

8                            MR. CAMMARATA:      -- that.      If we can scroll

9                   back, I think he answered that he didn't -- we

10                  didn't discuss substance.

11                           MR. NATHAN:    Okay.      Are you instructing

12                  him --

13                           MR. CAMMARATA:      No.

14                           MR. NATHAN:    -- not to answer the question?

15                           MR. CAMMARATA:      He can answer the question.

16                  You can repeat it and he can answer it.

17                           THE WITNESS:     I'm not going to answer the

18                  question anymore than I did because I -- I don't

19                  even think I should have answered it last time.                    I

20                  think it's improper of you to ask it.               You're

21                  inquiring about my discussions with my lawyer.

22      BY MR. NATHAN:

23                  Q.       I asked --

24                  A.       Anyone would know that's a violation of the

25      attorney-client privilege.

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1                   Q.   I asked whether you discussed your --

2                   A.   And my answer is --

3                   Q.   -- deposition with anyone --

4                        THE REPORTER:        Okay.

5                        THE WITNESS:       My answer is --

6       BY MR. NATHAN:

7                   Q.   Just -- just let me finish.               I'm going to

8       read back your testimony to you.              I asked if you were

9       going to discuss your deposition testimony with -- if you

10      had discussed your deposition testimony with anyone and

11      you said, "Not in any great details, no."

12                       MR. CAMMARATA:        That's his answer.

13                       MR. NATHAN:      Okay.

14      BY MR. NATHAN:

15                  Q.   To what extent did you discuss your

16      deposition testimony during the break?

17                  A.   Any discussions I had during the break with

18      my attorney and beyond what I said, which I probably

19      shouldn't have said at all, is privileged.

20                  Q.   Is it your position that everything you say

21      to your attorney is privileged?

22                  A.   Whenever I'm seeking his advice it is,

23      unless the law has changed substantially or there is a

24      different law for people that are involved with Donald

25      Trump.

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1                   Q.       Okay.   During the break when you were

2       speaking to your attorney, were you seeking his legal

3       advice?

4                            MR. CAMMARATA:       I'm going to object to

5                   that.

6                            THE WITNESS:      I think the questions are

7                   pretty outrageous.         But the answer is I will not

8                   answer questions about what I talk to my attorney

9                   about.     I think I'm entitled to that privilege as

10                  an American citizen.

11      BY MR. NATHAN:

12                  Q.       Okay.   Does that hold regardless of what

13      the substance of the conversation you had with your

14      attorney was about?

15                           MR. CAMMARATA:       I'm going object to that.

16                           THE WITNESS:      Certainly I can't -- I can't

17                  tell you whether it does or it doesn't.                 I can

18                  only tell you what you asked, and what you asked,

19                  I think privilege applies to it.

20      BY MR. NATHAN:

21                  Q.       I asked whether you were seeking legal

22      advice from your attorney when you had a conversation

23      with him during the break and --

24                  A.       And I gave you an answer to it and I've

25      given you --

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1                   Q.    Are you --

2                   A.    -- no further.

3                   Q.    -- refusing to answer the question?

4                         MR. CAMMARATA:         Hold on a second.           You have

5                   to clarify the difference between seeking legal

6                   advice and discussing prior testimony.                 There is a

7                   difference.

8                         MR. NATHAN:       I asked whether he was seeking

9                   legal advice.

10                        THE WITNESS:        I will do it now for the

11                  third time.     I'm asserting the attorney-client

12                  privilege and I am not going to answer the

13                  question, even if you ask it a hundred times.

14      BY MR. NATHAN:

15                  Q.    You won't even tell me whether you were

16      seeking legal advice from your attorney?

17                  A.    Again, same answer.

18                  Q.    Okay.     Okay.     Are you representing yourself

19      in connection with this matter?

20                        MR. CAMMARATA:         Excuse me?          I didn't hear

21                  the question.

22      BY MR. NATHAN:

23                  Q.    Are you representing yourself in connection

24      with this matter?

25                        MR. CAMMARATA:         Objection.

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1                         THE WITNESS:        I think the record is pretty

2                   clear who my attorneys are.

3       BY MR. NATHAN:

4                   Q.    Are you representing yourself in connection

5       with this matter?

6                   A.    No, I'm not pro se.

7                   Q.    Okay.     Your own lawyer has not instructed

8       you not to answer the question I asked --

9                         MR. CAMMARATA:         I'm instructing him to

10                  answer the question as to whether or not anything

11                  substantive of his prior testimony was --

12                        (Simultaneously speaking.)

13                        THE WITNESS:        It's not my lawyer's

14                  privilege.     It is my privilege.          It's my personal

15                  privilege.     My lawyer doesn't have the right to

16                  instruct me one way or the other of the

17                  attorney-client privilege.            In case you forgot

18                  constitutional law, it is a personal privilege

19                  that I have.     I have to -- I have to -- I have to

20                  give my lawyer permission --

21      BY MR. NATHAN:

22                  Q.    Okay.     The question on the --

23                  A.    -- to discuss it.

24                  Q.    The question on the table was whether you

25      were seeking legal advice from your attorney when you

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1       spoke to him --

2                   A.    Wow.

3                   Q.    -- during the break, and you've refused to

4       answer the question, although your own lawyer has not

5       instructed you not to answer that question.

6                         Is that accurate?

7                         MR. CAMMARATA:       My client --

8                         THE WITNESS:      I'm not going to answer that

9                   because it's a complete waste of time.             You've

10                  asked that four times.

11      BY MR. NATHAN:

12                  Q.    I'm asking you to clarify your own

13      testimony.

14                  A.    Is this for the purpose of just delaying?

15      The answer is clear on the record.

16                  Q.    And what is the answer that's clear on the

17      record under your understanding?

18                        THE WITNESS:      Could you please read it

19                  back, how I answered it?

20      BY MR. NATHAN:

21                  Q.    Why don't you tell me if it's clear what

22      your answer was to my question?

23                        THE WITNESS:      Could you read it back,

24                  please?

25                        (The last answer is read back.)

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1       BY MR. NATHAN:

2                   Q.   That was your answer to my question of

3       whether you were seeking legal advice from your attorney

4       during the break?

5                   A.   Whatever the record says my answer was.

6                   Q.   It was just read back to you, is that --

7                   A.   That was my answer.

8                   Q.   -- your answer to my question?

9                   A.   The record speaks for itself.

10                  Q.   I'm entitled to know if you discussed the

11      substance of your testimony with your lawyer at the

12      break.

13                  A.   I've already answered the question.               I

14      don't know how many times I can answer the question

15      except to note that this seems to me to be obstructive,

16      conduct which is kind of way this case has been conducted

17      by your law firm throughout.

18                  Q.   How am I obstructing you from answering the

19      question?

20                  A.   Because you've asked the question three

21      times and I've given you the answer.

22                  Q.   Okay.    The question was whether you

23      discussed the substance of your deposition testimony, and

24      you said "not the details."           So I asked to what extent

25      did you discuss your deposition testimony with your

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1       lawyer at the break, and you refused to answer that

2       question.        Is that accurate?

3                   A.      I'm not going to take your characterization

4       of it.      The record speaks for itself.

5                   Q.      You can say -- you can say --

6                           MR. CAMMARATA:       You asked him -- you asked

7                   two questions.

8                           MR. NATHAN:     Joe, I don't want you to coach

9                   your witness.

10                          MR. CAMMARATA:       I'm not.      I'm talking to

11                  you.

12                          MR. NATHAN:     Yeah, you can't talk to me.

13                          MR. CAMMARATA:       I can ask him to leave if

14                  you won't, because there's not a pending question.

15                          MR. NATHAN:     You can't talk to me.           You can

16                  note objections to the record --

17                          MR. CAMMARATA:       You asked two questions.

18                          MR. NATHAN: -- or you can object.              I'm not

19                  going to --

20                          MR. CAMMARATA:       I'm going to object but you

21                  asked two questions --

22                          (Simultaneously speaking.)

23                          MR. CAMMARATA:       -- whether or not he

24                  received legal evidence and whether or not his

25                  testimony was discussed.

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1                         MR. NATHAN:       That's true.

2                         MR. CAMMARATA:         That's two separate

3                   questions.

4                         MR. NATHAN:       And my -- I'd like the answer

5                   to both.     So let's take them in order.

6                         MR. CAMMARATA:         He answered the first

7                   question already.

8       BY MR. NATHAN:

9                   Q.    What's the answer to the question whether

10      you were seeking legal advice from your attorney during

11      the break?

12                  A.    Beyond what I've said, I will assert the

13      attorney-client privilege.

14                  Q.    Okay.     Well, I've already held the

15      deposition open for one reason so I'll hold it open for

16      this reason as well.         And now let's move on.              All right.

17                        So you still have this big document in

18      front of you, defendant's trial exhibit.                     This is just

19      sort of a general question.             But if you wanted an

20      important document to get to you, where would you have it

21      sent?

22                  A.    I have no idea.

23                  Q.    You don't know where?

24                  A.    Such a hypothetical general question.

25                  Q.    All right.       So let's say that there was an

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1       important document you wanted to make sure you received

2       it, where would you ask somebody to send it?

3                         MR. CAMMARATA:       Objection.

4                         THE WITNESS:      Well, normally I would say,

5                   if you were to ask me right now, to send it to 315

6                   South Lake Drive, but if I knew I was going to be

7                   in, let's say, Milwaukee, Wisconsin, for four

8                   days, I would have it sent there.              Or if I knew I

9                   was going to be in Texas for four days or five, I

10                  do that occasionally, I have it sent to a hotel.

11      BY MR. NATHAN:

12                  Q.    Okay.   And if you wanted there to be no

13      doubt about it, that no matter what else happened,

14      eventually you'd receive the document, where would you

15      have it sent?

16                        I can rephrase the question.              You know --

17                  A.    Really depends on the circumstances.

18                  Q.    Okay.   You are somebody who travels a lot.

19      You are not always home.         But if there was something that

20      was very important and you wanted to make sure that you

21      received it, where would you ask somebody to mail it?

22                        MR. CAMMARATA:       Objection.

23                        THE WITNESS:      It would depend on the

24                  circumstances.

25

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1       BY MR. NATHAN:

2                   Q.      Okay.

3                   A.      That's a highly hypothetical question.

4                   Q.      As you sit here today, for example, to what

5       address do you have your bank statements sent?

6                   A.      315 South Lake Drive.

7                   Q.      And why is that?

8                   A.      Because that's where I get my bank

9       statements.

10                  Q.      And why do you get your bank statements

11      there?

12                  A.      Because that's where I live.

13                  Q.      That's where you live.

14                  A.      That's the only place I live.

15                  Q.      Is it important that you get your bank

16      statements sent to you at your home?

17                          I can rephrase that.          When you had two

18      residences, where would you have important documents

19      sent?

20                  A.      Again, it depends on the circumstances.

21                  Q.      At the time that you -- strike that.

22                          All right.     Why don't we look at exhibit --

23      well, at page 24 of the defendant's trial exhibit

24      document.        This is your driver's license, the photograph

25      of your driver's license?

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1                   A.   Page 20 --

2                   Q.   It's page 24, those little numbers at the

3       bottom right-hand corner?

4                   A.   All right.      Sure, let me just get there.

5       Yes.

6                   Q.   Okay.    This is one of the documents that

7       you disclosed as something you'd rely on at trial and

8       this is your driver's license; is that right?

9                   A.   That is.

10                  Q.   This is the Florida driver's license that

11      you received in February of 2024; is that right?

12                  A.   February 2024, yes.

13                  Q.   Okay.    And you've disclosed this as a

14      document you plan to rely on at trial.               What do you plan

15      to say about this document at trial?

16                  A.   That it's one indication of the decision

17      that I made before the end of 2023 that Florida would be

18      my permanent residence because it would be the only place

19      in which I had a driver's license.

20                  Q.   Okay.    How does it show that you made that

21      decision for the end of 2023?

22                  A.   Well, it shows that shortly after the

23      beginning of 2024, I sought the driver's license.

24                  Q.   Okay.    And --

25                  A.   My testimony is that I made the decision

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1       before.       Now, this would be evidence that I executed on

2       that.

3                    Q.    My question was just how does this -- how

4       does this driver's license support that contention, and I

5       think you answered it.

6                    A.    Uh-huh.

7                    Q.    The -- you also mentioned that your -- that

8       Florida would be your permanent residence because it

9       would be the only place in which you had a driver's

10      license.

11                         Do you -- do you consider your permanent

12      residence to be defined by the place where you have your

13      driver's license?

14                   A.    No, it's defined by you.             It's -- it's just

15      one of the things that you use to show tangible evidence

16      of your subjective decision.

17                   Q.    When you say, "it's defined by you," you

18      mean it's defined by you?

19                   A.    My understanding of the law is you decide

20      on your domicile.          And then there are external pieces of

21      evidence that can support that.                A driver's license is

22      traditionally one of them as evidenced by the questions

23      asked by the County of Palm Beach.

24                   Q.    Okay.     If we can move to the next document

25      here.       This is your Florida vehicle registration.                It is

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1       photocopy of vehicle registration for a Mercedes Benz

2       vehicle.

3                   A.    I'm having a hard time reading it, I'm

4       sorry.

5                   Q.    I am too.    Can you make out the words

6       "Florida vehicle registration"?

7                   A.    I do see that, yeah.

8                   Q.    Okay.   This is among the documents you

9       disclosed that you plan to rely on at trial.

10                        What do you intend to say about this

11      document?

12                        MR. CAMMARATA:       Objection.

13                        THE WITNESS:      Well, to show my connection

14                  to Florida.

15      BY MR. NATHAN:

16                  Q.    And what relevance does this document have

17      to whether or not you established a permanent -- or a

18      homestead at the Palm Beach condo?

19                  A.    It shows -- it shows that I had a -- that I

20      had a car registered here which is a connection to the

21      state of Florida.

22                        A domicile is a conclusion you come to.

23      This is one other indication that I had a connection to

24      the state of Florida.

25                  Q.    Just for clarity, you said, "domicile is a

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1       conclusion you come to."

2                           You don't mean me, do you?

3                   A.      What?

4                   Q.      When you said, "domicile is a conclusion

5       you come to," by "you," you didn't mean me?

6                   A.      No, I meant me.

7                   Q.      Okay.   Thank you.

8                   A.      I think an individual makes a decision on

9       domicile.        Then it is a question of -- of your being able

10      to -- depending on the state, get -- show them that

11      there's tangible indications of it.                    This would be one

12      among a number of tangible indications.

13                  Q.      So an individual makes a decision and then

14      there is -- then there is paperwork?

15                  A.      Or the paperwork may exist and then you

16      make the decision, either way.

17                  Q.      Okay.

18                  A.      I -- I can't see the date on this, I'm

19      sorry.

20                  Q.      Before --

21                  A.      I know I registered the vehicle here way

22      before 2024.

23                  Q.      When did you first register the vehicle in

24      Florida?

25                  A.      I don't know, two -- two years earlier,

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1       three years earlier.       That's why I wish this were

2       clearer.

3                   Q.   Okay.    But you didn't -- you didn't obtain

4       a Florida driver's license until 2024?

5                   A.   No, but I registered the vehicle here.

6                   Q.   Okay.    Do you -- can you make out here that

7       the vehicle is registered to the name of Rudolph W.

8       Giuliani and Judith S. Giuliani?

9                   A.   I cannot but that would -- that would be

10      the same as -- that would mean I certainly did it way

11      before 2024 originally.

12                  Q.   Okay.    So your -- your -- this vehicle was

13      registered in Florida.        Your testimony in a -- is way

14      before 2024?

15                  A.   Well, I was still married to Judith, which

16      means 2019 or earlier.

17                  Q.   So as you sit here today, to the best of

18      your knowledge, you registered this vehicle in Florida no

19      later than 2019?

20                  A.   Yeah.

21                  Q.   Okay.    All right.        Let's turn to the next

22      page of this document, defendant trial exhibit page 26.

23                       What is this document?              Well, I'll tell you

24      what it is.

25                  A.   It's a voter registration -- voter

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1       information, rather.

2                   Q.       Okay.     And this shows that you registered

3       to vote in Florida on May 18th, 2024.

4                   A.       That's correct.

5                   Q.       Is that correct?

6                   A.       That's correct.

7                   Q.       Okay.     And it shows your residence address

8       as 315 South Lake Drive, Unit 5D, Palm Beach, Florida; is

9       that correct?

10                  A.       I see that, yes.

11                  Q.       Okay.     Before you registered to vote in

12      Florida, where were you registered to vote?

13                  A.       I was registered -- I was registered at 45

14      East 66th Street.            Then I was registered indirectly for a

15      while in Water Mill, which meant I had to cast a

16      provisional ballot in 2020.                But from my point of view, I

17      was registered there from the time I moved in and voted

18      there.

19                           And then surprisingly, someone switched my

20      registration on me, unbeknownst to me and then I switched

21      it back.         So from 2022 or 3 to 2024, this date, I was

22      registered in New York.

23                  Q.       Okay.     When you say, "somebody switched

24      your registration on you," what do you mean by that?

25                  A.       I have no idea.          I walked in on -- on -- in

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1       2020, I walked in to my usual polling place at Hunter

2       College and I was told I wasn't registered there anymore.

3       I have no idea why I wasn't.           And my registration was

4       switched -- switched without any signature from me to

5       Water Mill.      I had -- and I had to get a provisional

6       ballot and fill out paperwork to get it switched back to

7       its rightful place.

8                   Q.    Okay.

9                   A.    And it just attributed to the unbelievably

10      incompetent way in which the State of New York handles

11      voting.

12                  Q.    When you disclosed this voter registration

13      document as a document that you plan to rely on at trial,

14      what's the relevance of this document to your claims?

15                  A.    Well, it seemed to me it's relevant because

16      the county asked the question.            So it's yet another piece

17      of, maybe you'd call it circumstantial evidence or

18      tangible indication of your subjective decision.

19                  Q.    Okay.   And why did you decide to register

20      to vote in Florida?

21                  A.    Because I wanted to vote in Florida.

22                  Q.    Okay.

23                  A.    And because I was a res- -- by this time, I

24      was a resident of Florida.

25                  Q.    Okay.

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1                   A.    A permanent resident of Florida.

2                   Q.    And at the time the county -- when you

3       said, "the county asked you the question," what did you

4       mean by that?

5                   A.    When I filled out the -- when we filled out

6       the homestead, I think it asked, where you are registered

7       to vote?

8                   Q.    Okay.   And --

9                   A.    And I don't remember if I filled it out

10      before or after I registered to vote, but they're

11      certainly independent decisions.             I -- I registered to

12      vote in order to vote.        That was -- I wanted to make sure

13      I voted -- frankly, I wanted my vote to count.                 And I

14      knew I'd be living here forever, so I wanted to be able

15      to vote here.

16                  Q.    Okay.   Why didn't you register to vote in

17      Florida earlier?

18                  A.    I just didn't think of it.

19                  Q.    What made you think of it?

20                  A.    The election was coming up.

21                  Q.    Did it have anything to do with receiving

22      the homestead tax exemption?

23                        MR. CAMMARATA:       Objection.

24                        THE WITNESS:      As I said, I don't know if I

25                  registered to vote here before or after I received

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1                   that.    Somehow I seem to recall I got that in the

2                   spring of 2024.

3                           But this was primarily based on the fact

4                   that I wanted to vote here and I wanted to make

5                   sure I could vote in the primary too.               I think I

6                   could have registered later to vote in the general

7                   election.

8       BY MR. NATHAN:

9                   Q.      Okay.   Is there a reason why you said -- or

10      strike that.

11                          You said you registered because you wanted

12      to vote -- your vote to count.              Could you explain that?

13                  A.      Sure.

14                          A presidential vote in New York is

15      unfortunately, but it's just the way it is, isn't going

16      to have any effect on the presidential election because

17      New York hasn't voted other than for a Democrat in two

18      generations.        And the City of New York hasn't voted --

19      the City of New York didn't even vote for -- for Abraham

20      Lincoln.

21                          So unless you like 150 years of a one-party

22      state, it's a tough place to vote if you are not a

23      Democrat.

24                  Q.      Okay.   And why was it important for you to

25      vote in Florida in 2024?

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1                    A.    Well, it's important for me to vote.                I

2       vote -- I vote every year.             I think I -- I think there

3       was another particular reason.               I think I wanted to make

4       sure I voted in the primaries with some candidates I was

5       supporting in the primaries, I'm pretty sure.                    But

6       certainly the general election.

7                    Q.    And why was it important to vote in the

8       general election?

9                    A.    Because I am a very, very strong supporter

10      of Donald Trump, which is the reason why you are doing

11      all of this to me, and -- and I was personally convinced

12      more than anyone else that the President of the United

13      States was a career criminal for 30 years for which I

14      have unbelievable amounts of proof and for which I've

15      been tortured because I revealed it.

16                   Q.    Okay.     If we can turn to the next document

17      here.       This starts at page 30 of the defendant's trial

18      exhibit document.

19                   A.    Which one?

20                   Q.    Page 30.

21                   A.    Got it.

22                   Q.    You recognize this as your 2023 tax

23      returns?

24                   A.    Only because my name is on it.               Everything

25      is crossed -- crossed out, yeah, I -- I do -- I -- I --

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1       yeah, I see.

2                   Q.   Right, I see that --

3                   A.   I recognize it as what it is.

4                   Q.   I see that there is number of redactions on

5       this document.

6                        Why are there so many redactions on this

7       document?

8                   A.   I'd assume because you are not entitled to

9       the information.      Tax -- tax -- taxes are generally

10      considered private.

11                  Q.   You disclosed this as a document you intend

12      to rely on at trial.

13                       Could you explain to me the relevance of

14      this document?

15                  A.   Is this a New York -- this is federal?

16                  Q.   This is federal.

17                  A.   Because of the -- because of the address.

18                  Q.   And the address being 315 South Lake Drive?

19                  A.   Yeah, I mean, I'm -- I can't remember this

20      exact document, so I'm -- I'm basically giving that

21      answer based on what I see here.

22                  Q.   Okay.    Well, this relates to something I

23      was asking you before, you know, would you consider this

24      to be an important document?

25                  A.   No more important than the others, but

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1       yeah, I mean...

2                   Q.   In your communications with the IRS, you

3       would want the IRS to be able to get in touch with you if

4       it had to?

5                   A.   That's funny.         Do you want the IRS to get

6       in touch with you?        Well, I mean, it isn't emotionally.

7       Emotionally, probably no.

8                   Q.   Emotionally, maybe not.

9                   A.   But you do have to get the information.

10                  Q.   Right.     So when you have get the

11      information --

12                  A.   I don't know that that was filled like that

13      for that reason.        Basically, I was asked to produce

14      everything that shows that I live at 315 South Lake

15      Drive.

16                  Q.   Okay.     And this is one --

17                  A.   In order to have a homestead, basically,

18      first you have to have a residence.                   So this proves that,

19      that I have a residence.

20                  Q.   And -- and so this document, in your mind,

21      this is important because it shows that you lived at 315

22      South Lake Drive at the time that you contend in this

23      case you established a homestead there?                   That --

24                  A.   Yes.

25                  Q.   Yes, okay.       I do want to come back to this

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1       question of addresses.         You mentioned even with the IRS,

2       if they have something to tell you, you want to get the

3       information.

4                        So when you are in that situation where you

5       want to be sure you get the information, you would give

6       them the address of your -- your principal residence,

7       wouldn't you?

8                   A.   Mostly, unless you are away for three

9       months and change it.        I've had to do that at times.              But

10      generally you would, sure.

11                  Q.   Okay.     And if you were going away and you

12      weren't exactly sure where you'd be, you'd tell the IRS

13      to send you something at home?

14                  A.   Yeah, I think you'd keep your address the

15      same until you noticed it again.              And then you -- like

16      when I move, sometimes for six months things are going to

17      my prior address.        So yeah, when you catch up with it,

18      you change your address.          The IRS would be one of those.

19                  Q.   But if you were in a situation where you

20      weren't catching up with a change but starting a new

21      relationship, for example, if you retained a new attorney

22      or if you executed a new legal document and you needed to

23      be sure that you had received legal notice as an address,

24      you would use your current principal address, correct?

25                  A.   That's too hypothetical for me to answer.

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1       I don't know that I would or I wouldn't.

2                   Q.    Is there a reason you would use a different

3       address?

4                   A.    No, there might be a reason you don't

5       change an address for a while.              You just don't get around

6       to it.      I mean it's very, very typical.               It's happened to

7       me every time I've moved, even when I've moved offices.

8       I was getting addressed to my prior law office a year

9       after I left it.

10                  Q.    Okay.     But if you were entering a new

11      relationship with a client after you had moved, would you

12      give them your old office address?

13                  A.    No.     Unless I did it as a mistake.

14                  Q.    Okay.     But it -- okay.            If you wanted to be

15      sure that a new client could contact you, you would give

16      them your --

17                  A.    Well, once I was established at a new

18      place, I would give the new address, although it is not

19      uncommon to sometimes use the old address because you

20      forget.      Like people who write down -- like people who

21      write down -- who will be writing down 2025 for the

22      entire month of January coming up.                They even -- I think

23      banks even make accommodations for that.

24                  Q.    Okay.

25                  A.    I've done that.

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1                    Q.    Okay.   But when you are established at the

2       new place --

3                    A.    You generally -- you generally give the new

4       address unless -- unless habit -- habit gets in the way.

5                    Q.    Unless you make a mistake, in other words?

6                    A.    Yeah, yeah.

7                    Q.    All right.     Well, having flipped through

8       your tax return, one thing that jumps out is that it's

9       quite long.       So you've been -- you've had a lot of

10      business experience.        You've been in public life a long

11      time.       You -- and you seem to have a pretty complicated

12      tax situation.

13                         You must be a pretty meticulous tax filer.

14      Would you agree with that?

15                         MR. CAMMARATA:       Objection.

16                         THE WITNESS:      I think I have a good

17                   accountant.

18      BY MR. NATHAN:

19                   Q.    Okay.

20                   A.    I don't think I'm a particularly good

21      meticulous.       I'm more of a generalist than I am a

22      particularist.        And I think my accountant -- and Joe is

23      responsible for that.

24                   Q.    With your accountant's help, you try to get

25      it right?

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1                   A.    Of course I do.

2                   Q.    Okay.    And you report your income

3       accurately?

4                   A.    Sure.    I give him -- I give them

5       everything -- that's why I take my income through the

6       corporation so that I don't lose track of it.

7                   Q.    Okay.    And you would report any deductions

8       accurately?

9                         MR. CAMMARATA:        Objection.

10                        THE WITNESS:       Sure, yeah.

11      BY MR. NATHAN:

12                  Q.    And you'd report gifts accurately?

13                  A.    Pardon me?

14                  Q.    You would report gifts accurately?

15                        MR. CAMMARATA:        Objection.

16                        THE WITNESS:       Gifts.      The person that gives

17                  you the gift has to report it.

18      BY MR. NATHAN:

19                  Q.    Right.    That's the type -- if you gave any

20      gifts, you'd report that accurately?

21                  A.    Sure.    I've been filing a gift tax return

22      for some time because of my daughter.

23                  Q.    Okay.    And you are careful to make sure

24      that your gift tax return is accurate?

25                        MR. CAMMARATA:        Objection.

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1                         THE WITNESS:        I am.      I go over -- I give my

2                   accountant the records and then he determines

3                   what's a gift -- there are limits and he

4                   determines what I have to report each year.

5       BY MR. NATHAN:

6                   Q.    Okay.     Okay.     I'd like to now move to the

7       next exhibit which doesn't start for a few pages.                       But it

8       starts on -- well, actually, let me ask you one more

9       question about the tax return.

10                        You mentioned you file a gift tax return

11      because of your daughter.           Can you explain that?

12                  A.    Yes, for a period of time I was helping to

13      supplement her income, so it exceeded the limit.                    I

14      forgot what the limit is.           And therefore, for maybe -- I

15      can't remember the number of years, I would file a gift

16      tax return.

17                  Q.    But you would keep track of the gifts and

18      pass that information to your accountant?

19                  A.    Basically I'd give them my -- I do

20      everything through a checking account, so I give them my

21      checking account.

22                  Q.    Okay.     All right.        I'd like to move now to

23      the exhibit that begins on page 53 of the defendant's

24      trial exhibit.        This is the calendar exhibit.

25                  A.    Uh-huh.

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1                   Q.      All right.     And this is a calendar that

2       shows the months February through August 2024.

3       Specifically it gives information about your physical

4       location for the period of February 7th through the --

5       through August 8th of 2024.             Is that your understanding?

6                   A.      Yes.

7                   Q.      Okay.   And who prepared this document?

8                   A.      Dr. Maria Ryan prepared this and probably

9       with help from Ted to try to recreate -- as I said, I

10      don't keep -- I don't keep a consistent calendar.                    So

11      you'd have to go get this from different places.                    So this

12      was constructed from other records, might even be plane

13      tickets or -- they -- she mainly constructed this.                    You'd

14      have to ask her -- and she got help, including from me,

15      she'd ask me.        Because I remember like I had a very good

16      recollection of the summer, where I was, but not a very

17      good recollection of February.              I'd have to rely on this

18      for that.        Some of it I can tell you of my own

19      recollection.        Some I can't.

20                  Q.      Okay.   Well, looking at this calendar, it

21      looks like you spent quite a lot of time in New

22      Hampshire -- strike that.

23                          So this calendar by itself represents

24      information that Dr. Ryan and Ted Goodman reconstructed

25      from other records that indicated where you were; is that

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1       accurate?

2                   A.    Yes.

3                   Q.    Okay.     So to really be sure that this

4       calendar was accurate, we would need to compare to the

5       underlying records; isn't that right?

6                   A.    Uh-huh, yeah.

7                   Q.    Okay.

8                   A.    But I mean looking at it, it -- there is

9       nothing about it that seems terribly wrong.

10                  Q.    Okay.     And looking at it, I see that you

11      did spend quite a lot of time in New Hampshire over the

12      summer, beginning on June 18th, and then aside from some

13      trips to other locations through August 8th at least,

14      that's when the calendar cuts off.

15                        What were you doing in New Hampshire over

16      the summer?

17                        MR. CAMMARATA:         Objection.

18                        THE WITNESS:        I was enjoying the cooler

19                  weather and doing my show from there.               Of course I

20                  have -- and I was also traveling quite a bit.                 It

21                  seems to me like I'm traveling, starting in

22                  June 7th.     I went to Michigan.

23      BY MR. NATHAN:

24                  Q.    Well, it looks like you took a few trips

25      leaving from New Hampshire and then returning to New

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1       Hampshire over the course of the summer?

2                   A.    Right, I rented a two -- a small little

3       cottage for two months.

4                   Q.    You rented a small cottage --

5                   A.    But I didn't use it -- I didn't use it for

6       the entire two months.        I used it for part of it.

7                   Q.    Okay.   You rented a small cottage in New

8       Hampshire -- excuse me, you rented a small cottage in New

9       Hampshire; is that right?

10                  A.    Correct.    I don't seem to -- the only thing

11      that seems a little strange to me is the August date in

12      New Hampshire because I don't think I had it in August.

13                  Q.    Okay.

14                  A.    But then I traveled out of that.

15                  Q.    Let's talk about where you stayed.              When

16      you were in New Hampshire, where did you stay?

17                        MR. CAMMARATA:       Objection.

18                        THE WITNESS:      I stayed at the cottage I

19                  rented.

20      BY MR. NATHAN:

21                  Q.    At the cottage.        What was the address at

22      that cottage?

23                  A.    I don't remember.

24                  Q.    Who did you rent it from?

25                  A.    I rented it from Maria's daughter, Vanessa

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1       Ryan.       It was her -- it was her condo that she was

2       selling and I think I had to be out by August 1st.                   So I

3       rented it for the last two months that she had because it

4       was convenient for setting up a temporary -- a temporary

5       studio.

6                    Q.    A recording studio?

7                    A.    Yeah, amateur -- broadcasting studio.

8                    Q.    Okay, fair enough.

9                    A.    Then when you see those other dates, I

10      would just move it with me, move the studio with me.

11      It's a portable studio.

12                   Q.    Okay.   It's a studio that would allow you

13      to broadcast from wherever you happen to be?

14                   A.    Correct, like some of those days in New

15      Hampshire, we were covering the eclipse, and we were

16      really in northern New Hampshire.               So I wasn't

17      consistently -- I wasn't consistently in that one

18      residence in New Hampshire.

19                         I had forgotten when the eclipse was but in

20      the -- in the middle of these dates in New Hampshire that

21      seem to start on the 18th; is that right, about the 18th?

22                         In the middle of this, I was away from that

23      address covering the eclipse.             Then you see the

24      Republican convention on the 14th through the 20th, that

25      entire week.       And then I was in London and Paris for

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1       almost another week.

2                        And August, I was in -- at the Democratic

3       convention and then Florida.

4                   Q.   While you were in living in New Hampshire

5       at that rented cottage, did you consider yourself a New

6       Hampshire resident?

7                   A.   No.     It was very temporary.             I knew I had

8       it or only two months, and I -- I used it for, looks like

9       about half of the two months.

10                  Q.   Okay.     Do you recall when you began renting

11      the cottage in New Hampshire?

12                  A.   I mean, probably -- I'd have to go by

13      the -- by the -- probably on the 18th.                And I had it

14      until -- I had it until the 1st of August.                   When I came

15      back on the 2nd and 3rd there, I might have stayed in a

16      hotel.

17                  Q.   Okay.     Did you -- did you execute a lease

18      in connection with renting that cottage?

19                  A.   Yeah, a short form lease.

20                  Q.   Okay.     Do you have a copy of that lease?

21                       MR. CAMMARATA:         Objection.

22                       THE WITNESS:        Probably.

23      BY MR. NATHAN:

24                  Q.   But you didn't produce that to us?

25                  A.   Pardon me?

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1                   Q.      But you didn't produce that in response to

2       discovery requests in this litigation?

3                   A.      I wasn't -- I didn't -- I guess I didn't.

4       If it's here, I did.         If it isn't, I didn't.

5                   Q.      Okay.   Do you know one way or the other

6       whether you produced it?

7                   A.      I can't recall what I -- everything I

8       produced.        Only thing I can recall is by looking in here.

9                   Q.      What did you do -- oh.             Well, actually,

10      that's -- that's an interesting point.                   So the documents

11      in this -- in this defendant's trial exhibit, are these

12      all the documents that you produced in this litigation?

13                          MR. CAMMARATA:       Objection.

14                          THE WITNESS:      Unless some were rejected.

15      BY MR. NATHAN:

16                  Q.      You -- you just said that the way you would

17      know whether you produced something --

18                  A.      Yeah, I -- I really should amend that to,

19      could be that somewhere rejected is not relevant or

20      duplicative or --

21                  Q.      Okay.

22                  A.      -- too unclear, I don't --

23                  Q.      Rejected by whom?

24                  A.      As far -- as far -- my -- my lawyer.

25                  Q.      Okay.   So you would send documents to your

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1       lawyer and then your lawyer would decide what to produce?

2                    A.    Yeah, I think they included all of it but I

3       can't -- I can't be -- I can't be absolutely certain of

4       that.       I know I sent them -- they asked me for documents

5       and I sent them or gave them the documents.                  And then

6       this is what emerged, but I can't tell you for sure that

7       every -- that every document I gave them, they included.

8                          They made the decision on relevancy, right,

9       they are going to conduct the trial.                  And they may have

10      gotten some of the documents independent of me, like go

11      to Ted and -- like these pictures.

12                   Q.    Well, we'll get to the pictures in a

13      second.

14                   A.    I didn't take them.

15                   Q.    I'm still interested in the -- in the

16      question --

17                   A.    And this -- and this document, they

18      prepared -- Dr. Maria prepared this for them.                  And I -- I

19      was -- I gave her help on recollection but she prepared

20      this.

21                   Q.    Okay.   While you were living in New

22      Hampshire, at that point, did you consider the Palm Beach

23      condo to be your principal residence?

24                   A.    A hundred percent, yeah.

25                         MR. CAMMARATA:       Objection.

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1       BY MR. NATHAN:

2                   Q.    It was sort of like your home base?

3                   A.    Sure, because it was -- it was definitely

4       not New Hampshire.

5                   Q.    So your plan was to go back to the Palm

6       Beach condo at the end of your time in New Hampshire?

7                         MR. CAMMARATA:        Objection.

8                         THE WITNESS:       Yes, because I live there

9                   permanently.

10      BY MR. NATHAN:

11                  Q.    Okay.    Not to the New York apartment?

12                  A.    Well, I knew I had to go back to clean it

13      up.   But, I mean, my place I was going to go back as a

14      permanent residence was -- was Palm Beach as you can see.

15      I spent much more time in Palm Beach than in New York.

16                  Q.    So in that situation, so to be more

17      concrete and less hypothetical, in that situation, if

18      somebody had an important document that they needed to

19      send you and you wanted to be sure it would get to you,

20      would you have asked them to send it to the New York

21      apartment or the Palm Beach condo?

22                        MR. CAMMARATA:        Objection.

23                        THE WITNESS:       I'd probably -- I probably

24                  would have said, during this period of time, to

25                  send it to Palm Beach but if I had it sent to New

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1                    York, I'd be pretty sure I'd get it too.

2       BY MR. NATHAN:

3                    Q.    Okay.   But your preference for Palm Beach,

4       what's that's based on?

5                    A.    That's sort of hypothetical but I think

6       that's right.       It's hard to know at any given point in

7       time.       But I would think I would say, send it there.

8                    Q.    "There," meaning Palm Beach?

9                    A.    If it related to the New York -- like,

10      paying the utilities or whatever, maybe I'd -- I would

11      have those sent to New York.

12                   Q.    But if it was --

13                   A.    In any event, somebody would pick it up and

14      send it to me wherever I was.             So it was not uncommon,

15      both after I became a permanent residence of Florida and

16      even before, for somebody to pick up my mail in New York

17      and send it to Florida or at times, pick up my mail in

18      Florida and send it to New York.              A friend would do that

19      or the doorman.       I'd leave an envelope for them to do it

20      in.

21                   Q.    Okay.   So you --

22                   A.    That -- that was going on for years.

23                   Q.    You still knew that you would, you would be

24      back in New York and you would be able to get things

25      there?

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1                         MR. CAMMARATA:         Objection.

2                         THE WITNESS:        Did I know I would be back in

3                   New York?

4       BY MR. NATHAN:

5                   Q.    You still -- you still understood that you

6       would be returning to the New York apartment?

7                         MR. CAMMARATA:         Objection.

8                         THE WITNESS:        I expected I'd be returning

9                   there occasionally but -- as a very temporary

10                  resident as opposed to a permanent resident.                 I

11                  still had things there.

12      BY MR. NATHAN:

13                  Q.    Okay.     So the next document I'd like to

14      talk about with you are these photographs.                   And they

15      begin on defendant's trial exhibit page 60.                   They go

16      through -- there is a lot of them.                They go through 92.

17                  A.    These are all 2024?

18                  Q.    These are a series of photographs that you

19      disclosed that you plan to rely on at trial.

20                        What do you plan to say on it -- excuse me,

21      what do you plan to say about these photographs?

22                        MR. CAMMARATA:         Objection.

23                        THE WITNESS:        In case anybody has disputed

24                  that I was in Florida, it shows that I was in

25                  Florida.    And I think if you did an analysis of

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1                   the entire -- like if we brought the calendar up

2                   to date, you would find that I was in Florida way

3                   more than anyplace else.

4       BY MR. NATHAN:

5                   Q.    Did -- how -- how can you --

6                   A.    For 2024.

7                   Q.    How can you tell from these photographs

8       that you were in Florida?

9                   A.    Oh, how can I tell?

10                  Q.    Yeah.

11                  A.    Let's see.       I'd have to -- each one of

12      them, we'd have to do differently.

13                  Q.    Is it -- is it -- in general, is it based

14      on the backgrounds of the photographs?

15                  A.    Yeah, also, I didn't -- this was done by

16      Ted mostly, I'd say, with a little of Maria's help but

17      he -- he -- he would be able to testify, I think, that

18      America's Mayor Live, the 316th edition of it, emanated

19      from Florida.      And that's a picture of it.

20                  Q.    That's the picture of --

21                  A.    And -- and I -- and I can tell you it is

22      because you see the white background there?

23                  Q.    Uh-huh.

24                  A.    That's my -- that's 315 South Lake.

25                  Q.    That -- that -- that white wall with the --

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1                    A.    Yeah, and that's -- and that's the --

2                    Q.    The moldings?

3                    A.    And that's the paint -- the painting that

4       is always behind me if I do it inside.                 When I'm in

5       Florida, I sometimes do the show inside and I sometimes

6       do it on the balcony.

7                    Q.    Okay.

8                    A.    This is a restaurant, I'm familiar with the

9       second one here.       61 is a restaurant that I'm familiar

10      with.       But I think Ted would have to be the one to

11      testify to this.       He's the one who took these pictures.

12                   Q.    I was going to ask.           Who took these

13      pictures?

14                   A.    I would say -- I would say the -- the vast

15      majority were taken by Ted, could be that one or two were

16      taken by Dr. Maria.         It could be that some were taken by

17      Steven Schumacher.         Steven Schumacher occasionally works

18      with us -- well, more than occasionally and he's a --

19      he's an excellent photographer.               He probably took some of

20      these, too.

21                   Q.    Okay.

22                   A.    But Ted would have been the one who

23      assembled these and could give the testimony, based on

24      the records of the broadcast, where I was.

25                   Q.    Okay.    But aside from where you were, you

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1       are not aware of any relevance that these photographs may

2       have to this case?

3                          MR. CAMMARATA:        Objection.

4                          THE WITNESS:       Just that I was in Florida

5                    for -- I was in Florida for all of these days,

6                    showing that I live here.

7       BY MR. NATHAN:

8                    Q.    Okay.    In the second photograph -- in the

9       second photograph, it's dated January 9th, 2024 -- all

10      right, let's move -- let's actually move to, there is a

11      photograph dated March 25th, 2024, I'd like you to look

12      at.     That's page 78.

13                   A.    March 25th?

14                   Q.    Yeah, page 78 of the photographs.

15                   A.    That was outside of a pizza place.               That

16      was at the cigar bar.         Yeah.

17                   Q.    March 25th.      And you see it's -- it's --

18      it's a picture of you sitting at a desk with your -- with

19      your hands folded.         You see -- I -- I -- in that

20      photograph, you are wearing two rings.                 Could you tell me

21      what those rings are?

22                   A.    Sure.    Those -- one is my -- one is my --

23      one is a college ring and the other is a high school

24      ring.       Neither one of them are the Yankee rings.

25                   Q.    Can you tell which is which?

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1                   A.    No, I would have to look.             One is green and

2       the other is purple.

3                   Q.    Is one of them one of the rings that you

4       are wearing today?

5                   A.    Yeah.

6                   Q.    Which is that?

7                   A.    This is college.

8                   Q.    That's the college ring.             So the other ring

9       that's on your right pinky finger in the photograph is a

10      high school ring?

11                  A.    Oh, I'm sorry.         Big mistake.        I can't find

12      my high school ring.         That's my college ring.            I used to

13      wear my high school ring.           I don't know where it is.            The

14      other ring is the ring I turned over to you.                   It's a gold

15      pinky ring.      Well, actually it isn't a pinky ring.                It's

16      a ring that should have gone on here but it didn't fit.

17      So I put it on here.         And you have that.

18                  Q.    All right.       Just to -- let's move to the

19      next exhibit in this big document.

20                  A.    Done with the pictures?

21                  Q.    Beyond the pictures, starts at 93.                These

22      are going to be some of your Citibank account statements?

23                  A.    Uh-huh.

24                  Q.    This document -- these are Citibank

25      statements for the months of March through July of 2024.

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1                   A.       Okay.     Yeah.

2                   Q.       You produced these documents -- you

3       disclosed them as documents that you intend to rely on at

4       trial.      What do you intend to say about these documents

5       at trial?

6                   A.       Well, what I would say about them is it

7       took us a while to make the change with Citibank because

8       it had been that address for 20 years.                    And it also

9       seemed like I could pick up documents in New York, so

10      why -- also my -- a lot of this time my Citibank account

11      was frozen.         There wasn't much I could do with it.                And I

12      didn't.

13                  Q.       So is the reason you didn't change the

14      address on your Citibank --

15                  A.       I didn't think about it.

16                  Q.       And is the reason that you didn't change it

17      because it was frozen?

18                  A.       No, no.     The reason was it was just -- I

19      had been going there forever and it took a while to

20      change a lot of the things that were going there forever.

21                  Q.       Okay.     Why did it take a while?

22                  A.       Because I didn't think about it.

23                  Q.       Okay.

24                  A.       I didn't sit down and change everything all

25      at once.         I don't have the time to do that.               So as

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1       somebody calls something to my attention, I would change

2       the address.         I changed my subscription to Epic Times and

3       somehow I never get one anymore.                  I changed it to 315

4       South Lake Drive.            I used to get it every Wednesday.

5       Since I changed it, they can't seem to find 315 South

6       Lake.

7                   Q.       Okay.     So this is another example of how

8       you would change addresses on documents when they were

9       brought to your attention in cases where you'd been using

10      New York address for a long time.                   But when you started

11      new relationships, you'd use the new address?

12                  A.       Or if it was called to my attention.                 Oh,

13      you'd better change this.

14                  Q.       Okay.     So --

15                  A.       But since I had a very effective long-term

16      service -- service, practice in New York of sending me

17      things from New York, I never really worried.                       Probably

18      if I had actually sold the apartment, I never would have

19      worried.         But I didn't worry that I wouldn't get it.                   My

20      doorman there I know for 25 years.

21                  Q.       Okay.

22                  A.       And also Mike Ragusa would sometimes

23      personally pick up packages for me.                       Sometimes my son.

24      That was a common practice that we had gotten used to.

25                  Q.       So you saw a change in the address on these

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1       types of documents just as --

2                   A.    When it came up.

3                   Q.    -- some paperwork that you could get to but

4       that wasn't actually important to where your homestead

5       was?

6                         MR. CAMMARATA:       Objection.

7                         THE WITNESS:      It was more convenience and

8                   it's being brought up.        Like if I was going to

9                   make a new application, I would certainly put down

10                  315 by now.   Maybe the first couple months I might

11                  occasionally make a mistake.

12      BY MR. NATHAN:

13                  Q.    Okay.   And if you made a mistake, you'd be

14      putting down what address?

15                  A.    I'd probably put down 45 East 66th.              I had

16      done it for 22 years.

17                  Q.    Okay.   But if you weren't putting down 45

18      East 66th, it's because you were thinking about what

19      address to put down?

20                  A.    I might just do it out of habit.

21                  Q.    Do what out of habit?

22                  A.    Just say 45 East 66th.

23                  Q.    Okay.   So it's when the habit was broken --

24      when you were paying close attention, you would have --

25      strike that.

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1                         To the extent that you didn't use the 45

2       East 66th Street address, that's because you were paying

3       attention to where you wanted something to go?

4                         MR. CAMMARATA:         Objection.

5                         THE WITNESS:        I don't know.          I mean, again,

6                   that's hypothetical.

7       BY MR. NATHAN:

8                   Q.    Okay.

9                   A.    When you're -- when your memory or your

10      recollection fails you, you don't know why.

11                  Q.    Okay.     Other than the address on these

12      statements, do they have any other relevance to your

13      claims?

14                  A.    No.

15                  Q.    Okay.     And you only produced the statements

16      from March through July, why is that?

17                  A.    I don't know.

18                  Q.    Are these all of the bank statements, the

19      Citibank statements that you produced?

20                  A.    Are they?      I don't know.

21                  Q.    Okay.     Is there any reason you wouldn't

22      have been able to produce your Citibank statements going

23      back earlier than March 2024?

24                        MR. CAMMARATA:         Objection.

25                        THE WITNESS:        No, not as far as I know.            I

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1                   mean, if I asked for them, I could get them.                    I

2                   don't know why we started the pictures when we did

3                   either.     It could go back years.

4       BY MR. NATHAN:

5                   Q.       Okay.     I want to turn now to the next

6       exhibit.         This is -- starts at page 143?

7                   A.       143.

8                   Q.       This appears to be an invoice from

9       Corporate Transfer & Storage, Inc.?

10                           (Reporter asks for clarification.)

11                           MR. NATHAN:       Corporate Transfer & Storage,

12                  Inc.

13                           THE WITNESS:        143.     Okay, I got it.

14      BY MR. NATHAN:

15                  Q.       I have one more question about the bank

16      statements.         Do you recall if you changed the address on

17      your Citibank account to 315 South Lake Drive?

18                           MR. CAMMARATA:         Objection.

19                           THE WITNESS:        I don't know if I have or

20                  haven't.        I haven't used it in so long, I can't

21                  remember.

22      BY MR. NATHAN:

23                  Q.       Did you personally do it?

24                  A.       No, I wouldn't have personally.               Maria

25      probably would have done it.

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1                   Q.   And how -- okay.         And how would Maria have

2       done it?

3                   A.   Tell them to change it.

4                   Q.   Okay.    And would she have done that

5       because -- would she have done that without you asking?

6                   A.   Might have.

7                   Q.   Okay.    And why would she have done it when

8       she did it?

9                   A.   Because she thought of it.

10                  Q.   Okay.    And so for Maria, is the same thing,

11      that she would only update addresses when she thought of

12      it?

13                  A.   You'd have to ask her that.               I would think

14      so, yes.

15                  Q.   Okay.    Okay.     Let's look at the Corporate

16      Transfer & Storage invoice.           You disclosed this as a

17      document that you plan to rely on at trial.                  What's the

18      relevance of this document?

19                  A.   I don't know.        You'd have to ask my lawyer.

20                  Q.   Did you have any involvement --

21                  A.   No, I wasn't -- Dr. Ryan must have given

22      this to them.

23                  Q.   Okay.    What do you know about this

24      document?

25                  A.   Not much.

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1                    Q.      Okay.   Did you --

2                    A.      I mean, personally, I don't see how it is

3       relevant.         This is more relevant to what we produced for

4       another part of this case.

5                    Q.      What other part of this case?

6                    A.      What we produced, didn't produce or -- but

7       it doesn't seem like it's relevant to this.                      You have

8       to -- I'm not the lawyer, remember.

9                    Q.      Do you know anything about --

10                   A.      I'm not representing myself.

11                   Q.      Do you know anything about this document?

12                           MR. CAMMARATA:       Objection.

13                           THE WITNESS:      I'm not sure if I've ever

14                   seen the document.        I don't think I have.              When I

15                   look at it, I kind of know what -- this is the

16                   stuff that was moved out of my apartment.

17      BY MR. NATHAN:

18                   Q.      When you say "the stuff," what do you mean

19      by the stuff?

20                   A.      Well, whatever is indicated here.                  Some of

21      the -- the first group is in packing numbers I wouldn't

22      know.       But it's self-explanatory, right.                 Papers,

23      shredding machine, master bedroom, headboard, furniture,

24      master bedroom, sofa bed, television.

25                   Q.      Okay.   I just asked you to look back at the

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1       first page of the document.

2                   A.   Oh, the first page of it told me -- other

3       than it took that many trucks to do it, it looks like.

4                   Q.   Okay.    And do you -- does the date

5       October 2024 ring a bell for you?

6                   A.   Not particularly, no.

7                   Q.   Okay.    Do you recall any move out of your

8       New York City apartment in early October 2024?

9                   A.   I recall being told it was happening.                I

10      wasn't there.

11                  Q.   Okay.    Were you involved in planning that

12      move?

13                  A.   Uh-uh, no.

14                  Q.   Okay.    Why would items have been moved out

15      of your apartment without your knowledge?

16                  A.   To put them in storage.

17                  Q.   Well, why would items have been put in

18      storage, moved out of your apartment and put in storage

19      without your knowledge?

20                  A.   Oh, it was with my knowledge and approval.

21      I didn't know exactly when it was going to be done.

22                  Q.   Oh, okay.     Okay.      So what do you know about

23      the move out of your New York apartment?

24                  A.   Again, I really didn't know -- all I knew

25      they were removing things and putting them in storage and

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1       keeping a record of it and -- but -- I mean, the last

2       time I saw the apartment it had everything in it.

3                   Q.    Oh, okay.      And when was that?           When was

4       that?

5                   A.    Gosh, I'd have to go back and look.                The

6       last time I saw it -- wow.            Sometime in September.

7                   Q.    Sometime in September 2024?

8                   A.    I haven't been in -- I haven't been in New

9       York in November.         Haven't been to New York in October.

10      Had to be September.         It had to be right after -- right

11      after that August -- it had to be right after -- if we

12      look at the calendar and then the dates -- the end with

13      New Hampshire, some point in that period of time I went

14      to -- I went to -- I went to Chicago for the democratic

15      convention.      I went somewhere else, Tennessee.               And then

16      I remember going to New York, maybe twice.

17                  Q.    Okay.

18                  A.    I have to remember the second time.                This

19      is -- I'll have to go back and check it for you and amend

20      it, but I would say it would have to have been in -- it

21      would have to have been in September.

22                  Q.    Okay.

23                  A.    I think.

24                  Q.    So between August and October, which I

25      think it's fair to say is around September 2024 is the

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1       last time you were inside the New York City apartment?

2                   A.   Yeah, I'm sure I wasn't inside it last

3       month, being the month of November.                  Almost certain I

4       wasn't inside it in October.           And I would think more the

5       earlier part of September rather than the latter.

6                   Q.   Okay.    And when you were there in

7       September 2024, you said the apartment still had

8       everything in it?

9                   A.   Yeah, mostly --

10                  Q.   In other words, you hadn't really taken --

11                  A.   It didn't -- it didn't --

12                  Q.   -- anything out?

13                  A.   It didn't look much different than it

14      always was.

15                  Q.   Okay.    And then here in early October,

16      there was a move and it looks like the movers spent five

17      days at the apartment moving items out?

18                  A.   This happened -- well, this was definitely

19      after the last time I saw it.

20                  Q.   Okay.    And can you tell me everything that

21      you recall about arranging this move?

22                  A.   Arranged to move it out.

23                  Q.   Okay.

24                  A.   Yeah, this seems like the things that were

25      there the last time I saw them.

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1                    Q.     Okay.    You just -- you testified a moment

2       ago that -- that to figure out the last time you were in

3       the New York apartment, you would have to go back and

4       look.       Look at what?

5                    A.     I guess I'd have to go look at travel

6       records, you know, plane -- plane records that I have or

7       Maria has.        She can probably reconstruct it or Ted.

8                           Ted was with me on that trip, for sure the

9       last time I was there.           So he probably has his records as

10      well.

11                   Q.     Okay.

12                   A.     Maria was not there the last time I was

13      there.       I'm almost certain because I remember calling

14      her.

15                   Q.     Is this October 4th through October 8th

16      move, is this when you moved the bulk of your property

17      out of the New York City apartment?

18                          MR. CAMMARATA:        Objection.

19                          THE WITNESS:       It seems that way.         I mean,

20                   I'm looking at the items, that looks pretty

21                   complete.

22      BY MR. NATHAN:

23                   Q.     But that was your idea, that's what you --

24      that's what you approved, was that it was time to move

25      out of the New York City apartment?

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1                   A.   Yes.

2                   Q.   Is that right?

3                   A.   Yes.

4                   Q.   Okay.

5                        And now, if you just turn to the next page,

6       145, there's another invoice.             This one is dated

7       October 16th, also addressed to Dr. Ryan.

8                   A.   And this is a different date?

9                   Q.   Yeah, the first date is September 19th.

10      This appears to be a move from -- of some items from

11      Skyline Warehouse to the Corporate Transfer & Storage

12      Warehouse.

13                       Does that sound familiar to you?

14                  A.   No.

15                  Q.   Okay.     Are you aware of ever having

16      property stored at a warehouse called the Skyline

17      Warehouse in Oceanside?

18                  A.   No, I -- I -- that one doesn't ring a bell.

19      Ronkonkoma rings a bell because I know Joe who owns --

20      and he -- he was in charge of the move.                Maybe he didn't

21      have enough room and he put for a while at another

22      warehouse and then brought it to his place.                  That's the

23      only thing I can think of.

24                  Q.   Okay.     And then if you turn the page again,

25      there is another invoice.          This one is also dated

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1       October 16th, 2024 --

2                   A.   Doesn't seem -- doesn't seem like a lot.

3                        But okay, go ahead.

4                   Q.   Yes, if you turn the page again, you'll see

5       an invoice for a move that occurred in July 2023.                   This

6       is just some items that appear to have been moved.

7                        Do you -- do you recall anything about this

8       move in July 2023?

9                   A.   What -- what number is it again?

10                  Q.   So this is the invoice -- it's Invoice

11      Number 416643 in the top right-hand corner.

12                  A.   Right.     That looks like October 16th.

13                  Q.   Yeah, the invoice is dated October 16th.

14      And if you look at the description of the -- of the job,

15      the date given is July 6th, 2023, do you see that?

16                  A.   I do.

17                  Q.   Do you recall anything about that move?

18                  A.   No.

19                  Q.   Okay.     Why were these invoices sent to

20      Dr. Ryan?

21                  A.   Because she took care of it.

22                  Q.   Okay.     Did -- was it her responsibility to

23      pay these invoices?

24                  A.   I don't think I had an account to pay them

25      from at that point.

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1                   Q.    Okay.     At the time, you engaged Corporate

2       Transfer & Storage Inc., was it your understanding that

3       Dr. Ryan would be --

4                   A.    No, I think --

5                   Q.    -- paying for these moves?

6                   A.    -- she just took it upon herself to do it.

7       I don't -- I mean, I didn't -- I didn't recall who paid

8       for it.

9                   Q.    All right.       I'd like to just move to the

10      next set of exhibits.         And these are the American Express

11      statements.      They begin on --

12                  A.    I'm sorry, where are they?

13                  Q.    Sure, they begin on the page labeled

14      Defendant's Trial Exhibit 156.

15                  A.    Yeah, I got it.

16                  Q.    Okay.     These are -- I'm sorry, just -- just

17      returning to the invoices for the Corporate Transfer &

18      Storage.

19                  A.    I'm sorry, do you want me to go back?

20                  Q.    Yeah, just one last question.

21                        Other than what we've discussed, is there

22      any other relevance that these documents have --

23                  A.    No.

24                  Q.    -- to your contentions in this case?

25                  A.    No.

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1                   Q.      Okay.   So turning to the American Express

2       statements and these span 156 through 1- --

3                   A.      I do have to amend that by saying, I've got

4       to leave relevance to my lawyers, what's relevant, it's

5       sort of a --

6                   Q.      I'm just asking about --

7                   A.      Yeah, as far as I can tell --

8                   Q.      -- your understanding and your own

9       knowledge.

10                  A.      -- I can't give you another reason for it.

11      Maybe they can.

12                  Q.      Okay.   So the American Express statements

13      that follow and those continue through pages -- through

14      defendant's trial exhibit page 170- --

15                  A.      170?

16                  Q.      Three, 173.

17                          These --

18                  A.      Hold on.

19                  Q.      Sure.

20                  A.      Okay.

21                  Q.      Okay.   These statements are also partially

22      redacted.        But before I ask you about that, what --

23      you -- you disclosed these documents as documents you

24      plan to rely on at trial.

25                          What do you plan to say about these

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1       documents?

2                    A.     I honestly don't know.             I plan to --

3       that Ryan -- maybe -- that Ryan Medrano handles all of

4       this.       That these things didn't come to me.              They went to

5       Ryan.

6                    Q.     Okay.

7                    A.     I -- I don't -- I don't know why we -- oh,

8       I can -- I can see some -- I can see some travel there.

9       Again, you'll have to ask my lawyer why we -- why we

10      included these, what their relevance is.

11                   Q.     Okay.   You submitted these or you -- you

12      served these documents with extensive redactions.                     Why

13      did you redact this material?

14                   A.     Well, I can see why we would do that, that

15      would be -- the amount doesn't matter.                   I think it's the

16      dates that were important and that he was handling it.

17                   Q.     What dates do you mean?

18                   A.     Again, I don't know -- I really -- I -- I

19      don't know why we submitted it.               You'll have to ask them

20      again if they want to reserve the right to use them at

21      trial for some purpose.          I can't think of the purpose

22      right now.        But I don't think the amounts would have

23      anything to do with the purpose.

24                   Q.     Okay.   But sitting here today, other than

25      the fact that this shows that Mr. Medrano was associated

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1       with your Giuliani Partners LLC Amex card and that you

2       did some travel from --

3                   A.     Yeah, I mean, that's only one travel.

4                   Q.     Okay.

5                   A.     Seems to me if you are going to do the

6       travel, you'd submit all of the travel but okay, I

7       don't -- I don't want to argue against the relevance of

8       my own document.

9                   Q.     Do you have -- do you have other documents

10      that would show travel that you engaged in over the

11      course of 2024?

12                  A.     Sure, almost all of it is -- is documented,

13      right, almost all on my credit card.

14                  Q.     Okay.    And if you were to testify about any

15      of the documents we've talked about today, would that be

16      based on your own knowledge or would it be based on what

17      your lawyers tell you is relevant?

18                         MR. CAMMARATA:        Objection.

19                         THE WITNESS:       Well, some -- as you -- as

20                  you can tell, you've gone through them

21                  individually.     Some are my own knowledge, some are

22                  not.   And relevancy, I really think is up to them.

23      BY MR. NATHAN:

24                  Q.     Okay.    So other than the travel that's

25      shown in these Amex statements and the fact that

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1       Mr. Medrano is affiliated with Giuliani Partners in

2       handling this Amex card, is there anything else about

3       them that you consider --

4                   A.   No, I have to assume there is some

5       significance to the three travel records that are entered

6       but I -- I don't know --

7                   Q.   And are you -- are you referring to the

8       three entries for --

9                   A.   On 165.

10                  Q.   And -- and those are the entries for Delta

11      Airlines?

12                  A.   Seems to me those are the only one that

13      carry any substantive information, right?                   I think.     So

14      I'm -- again, I'm counting on their having had a reason

15      for that.

16                  Q.   Okay.

17                  A.   I don't, I don't know what it is.

18                  Q.   These show a flight from Boston Logan to

19      Palm Beach International on June 28th and tickets for

20      you, Maria Ryan and --

21                  A.   Right.

22                  Q.   -- Ted Goodman?

23                  A.   Right.

24                  Q.   Okay.     And does that date have any

25      significance to you?

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1                   A.   As opposed to the other times, no, no, it

2       doesn't, not to me.       But there may be a significance --

3       there may be a significance that I'm not aware of.

4                   Q.   Right, there's --

5                   A.   There's an earlier one too.               There is one

6       here on February 4, very similar, on -- I can't read it,

7       159.    There is a Palm Beach to New York one.

8                   Q.   I think you -- you may be referring to the

9       Delta flight from New York LaGuardia to PBI on --

10                  A.   Yeah.

11                  Q.   -- Sept- -- on February 4th?

12                  A.   Ryan, Goodman and Giuliani.

13                  Q.   Does that date have any significance to

14      you?

15                  A.   Uh-uh, no -- no, sir.

16                  Q.   Okay.    So nothing special about either of

17      those dates or either of those trips that you --

18                  A.   There is nothing about those two dates that

19      is -- that -- that at least right now, I -- I can think

20      of as they are any different than ten other times.

21                  Q.   Okay.    I'd like to now move just to the

22      final exhibits in this document.             They are on pages 174,

23      175 and actually that's it.

24                  A.   Yeah.    This, I can tell you.

25                  Q.   What is this?

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1                   A.   This is -- this is an examp- -- these are

2       just by example.      You asked about my calendar, right?

3                   Q.   Right.

4                   A.   I should have remembered these.              We could

5       have -- this may be all that we had left but this is the

6       way we do my schedule.

7                        So -- but my -- like right now, there are

8       probably four sitting there.           So this would have been --

9       this would have been in March and that would have been

10      sitting next to my -- where I broadcast and -- and

11      that's -- that's the way I'd be notified of what I was

12      going to do.

13                  Q.   Okay.    Sitting next to where you broadcast

14      where?

15                  A.   Either -- well, we used to do this in New

16      York back years ago or a year ago.              And this is what we

17      do in Florida now or wherever I am.

18                  Q.   Can you tell from the photographs where

19      these pictures were taken?

20                  A.   Pardon me?

21                  Q.   Can you tell from the photographs where

22      these pictures were taken?

23                  A.   These are the ones that were hanging in --

24      I can tell from the moulding that these are the ones that

25      were hanging in Florida, in 315.

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1                   Q.   Okay.

2                   A.   But I mean, we could have -- but, see, but

3       they are probably gone.        The ones in -- we could go back

4       to 2022 and there would have been a bunch of them sitting

5       in New York and Florida.         But they've been ripped up.

6                   Q.   Okay.    So these documents are examples of

7       how you would keep track of your upcoming appearances; is

8       that right?

9                   A.   Yes, there have been a lot of questions

10      about my calendar and I think Dr. Ryan and Ted included

11      this to try to show how my calendar works and how we all

12      keep informed of it.

13                  Q.   Okay.    And --

14                  A.   This is a recent one, just -- just a couple

15      weeks ago on the last one.

16                  Q.   The last one --

17                  A.   December 7th.

18                  Q.   Oh, that refers to 12/7?

19                  A.   That I was going to Tulsa and returning on

20      Sunday, just one day.       That was to give a speech.

21                  Q.   Okay.    So these are just examples of many

22      more documents like this one --

23                  A.   Some of which are not in existence anymore.

24                  Q.   Okay.    But some of which are?

25                  A.   Some of which are.

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1                   Q.      Okay.   And who keeps track of those?

2                   A.      I keep track of them until they are not

3       relevant anymore and then I throw them away.

4                   Q.      Okay.   You don't save them?

5                   A.      I do not.

6                   Q.      Okay.   And you have not saved them this

7       year?

8                   A.      I never save them.

9                   Q.      Okay.

10                          MR. NATHAN:     Okay.       It's now 2:00 p.m.

11                  We've been back at it for about an hour and a

12                  half.     Can I suggest we take a short break?

13                          THE WITNESS:      Sure, whatever you want.

14                          MR. CAMMARATA:       Yes.

15                          THE VIDEOGRAPHER:         This is the end of Media

16                  3.   The time is 1:58 p.m.           We're going off the

17                  record.

18                          (A recess is taken.)

19                          THE VIDEOGRAPHER:         This is Media Unit

20                  Number 4 in the deposition of Rudolph Giuliani.

21                  The time is 2:16 p.m.          We're back on the record.

22      BY MR. NATHAN:

23                  Q.      Mr. Mayor, during the break did you discuss

24      the substance of your testimony with anyone?

25                  A.      I did not.

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1                         MR. NATHAN:     Okay.      All right.      I'd like to

2                   mark as Exhibit 2, tab number -- I think it's 117.

3                         MR. CAMMARATA:       It's in exhibit -- oh, it's

4                   a separate document?

5                         MR. NATHAN:     Yeah.

6                         (Giuliani Exhibit 2, Interrogatories, was

7       marked for identification.)

8                         MR. CAMMARATA:       Thank you.

9                         THE WITNESS:      Okay.

10      BY MR. NATHAN:

11                  Q.    Okay.   These are your interrogatory

12      responses in this case; is that right?

13                  A.    I see them.     Exhibit 2, right.

14                  Q.    And you answered these interrogatories

15      under oath?

16                  A.    Yes, sir.

17                  Q.    And you answered them truthfully?

18                  A.    Pardon me?

19                  Q.    And you answered them truthfully?

20                  A.    Yes.

21                  Q.    Okay.   The first interrogatory on the first

22      page here asks you to identify the date on which you

23      contend you established upon -- excuse me, the Palm Beach

24      condo as your homestead within the meaning of Article X,

25      Article 10, that is Section 4 of the Florida

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1       Constitution.

2                        And you answered January 1, 2024.               So can

3       you tell me everything that happened -- well, let me

4       start by asking you this.         Is that accurate?

5                   A.   Yes.

6                   Q.   Okay.    So your contention in this case is

7       that as of January 1st -- by January 1, 2024, you had

8       established the Palm Beach condo as your homestead; is

9       that correct?

10                  A.   Yeah, actually that's even more accurate.

11      By January 1st, 2024.

12                  Q.   Okay.

13                  A.   Rather than "on."

14                  Q.   Okay.    So if you had to say the date on

15      which you contend to establish the Palm Beach condo as

16      your homestead, how would you answer that question?

17                  A.   All throughout the second half of 2024 and

18      had made up my mind in the last two weeks of December for

19      sure.

20                  Q.   Okay.    I'm sorry, you said 2024.            Did you

21      mean --

22                  A.   2023.    I meant 2023.

23                  Q.   Okay.    So but here, you were asked the date

24      on which you established it as your homestead.                 And your

25      response was January 1, 2024.            Is there any reason you

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1       wouldn't have been able to answer that interrogatory

2       accurately?

3                   A.    Well, that -- I mean, that is when I said I

4       might as well get started on the first of the year.                    I

5       mean, that's what I said in my mind.                 I decided I was

6       going to do it probably 90 percent in the middle of the

7       year and 95 percent on December 20th and 98 percent, and

8       then I said, well, I'll make it January 1st.

9                   Q.    Okay.   And January 1st is when you made it

10      a hundred percent?

11                  A.    Yes, I mean that would be the accurate --

12      that would be the technically accurate answer and the

13      other would explain the process.

14                  Q.    Okay.   Well, can you explain the process to

15      me?     I'd just like to understand, using that date as a

16      reference point, what's everything that happened to make

17      the Palm Beach condo your homestead as of January 1,

18      2024?

19                        MR. CAMMARATA:       Objection.

20                        THE WITNESS:      Well, I can summarize it by

21                  saying that for a very, very long time, I had --

22                  meaning for three or four years, my intent was to

23                  eventually make Florida my permanent home.              And --

24                  and then, and I decided that as of the two, I

25                  would rather live in Florida rather than New York.

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1                   This is before -- way before I put it up for sale.

2                         And I thought about putting it up for sale

3                   earlier a couple of times, and I looked -- that

4                   would be sort of -- I could probably recreate that

5                   by looking back at when I looked at homes both in

6                   Florida and in New Hampshire, and at that point, I

7                   was going to try to sell the apartment in New York

8                   and use it to either buy a home in Florida or keep

9                   the condo in Florida as my permanent residence and

10                  get a home in New Hampshire because I felt like I

11                  needed more room than just a condo because I

12                  had -- I had a home in south -- in South Hampton.

13                        But I didn't want to give up the condo

14                  because I loved living there.            I don't think I'm

15                  ever going to find a better place to live.              So I

16                  went through this for quite some time, discussing

17                  it with people and thinking about it mostly.               When

18                  it was in late '22 or early '23 that I finally

19                  made the decision to put it up for sale.

20                        It took about three months to find the

21                  right broker, maybe less.          I knew -- I knew once I

22                  sold it, that immediately Florida would be my

23                  permanent residence because it would be my only

24                  residence.   And that's when I decided I was going

25                  to make it my permanent residence.

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1                         It just took me a while to put it all

2                   together.     Like you have to understand, this is

3                   not an excuse, just a reality.             This is all during

4                   a period of time in which I'm being pulled in 45

5                   different directions.          So I might say to myself,

6                   Florida is going to be my residence and I'm going

7                   to go effectuate that and then I have a three-day

8                   deposition or a four-day trial or -- so it's hard

9                   to stick on one thing.

10                        But what I -- what I -- once I put it up

11                  for sale, I made a decision that Florida would be

12                  my permanent residence.           I can't tell you exactly

13                  when, other than saying to myself, well, I'll

14                  effectuate that as of January 1st.

15      BY MR. NATHAN:

16                  Q.    Okay.     And how did you effectuate it as of

17      January 1st?

18                  A.    I said to myself, this is it.               And then I

19      asked -- I asked at some point, I don't know exactly

20      when, I asked Gary how would I -- what would I have to

21      do?   In addition to that, stating my intention, what else

22      do you have to do?         And that -- that's -- I kind of knew

23      I had to get a driver's license.

24                        So I started, as I said, studying for it in

25      2023, made two appointments, thinking I have to go take a

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1       test.       I imagine -- I think I had to cancel both.               One of

2       them was when I had a trial going on in Washington in

3       this case.         So then it got -- it got put off for a couple

4       months.       But I probably made that appointment in

5       February.         Might have made that in December because they

6       schedule them out for about two months in advance.                    By

7       the time I made the appointment, I mean, that -- I

8       actually thought that would be enough to make it clear

9       that this was my -- my decision.               When I thought about

10      voting, I really -- I really had decided, even

11      independent of that, that I wanted to vote in Florida.                         I

12      found that out in '23.

13                           I also found out, I think, I didn't have to

14      be a -- your domicile and your voting residence, if you

15      wanted it to be different.            But I didn't think that was

16      right.       So I waited until -- I waited until I got a

17      driver's license and did whatever I had to do to make

18      sure I was a domicile in order to register to vote.                      So

19      that's the -- that's the process.

20                   Q.      That's the process.

21                   A.      I decided it in -- over the course of two

22      years, it came to fruition in my own mind.                   I told my

23      coworkers we were going to -- over the course of '24, we

24      were going to eventually be totally in Florida and

25      probably even before we sold the apartment.                   And then

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1       went ahead and effectuated.

2                   Q.    Okay.   So you said -- you testified that

3       you effectuated it as of January 1, 2024.                  So is it fair

4       to say that the steps you took after January 1st, getting

5       a driver's license, registering to vote, those were about

6       making clear something that had already happened, which

7       is that you had established your homestead at the Palm

8       Beach condo?

9                   A.    Yeah, I had made a permanent decision

10      before that.      I think one of the documents reflected

11      that, I'm not sure, that the decision had been made

12      earlier.

13                  Q.    Okay.   So as of January 1, 2024, your

14      testimony is that you satisfied all of the requirements

15      for the condo to be protected as your homestead under

16      Florida law?

17                        MR. CAMMARATA:       Objection.

18                        THE WITNESS:      I think I met all the

19                  criteria, yeah.

20      BY MR. NATHAN:

21                  Q.    As of January 1, 2024?

22                  A.    Well, I was -- I was told that you had a

23      certain period of time to do it, to do the concrete

24      things that had to be done.

25                  Q.    Okay.   But the -- the change that happened

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1       on January 1, 2024, that was effective on January 1,

2       2024?

3                    A.    Correct.     And then you have a certain

4       amount of time in which to register and -- for the

5       homestead.

6                    Q.    But there is nothing else that you had to

7       do to establish the homestead protection after January 1,

8       2024.       All of that had been done?

9                          MR. CAMMARATA:        Objection.

10                         THE WITNESS:       No, no.          All of that -- some

11                   of that had to be done after and it all kind of

12                   placed that.     At least that's what I recall.

13      BY MR. NATHAN:

14                   Q.    But you told me that the decision was made

15      to effectuate the change as of January 1, 2024, you

16      decided in your mind that's when would you effectuate

17      this change you've been planning for a long time?

18                   A.    Yes, and I told my -- I told my -- my

19      coworkers.

20                   Q.    Okay.    And the change you are referring to

21      is, is that you made a decision in your own mind that the

22      Florida -- the Palm Beach condo would be your permanent

23      residence?

24                   A.    Correct.

25                   Q.    Okay.    And is -- is -- is the intention in

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1       your own mind enough to establish the Palm Beach condo as

2       your homestead?

3                         MR. CAMMARATA:       Objection.

4                         THE WITNESS:      As long as I'm going to take

5                   the steps that have to be taken.

6       BY MR. NATHAN:

7                   Q.    Okay.   So when you answered this --

8                   A.    And I decided I would take the steps that

9       would be taken.

10                  Q.    You -- you decided you'd take them --

11                  A.    Before January 1st but definitely on

12      January 1st.

13                  Q.    Okay.

14                  A.    Which is why, when I filled it out, I made

15      it January 1st.

16                  Q.    Because that's the date when --

17                  A.    When I decided.

18                  Q.    -- that you had established the Palm Beach

19      condo was your homestead?

20                  A.    Correct.

21                  Q.    Okay.

22                  A.    I think there is a difference between

23      deciding and then proving it.            That's always true in

24      domicil- -- in domiciliary law.

25                  Q.    But the important moment, legally speaking,

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1       is when you decided?

2                         MR. CAMMARATA:       Objection.

3                         THE WITNESS:      That's the way it seems to

4                   me, given the fact you have a certain amount of

5                   time to effectuate it.

6       BY MR. NATHAN:

7                   Q.    I think we're using the word effectuate a

8       bunch of different ways.         Because you started by saying

9       that January 1st was the date that you effectuated --

10                  A.    Yes.

11                  Q.    -- the change --

12                  A.    A number of times.

13                  Q.    Okay.   I just want to be clear, that's the

14      date on which you are saying you effectuated the change

15      from the New York apartment being your homestead to the

16      Palm Beach condo?

17                        MR. CAMMARATA:       Objection.

18                        THE WITNESS:      That's the date at which I

19                  established it.    I think "effectuate" is a word

20                  you're adding.    That's the -- that's the date I

21                  established the condo as my homestead.             And then I

22                  went ahead and took the steps that would make my

23                  decision, my individual decision, consistent with

24                  the rules in Florida.        Which I did and they

25                  granted it.   I don't know, I don't know what else

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1                   I can do.

2       BY MR. NATHAN:

3                   Q.    Okay.     So I'll just -- I'm going to read

4       back some testimony just so that the record is clear.

5                         You -- you said, You know, this was all

6       during a period of time in which you were being pulled in

7       45 different directions, "so I might say to myself,

8       Florida is going to be my residence, I'm going to go

9       effectuate that and then you have a three-day deposition

10      or a four-day trial.         So it is hard to stick on one

11      thing.

12                        But once I put it up for sale -- and I

13      assume you are referring there to the New York

14      apartment -- I made a decision that Florida would be my

15      permanent residence.         I can't tell you exactly when other

16      than saying to myself, 'Well, I'll effectuate that as of

17      January 1st.'"

18                        So that's when you used the word

19      effectuate.      So that's why I asked, "Well, how did you

20      effectuate it as of January 1st," and you said, "I said

21      to myself, this is it."

22                  A.    Correct.

23                  Q.    And then afterwards you proceeded to engage

24      in the steps that we've been discussing, your driver's

25      license, your voter registration and so forth.

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1                   A.      All of which contemplate establishing an

2       earlier date as the date on which you became a

3       domiciliary and established a homestead.

4                   Q.      Okay.   But the decision --

5                   A.      And they -- and then they get to make the

6       decision -- you get to make the decision subjectively and

7       they get to make the decision as a matter of law which

8       they did.        So I don't even understand what we're arguing

9       about.

10                  Q.      Oh, I -- I was --

11                  A.      The county -- the county --

12                  Q.      I don't think we're arguing.

13                  A.      -- of Palm Beach, the County of Palm

14      Beach --

15                  Q.      Excuse me, Mr. Mayor, I'm sorry.

16                  A.      I'm sorry, I'm going to answer the --

17                          (Simultaneously speaking.)

18      BY MR. NATHAN:

19                  Q.      I --

20                  A.      You can't ask me a --

21                  Q.      This is my --

22                  A.      -- question --

23                  Q.      This is my --

24                          THE REPORTER:       Okay, one at a time.

25      BY MR. NATHAN:

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1                   Q.    This is my deposition.

2                   A.    Yeah, and it's my answer so...

3                   Q.    Well, there was no question pending.

4                   A.    Yes, there was.

5                         MR. CAMMARATA:         Hold on.         Let him finish

6                   his answer --

7                         (Simultaneously speaking.)

8                         THE WITNESS:        -- an answer to my question.

9                         MR. CAMMARATA:         There was a pending

10                  question.

11                        THE WITNESS:        And you very rudely

12                  interrupted me.      I -- I went ahead and followed,

13                  to a T, the rules in Florida.                They had all the

14                  facts, including the fact that I was making the

15                  application on the date I was making it based on a

16                  January 1st decision.          And they granted it.          I

17                  didn't do it.     They did.

18      BY MR. NATHAN:

19                  Q.    Okay.

20                  A.    So I don't know what you are fighting with.

21                  Q.    Well, as I -- I was about to explain, I

22      don't think we're -- we're arguing.                    I just want to make

23      sure the record --

24                  A.    Well, I consider this to be entirely

25      frivolous and a complete waste of time since it was

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1       decided.         You don't get to decide it.               I don't get to

2       decide.      Even Judge Liman doesn't get to decide it.

3                            The county of -- the County of Palm Beach

4       gets to decide it.           My goodness, if anything, it's a

5       matter of protection under the Ninth and Tenth Amendment,

6       it's deciding on, what's your homestead.

7                   Q.       So --

8                   A.       And the rules under which you establish it.

9                            So can we move on to another subject?                  I

10      mean, we've kind of exhausted this.                      Pretty clear it's my

11      homestead.

12                  Q.       Okay.    You've been very emphatic that you

13      made the decision to change your homestead as of

14      January 1st, 2024.

15                           So in your mind, is it your intention of

16      where you are going to maintain a homestead, that's the

17      key question, as to where your homestead is?

18                           MR. CAMMARATA:        Objection.

19      BY MR. NATHAN:

20                  Q.       You can answer.

21                  A.       Of course.      I mean, it can't be a homestead

22      unless you decide it is.

23                  Q.       Okay.    So it's really, it's up to you where

24      your homestead is?

25                           MR. CAMMARATA:        Objection.

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1                         THE WITNESS:        Of course.       And then you have

2                   to do whatever that particular state says you

3                   should do.

4       BY MR. NATHAN:

5                   Q.    Okay.

6                   A.    Which I did.

7                   Q.    So -- so --

8                   A.    And the state granted it.

9                   Q.    -- if --

10                  A.    So what do you want me to do?

11                  Q.    If there was something -- if there was

12      something that was required to establish the Palm Beach

13      condo as your homestead under Florida law, under the

14      Florida Constitution, you did that as of January 1st,

15      2024?

16                  A.    No, the law doesn't say I have to do that.

17                  Q.    Well, I'm -- I'm just reading what you said

18      in your interrogatory here.

19                  A.    That isn't what I said.

20                  Q.    You said -- I was -- I was reading from

21      your interrogatory and you were asked to identify the

22      date on which you contend you established the Palm Beach

23      condo --

24                  A.    Well --

25                  Q.    -- as your homestead within the meaning of

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1       the Florida Constitution.

2                   A.    Correct.

3                   Q.    Do you -- do you disagree with that

4       characterization of --

5                   A.    Well, that would contemplate the law --

6       contemplate when it says you have a certain amount of

7       time in which to complete it, that you made decision on a

8       prior date.

9                   Q.    What's your understanding of what needs to

10      be done in order to complete it?

11                        MR. CAMMARATA:       Objection.

12                        THE WITNESS:      I've forgotten exactly the

13                  steps you have to take but I took them.              I'd

14                  have -- have to go back to the documents but it

15                  says that you can -- you have a certain amount of

16                  time to do several things in order to establish a

17                  homestead as of a prior date.

18      BY MR. NATHAN:

19                  Q.    Okay.   And when you say "it says," what do

20      you mean?

21                  A.    The law -- the law.

22                  Q.    The law?    What law?

23                  A.    The law of Florida.

24                  Q.    What Florida law in particular are you

25      thinking of?

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1                         MR. CAMMARATA:        Objection.

2                         THE WITNESS:       The -- the ones that --

3                         MR. NATHAN:      Will you let me finish my

4                   question before you say "objection"?

5                         THE WITNESS:       The ones that are

6                   contained --

7                         (Simultaneously speaking.)

8                         MR. CAMMARATA:        You finished it.

9                         THE WITNESS:       The criteria that's contained

10                  in the questionnaire that's submitted by the

11                  taxing authority who decides this.

12      BY MR. NATHAN:

13                  Q.    So is it your understanding that the

14      homestead tax application that you submitted to the

15      Florida county tax authorities establishes or that that

16      taxing authority establishes the homestead status of your

17      condo under the Florida Constitution?

18                        MR. CAMMARATA:        Objection.

19                        THE WITNESS:       It seems -- it seemed --

20                  certainly by then, yes.

21      BY MR. NATHAN:

22                  Q.    The question was:          Is it your understanding

23      that the Florida taxing authority that you submitted that

24      homestead tax application -- exemption application to,

25      that authority decides whether or not your Palm Beach

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1       condo is protected as a homestead under the Florida

2       Constitution?

3                           MR. CAMMARATA:       Objection.

4                           THE WITNESS:      All I can do is read what it

5                   says.    It says --

6       BY MR. NATHAN:

7                   Q.      I just asked, what's your understanding?

8                   A.      That's my understanding.           If they gave me

9       the homestead exemption, that they must have -- they had

10      to have decided it.

11                  Q.      Is it your understanding that the homestead

12      tax exemption is the same thing as the constitutional

13      homestead tax exemption in Florida?

14                          MR. CAMMARATA:       Objection.

15      BY MR. NATHAN:

16                  Q.      It's a yes-or-no question.

17                  A.      I would think it is, yes.           That would have

18      to be, or very, very strong evidence of it.

19                  Q.      What's that based on?

20                          MR. CAMMARATA:       Objection.

21                          THE WITNESS:      It's based on whatever I read

22                  back then and just logical deduction.

23      BY MR. NATHAN:

24                  Q.      Okay.   And so --

25                  A.      I don't think they are going to give you

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1       money unless you have a homestead.

2                   Q.    Okay.     So your understanding then is that

3       based on filling out that application and providing the

4       information you provided to the Florida taxing

5       authorities or the Palm Beach County tax authority, that

6       was also sufficient to prove that you were entitled to

7       the constitutional homestead protection at the Palm Beach

8       condo?

9                         MR. CAMMARATA:         Objection.

10                        THE WITNESS:        I believe so.          There may have

11                  been another step that had to be taken that was

12                  also granted but you'd have to ask my lawyer that.

13                  Because we submitted several documents and they

14                  granted all of them.

15      BY MR. NATHAN:

16                  Q.    Okay.     What other documents were granted

17      other than the tax exemption application?

18                  A.    Didn't I do an affidavit?

19                  Q.    What about that document was granted?

20                  A.    Well, maybe that's -- maybe that's the only

21      grant.      I'm not sure.

22                  Q.    You just testified that there is --

23                  A.    I know that they -- that the county -- the

24      county taxing authority granted a homestead exemption.

25                  Q.    You've said that a number of times.

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1                   A.    To me -- Yeah, I know I've said it a number

2       of times.

3                   Q.    I'm asking -- you also just testified --

4                   A.    That ends the case.

5                   Q.    No, I have a question.

6                         MR. CAMMARATA:       Objection.

7                         (Simultaneously speaking.)

8                         THE WITNESS:      Then you are wasting time.

9                         THE REPORTER:       Okay.

10      BY MR. NATHAN:

11                  Q.    And I'm trying to ask it and you're not

12      letting me finish.

13                        THE REPORTER:       Okay.

14                        THE WITNESS:      And you are not letting me

15                  answer.

16      BY MR. NATHAN:

17                  Q.    Okay.   Okay.     You just testified, "We

18      submitted several documents and they granted all of

19      them."

20                        I asked, "What other documents were granted

21      other than the tax exemption application?"

22                        You asked -- you mentioned an affidavit.

23                        I asked, "Was that granted?"

24                        You said, "Maybe that's the only grant.

25      I'm not sure."

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1                          Were there any other documents you

2       submitted that were granted?

3                   A.     The only other document is the one that you

4       showed me.       The only other document I can recall is the

5       one that you showed me.

6                   Q.     Okay.   So is it your testimony then that --

7                   A.     Could I please find it?            Here is one

8       application.       That's -- do we have this -- it's all

9       Exhibit 1.       So it is on page 013.          That's one

10      application.

11                  Q.     And that's the homestead tax exemption

12      application?

13                  A.     That's the one that I recall, yep.               Then

14      there is -- then there's the -- then there's the -- then

15      there's the assessment.          There is the application for

16      homestead-related tax exemptions.

17                  Q.     That's the document you were just

18      mentioning.

19                  A.     Yep, that's 013.        And then there is the

20      statement that homestead -- additional homestead is

21      granted on -- it doesn't seem to have a number.

22                  Q.     It's in the lower right-hand corner.

23                  A.     019.

24                  Q.     Those are the documents showing that --

25                  A.     And then --

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1                   Q.      -- the tax authority --

2                   A.      The only one that confuses me a bit,

3       because I don't remember this exactly, is the declaration

4       of domicile which is also signed by me and notarized, and

5       that's on July 13th.

6                   Q.      Right.    I remember --

7                   A.      Those are the documents I'm talking about.

8                   Q.      Okay.    Thank you.        I really appreciate that

9       clarification.

10                          So those are the steps you are referring to

11      when you say that after January 1, 2024, you had to take

12      additional steps under the law; is that right?

13                          MR. CAMMARATA:        Objection.

14                          THE WITNESS:       Yes.

15      BY MR. NATHAN:

16                  Q.      Did you take any other steps?

17                  A.      I don't recall.         Whatever steps I had to

18      take, I took.        The only one I actually recall -- the

19      declaration of domicile, I don't have an independent

20      recollection of, I'm relying on the document.                    The only

21      thing I recall is answering the questions and getting the

22      response.        But it's possible I took others.              Obviously I

23      did.    I did a declaration of domicile.                I could have done

24      other things too, I don't know.

25                  Q.      But sitting here today, you don't have any

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1       recollection of taking any other steps relating to

2       establishing the Palm Beach condo as your homestead after

3       January 1, 2024?

4                         MR. CAMMARATA:       Objection.

5                         THE WITNESS:      Well, I guess to be all

6                   inclusive I'd have to include registering to vote

7                   and -- and getting my license in Florida.

8       BY MR. NATHAN:

9                   Q.    Okay.   Fair enough.         And I understand

10      that those were among the items that you submitted to the

11      tax authorities when you applied for the homestead tax

12      exemption.

13                  A.    I could have taken other steps beyond that

14      but I don't recall.

15                  Q.    Sitting here today --

16                  A.    No, I can't recall any others.

17                  Q.    You don't recall any others, okay.

18                        I'm just trying to understand from your

19      response to this interrogatory how it is that you contend

20      you established the Palm Beach condo as of January -- as

21      your homestead as of January 1, 2024, if you think that

22      there was still steps that had to be taken to make that

23      true --

24                        MR. CAMMARATA:       Objection.

25

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1       BY MR. NATHAN:

2                   Q.   -- after that date?

3                   A.   Because when it was explained to me, it was

4       explained to me that you can establish it as your

5       homestead and then you have a certain amount of time

6       after you do to file the appropriate documents.

7                   Q.   Okay.     So -- so if the second step is

8       filing documents, what's the step that took place as of

9       January 1, 2024?

10                  A.   The decision that I was going to do that.

11                  Q.   Okay.

12                  A.   That I was going to -- that this was going

13      to be my -- both domiciliary and homestead.

14                  Q.   Okay.     And to be clear, I'm just trying to

15      understand the whole story.

16                       So as of January 1, 2024, the decision is

17      made in your mind, and then afterwards you have to file

18      appropriate documents, and that's what you did after

19      January 1, 2024?

20                  A.   Yes.

21                  Q.   Okay.     Okay.     Okay.      And the decision that

22      you made as of January 1st, could you just explain that

23      again to me one more time?

24                  A.   Really?

25                  Q.   What was the decision --

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1                            MR. CAMMARATA:      I'm going to object.         I

2                   mean, we have to get the judge on the phone.

3                            MR. NATHAN:    That's a speaking objection.

4                            MR. CAMMARATA:      We may have to get the

5                   judge.

6                            MR. NATHAN:    That's a speaking objection.

7                   It's not a proper objection.

8                            MR. CAMMARATA:      Well, we may have to get

9                   the judge on the phone.

10                           MR. NATHAN:    Go ahead.

11                           MR. CAMMARATA:      Because this has gone for

12                  40 minutes.

13                           MR. NATHAN:    Joe, I don't want to hear any

14                  more speaking objections.

15                           MR. CAMMARATA:      You're asking the same

16                  question.

17                           (Simultaneously speaking.)

18                           MR. NATHAN:    I don't want to hear any more

19                  speaking objections from you.

20                           MR. CAMMARATA:      Well, I'm going to continue

21                  it to do if you condition to ask the same

22                  question.

23                           MR. NATHAN:    You're telling me you're going

24                  to continue to make improper objections on the

25                  record.

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1                         MR. CAMMARATA:         You've asked the same

2                   question 15 times.

3                         THE WITNESS:        You want me to get -- repeat

4                   the question.

5       BY MR. NATHAN:

6                   Q.    Sure.     Okay.     I'll just -- I'll just --

7       just make sure that we still understand each other.                     I

8       had asked --

9                   A.    Go ahead.

10                  Q.    You made the decision to change your

11      homestead as of January 1, 2024.               So in your mind, is it

12      your intention of where you are going to maintain a

13      homestead, that's the key question as to where your

14      homestead is?

15                        You said, Of course.            I mean, it can't be a

16      homestead unless you decide it is.

17                        And I said, Okay.           So it's really up to you

18      where your homestead is?

19                        You said, Of course.            Then you have to do

20      whatever that particular state says you should do.

21                        So it is on January 1, 2024, that you

22      decided that the Palm Beach condo would be your homestead

23      under Florida law.        That's the decision we're talking

24      about, right?

25                  A.    Correct.

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1                   Q.      Okay.   Thank you.        Okay.

2                           Did anything about the way you used the

3       Palm Beach condo change after January 1, 2024?

4                           MR. CAMMARATA:       Objection.

5                           THE WITNESS:      It changed over a period of

6                   time.    I had more things directed there.              I spent

7                   more time there.       Before I had -- I had gone and

8                   gotten the -- made appointments to get a driver's

9                   license in 2023, which were canceled.               I got the

10                  study material for the driver's license.                I -- let

11                  me see what else.       One of the trips down I got --

12                  I got additional equipment specifically for -- for

13                  there if I was going to broadcast from there on a

14                  much more consistent basis, better equipment.

15                  Probably latter part of '23.               Moved a lot more

16                  clothes in.     Sure, I moved a lot of clothes in in

17                  late -- in late '23, probably by late '23 I

18                  remember making two trips with -- with year-round

19                  clothing which you only need for one month in

20                  Florida.

21      BY MR. NATHAN:

22                  Q.      For which month would you need year-round

23      clothing in Florida?

24                  A.      The only month it would ever get cold.

25      Every once in a while in December it will get cold, you

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1       know, it will get down to 40 or whatever.                    And every once

2       in a while you get one very cold night.                   I like to sit

3       outside and smoke a cigar.            And downstairs, with the

4       people downstairs.

5                   Q.    Okay.     So if I asked you just -- and I'm

6       asking you, if you can just compare the way you used the

7       Florida Palm Beach condo in 2024 to the way you used it

8       in 2023, what changed?

9                         MR. CAMMARATA:         Objection.

10                        THE WITNESS:        The things that I told you as

11                  well as my -- my -- my decision about what it was.

12                  I mean, when I lived in three places, right, you

13                  get to select which one is your permanent

14                  residence.     So in over a period of time starting

15                  in '22, culminating in '23, I decided that Florida

16                  was now going to be my permanent residence, for

17                  all kinds of reasons including the fact that I was

18                  now selling my co-op and I had to decide at some

19                  point when I -- when I -- when I do sell it, where

20                  am I going to live.

21                        There might have been a point in time if I

22                  sold the co-op I would have gotten another place

23                  in New York.     I decided I was not going to get

24                  another place in New York.            So that immediately

25                  sort of knocks New York out.               And now I'm in the

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1                   process of selling it and I say, okay.                 My

2                   permanent residence is going to be Florida.

3                           It's a pretty -- it's a pretty sensible and

4                   obvious decision.         If I'm selling the apartment

5                   and there was no capacity, no desire -- I wasn't

6                   -- you don't see me looking for property in New

7                   York.    When I first put it on the market, we had

8                   an offer that looked like it was going to go

9                   through.    In fact, the agent, every once in a

10                  while, says, You should have taken that.                    Like

11                  water under the bridge, right.               Had I taken it,

12                  I'd had to have another place to live within

13                  60 days.    I wasn't looking for a place to live in

14                  New York.       Pretty hard to move me.

15                          I was looking for a place to live in

16                  Florida.    I was looking for an alternative because

17                  I thought I'd have two residences in New Hampshire

18                  but not New York.         So that's -- I mean, that's how

19                  I made the decision.           It isn't like you make it

20                  all in -- over a two-year period, three-year

21                  period, I'd been making the decision that Florida

22                  would be my permanent residence.

23      BY MR. NATHAN:

24                  Q.      Okay.

25                  A.      And then it finally culminated, I made the

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1       final decision of -- it was almost an obv- -- it almost

2       made itself.      It was an obvious decision.                I'm selling

3       the apartment in New York.            I'm not buying another

4       apartment in New York.          Means I'm going to have to live

5       somewhere right away.

6                         And that's when I started make -- making

7       Florida a -- a mirror image of New York so that I could

8       do everything in Florida that I was doing in New York.

9                   Q.    Okay.     Can you --

10                  A.    And once -- and once it was a mirror image

11      and I could do the same thing, then that made the

12      decision for me.      Seemed like the most convenient date

13      to -- to -- the most convenient date to start all of that

14      would be January 1st.

15                  Q.    Okay.     And --

16                  A.    I could have -- could have picked

17      September, I guess.

18                  Q.    You could pick September of what?

19                  A.    Of '23.

20                  Q.    Okay.     Could you -- meaning that you could

21      have made the decision earlier if you wanted to?

22                        MR. CAMMARATA:         Objection.

23                        THE WITNESS:        Yeah, I could have, might

24                  have -- could have made it the day I put my

25                  apartment up for sale, I guess, right.                But I

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1                   wasn't fully -- as I told you, I was 90 percent

2                   sure and then 95 and then 98.            But I can certainly

3                   say, without any confusion, that by the end of the

4                   year, Florida was my permanent residence which

5                   translates into domicile and homestead.

6                         So now I went about figuring out, how --

7                   well, how do you -- how do you comply with

8                   whatever the rules are in Florida for that?

9       BY MR. NATHAN:

10                  Q.    Okay.   I understand.

11                        Could you just identify for me all the ways

12      you can think of that, the way you used the Palm Beach

13      condo in 2024 changed from the way you used it

14      previously?

15                        MR. CAMMARATA:       Objection.

16                        THE WITNESS:      Well, I didn't -- I mean, it

17                  changed in the ways that I have described to you,

18                  the things that I -- the things that I could do

19                  here that I couldn't do then.            But I could -- I

20                  could have -- I could have made it -- at any time

21                  in which I was living in two or three different

22                  places, you could make any one of them your

23                  domicile or homestead and then go about and take

24                  steps to do it.    I was living -- what steps do you

25                  take other than living there?

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1       BY MR. NATHAN:

2                   Q.    I'm just asking about the way you actually

3       used the condo.

4                         Did you -- did you spend more time at the

5       Palm Beach condo in 2024 than in --

6                   A.    Sure.

7                   Q.    -- previous years?

8                   A.    I think if you compare 2024 to previous

9       years, I probably spent more time there, yes.

10                  Q.    Okay.   And are there any other ways in

11      which you changed the way you actually use the Palm Beach

12      condo in 2024?

13                        MR. CAMMARATA:       Objection.

14                        THE WITNESS:      No, I used it as a residence,

15                  except it became the permanent residence rather

16                  than the second residence.

17      BY MR. NATHAN:

18                  Q.    So was the -- the fact that it became the

19      permanent residence, was that reflected at all in the way

20      that you actually used the condo?

21                        MR. CAMMARATA:       Objection.

22      BY MR. NATHAN:

23                  Q.    Or was it reflected in your -- in --

24      intention that it become your permanent residence?

25                        MR. CAMMARATA:       Objection.

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1                           THE WITNESS:      What -- what changed is I got

2                   a driver's license here.           I registered to vote

3                   here.    Those are the things that are changed -- I

4                   did the same thing here that I did before.                I came

5                   here, ate, slept, broadcast my show, except I did

6                   it more perm- -- more permanently.

7       BY MR. NATHAN:

8                   Q.      Okay.   More -- more permanently because you

9       had gotten a driver's license and registered to vote?

10                  A.      No, no, no.     More permanently because I

11      moved in, instead of portable equipment, I moved in

12      permanent equipment.

13                  Q.      Okay.   And so other than moving permanent

14      equipment in -- into your studio and changing your voter

15      registration and your driver's license, can you think of

16      any other ways that you changed the way you used the Palm

17      Beach condo in 2024?

18                          MR. CAMMARATA:       Objection.

19                          THE WITNESS:      I can't imagine what I --

20                  what I would do.       Slept there two times a night?

21                  I -- I don't know what else I could do.                The only

22                  way you use a residence is you live there.

23      BY MR. NATHAN:

24                  Q.      I'm just talking about changes --

25                  A.      I mean, you're asking -- I guess one

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1       practical change is, I think if I compared the prior

2       years, when we go back and look at 2024, I probably have

3       been there considerably more than any prior year, lived

4       there considerably more than any prior year.

5                         In -- in the years in which I was traveling

6       a lot, it probably would have been -- probably on the

7       road the most.        New York second.        Florida third.

8       Hamptons fourth.        So now the road comes out, mostly,

9       right.      So now we look at this year, it's Florida first,

10      the road second and New York last.               That's --

11                  Q.    Okay.    Where --

12                  A.    That -- that would be how I changed it.

13                  Q.    And where would New Hampshire have been

14      into that?

15                  A.    The road.

16                  Q.    Okay.

17                  A.    Or if you want to say -- I don't have

18      residence in New Hampshire.            When I go there, except for

19      the one time that I rented for two -- for two or three

20      weeks because I wanted a permanent place to do my show

21      because I knew we were going to cover the eclipse, I

22      always rent there.        So I -- I really couldn't make -- I

23      could not make New Hampshire a -- a domicile.                  The

24      critical thing is you have to have a residence for sure.

25                  Q.    Okay.    When you are not renting in New

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1       Hampshire, where do you stay?

2                   A.       Oh, I stay at a hotel.

3                   Q.       Okay.

4                   A.       Two different hotels.

5                   Q.       If we wanted to confirm your statement that

6       you spent more time in Florida this year than in previous

7       years, how would we do that?

8                   A.       I think you can look at the calendar of the

9       whole year.

10                  Q.       We'd have to compare travel records from

11      previous years to records from this year?

12                           MR. CAMMARATA:       Objection.

13                           THE WITNESS:      Yeah, sure.

14      BY MR. NATHAN:

15                  Q.       Okay.

16                  A.       I could tell you it wouldn't be worth it

17      because it's -- I never spent this much time in Florida

18      before, not even close.

19                  Q.       Okay.   Is there anything -- actually, if we

20      go back and look at the calendar that we were discussing

21      earlier, it is part of this big defendant's trial

22      exhibit.         Let me see if I can find it.

23                  A.       Starting at the beginning of it or where?

24                  Q.       Well, if you can look at the month of

25      February.

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1                    A.      Let's go back to February.                I don't have

2       February.         Do I?   Hold on.      Yes, I do.       I'm sorry.

3                    Q.      Calendar starts showing your location on

4       February 7th.         Why is that?

5                    A.      I don't know.

6                    Q.      Okay.    Sitting here today, you don't know

7       why that would be?

8                    A.      I don't know -- as I said, I didn't prepare

9       this.       I mean, maybe -- maybe this is what we have

10      records for.         I don't know.

11                   Q.      Okay.    And it ends on, if you flip to

12      August --

13                   A.      Where did it end?

14                   Q.      Well, let's see, it ends on August 8th,

15      doesn't it?

16                   A.      Yeah, I don't know -- I don't know why it

17      ends on August 8th.

18                   Q.      Okay.    So you don't know why it ends on

19      August 8th either?

20                   A.      I can tell you that I've been here the

21      entire month of October and November with a little

22      exception, three or four days.

23                   Q.      Okay.    And if we wanted to confirm that,

24      how would we be able to do that?

25                   A.      I guess plane tickets, right?

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1                   Q.       You have travel records that would show

2       where you've been?

3                   A.       Most of it would be -- would be plane

4       tickets.         I've never -- I've never driven here.              So there

5       has to -- there have to be plane -- plane tickets.

6       That's how -- that's how they recreated this.

7                   Q.       And is that -- is that a little bit like

8       the plane tickets that were shown in the Amex statements

9       we reviewed that that --

10                           MR. CAMMARATA:       Objection.

11      BY MR. NATHAN:

12                  Q.       -- you decided --

13                  A.       Maybe they were just examples of -- the --

14      the other way to do is my broadcast.

15                  Q.       Okay.

16                  A.       I could look at the broadcast -- Ted --

17      either Maria or Ted could do it.                Maria could do it from

18      plane tickets and Ted could do it from -- from America's

19      Mayor Live --

20                  Q.       Okay.

21                  A.       -- where -- even if I don't announce --

22      sometimes I don't announce where I am for security

23      reasons because we just got a threat but I can tell where

24      I am.

25                  Q.       Okay.   Somebody could help you based on

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1       records that are available to you to figure out where you

2       were?

3                   A.   Yeah, we could 90 percent, we get

4       90 percent -- maybe a hundred.

5                   Q.   Okay.

6                   A.   Like, tonight, I'm going to broadcast from

7       here so you'll see or -- I saw a picture there, a big

8       dark background, a little rail.             That's -- that's --

9       that's Palm Beach.

10                  Q.   Okay.    You said a minute ago that as you

11      were considering or getting closer to making a decision

12      to make Palm Beach County your residence, your permanent

13      residence, your homestead, you sort of turned it into a

14      mirror image of New York?

15                  A.   Well, a mirror, I meant for the purpose

16      of -- not the decor of the apartment but the purpose of

17      broadcasting.

18                  Q.   For the purpose of broadcasting?

19                  A.   So I can do the same thing there as I did

20      in New York.

21                  Q.   You wanted to have a studio -- broadcast

22      studio in Palm Beach?

23                  A.   Yeah, which included having a much more

24      powerful internet service you have to get.                 Had to move

25      in a more powerful computer.           I had a setup.        I had to

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1       set up special connections.            I had done that for radio

2       but I had done it for television.

3                   Q.     Okay.   Did you make any other changes other

4       than broadcast radio?

5                   A.     I probably did.        They would all be under

6       that category.

7                   Q.     Okay.   So you didn't change the doctors you

8       see?

9                   A.     Pardon me?

10                  Q.     You didn't change the doctors you see?

11                         MR. CAMMARATA:       Objection.

12                         THE WITNESS:      Yeah, I did, yeah.

13      BY MR. NATHAN:

14                  Q.     Excuse me?

15                  A.     Yeah, I -- well, I didn't change my

16      doctors, I got new doctors.            My two -- I mean the two

17      doctors I use, I've been using forever.                One -- one --

18      they both took me through prostate cancer and he

19      recommended -- he recommended a doctor down here to take

20      care of me who -- his nephew, Dr. Ellis, and the other

21      is -- well, that's Dr. Kirschenbaum, Alexander

22      Kirschenbaum, and the other is Dr. Fuster, who's older

23      than I am.       And probably -- he's just a remarkable human

24      being.      But he also took me through prostate cancer and

25      also my heart condition, the stents that are put in.

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1                   Q.    And these folks --

2                   A.    So I will go see them even now.               But they

3       have referred me to doctors down here.

4                   Q.    Okay.     Have you seen any doctors that they

5       referred you to down here?

6                   A.    I have.

7                   Q.    Okay.     And when did that start?

8                   A.    Oh, that started sometime ago.               I mean, I

9       -- even before this was a permanent residence, I

10      needed -- you know, I needed to have doctors here.                    I

11      remember going to Good Samaritan Hospital five years ago,

12      six years ago, and established a relationship with a

13      doctor there.

14                        And then -- then I was having a problem

15      with my chest and I called up either -- either

16      Dr. Fuster -- normally, I when want a doctor, I call

17      either Dr. Fuster or Dr. Kirschenbaum.

18                        And Dr. Fuster's secretary recommends

19      doctors, Marta.       So she recommended a doctor here and I

20      went and had chest X-rays and he found a problem with my

21      chest.      And he prescribed the medicine for it.               And then

22      I wanted one overall doctor here and Dr. Kirschenbaum

23      recommended Dr. Ellis, who Maria and I both have used,

24      even Ted has used.

25                        I also belong to clubs down here.                Well, I

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1       did when I could afford it.           There are only two that will

2       keep me.

3                   Q.   Have you made any other changes just to the

4       way your life works -- strike that.

5                        Have you moved any furniture down here?

6                   A.   I did that -- I did that in '23 -- I did

7       that -- no, I don't think I moved furniture down here.

8       How would I?     I don't drive down here.            I haven't had a

9       moving service move anything.            I don't think I've moved

10      any furniture down here.

11                  Q.   So the furniture in your Palm Beach condo

12      is the same as it's always been?

13                  A.   Yeah, furniture I bought here.

14                  Q.   Okay.

15                  A.   I've moved television -- radio equipment

16      here.

17                  Q.   Okay.    So it's fair to say you just kept

18      the furniture in your Palm Beach condo that was always

19      there, and then in October 2024, you moved items out of

20      your New York City apartment?

21                  A.   Yeah, but they didn't come here.

22                  Q.   But you didn't bring them here?

23                  A.   No, I left them all in the -- because they

24      are all in dispute.

25                  Q.   Okay.

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1                   A.      I can't imagine I moved furniture -- I

2       moved certain things down here, you know, throughout the

3       ten years.        Might be something I'd rather have down here,

4       a book or -- can I get my books back?                  I'm missing books

5       that I use all the time.

6                   Q.      Do you have a will?

7                           MR. CAMMARATA:       Objection.

8                           THE WITNESS:      Yes, sir.

9       BY MR. NATHAN:

10                  Q.      Okay.   When was the will executed?

11                  A.      After -- after the divorce but shortly

12      after.

13                  Q.      Okay.   So shortly after you divorced --

14                  A.      Yeah.

15                  Q.      Shortly after your divorce --

16                  A.      So that would be like 2018.

17                  Q.      Okay.   Somewhere in the period surrounding

18      your divorce, you executed a new will; is that right?

19                  A.      I executed one during my divorce because,

20      you know, in a divorce, until you are fully divorced,

21      your wife automatically gets, you know, a third of your

22      property.        But you want to make sure that's all she gets

23      because I wanted my children and then afterwards,

24      after -- after -- after we were divorced, I changed it.

25                  Q.      Okay.   And you changed it around when?              Let

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1       me rephrase the question.

2                   A.       If I was divorced in January 2018, I

3       probably changed it in January or maybe February.

4                   Q.       Okay.     Since the --

5                   A.       Because I think the old will -- no, I

6       probably took a little while.                 Because I remember the old

7       will, she would have only gotten it under it if she was

8       my wife.         But then I straightened it out about two or

9       three months later.

10                  Q.       Okay.     When was the last time you updated

11      your will?

12                  A.       Probably then.

13                  Q.       "Then" meaning during or after your

14      divorce?

15                  A.       I'm really not sure.

16                  Q.       But you haven't updated it this year, have

17      you?

18                  A.       No.     This year I haven't, no, or last year.

19      I can be sure of that.

20                  Q.       Okay.     Your will was executed under New

21      York law?

22                           MR. CAMMARATA:         Objection.

23      BY MR. NATHAN:

24                  Q.       Let me rephrase.          The last update --

25                  A.       Had to be 2018 or 2019, had to be New York.

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1                   Q.      You haven't changed that since January 1st?

2                   A.      I have not.

3                   Q.      Okay.   You recall that you were employed by

4       WABC Radio?

5                   A.      Sure, yeah.

6                   Q.      Can you tell me a little bit about that?

7                   A.      Other than I was employed by them, I had

8       the leading show on Sunday.             The leading show during the

9       week, 30 percent higher than Hannity in New York, and

10      they let me go because I refused to not comment on the

11      2020 election.

12                  Q.      Where did you record those shows?

13                  A.      What?

14                  Q.      Where did you record those shows?

15                  A.      All over.     I would record -- it began

16      during the COVID period, so I began recording at home.

17      So we set up my home as a radio studio.                 Probably -- the

18      first nine months that I -- the first year that I

19      recorded, I almost was never in the studio.                     At first it

20      was COVID.        And then -- and then I -- then I was in

21      Washington representing President Trump.                     But I still did

22      my show almost every day at 3 o'clock.                 And I did it from

23      the hotel I was in.

24                          I didn't go to the studio until after the

25      election.        And they pretty much followed my crazy

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1       schedule which is -- the default place was the studio.

2       Since I had gotten used to recording at home for three or

3       four months, if it was a bad weather or I was too busy,

4       I'd record at home.        And then I traveled.

5                         So, I mean, right from the beginning I

6       recorded from Florida and the places where I traveled.

7       And I had what's known as a Comrex, which is a fabulous

8       device.      You can plug it in as long as you have an

9       Ethernet connection and you can -- you can broadcast

10      directly to any radio station probably all over the

11      world.

12                  Q.    Okay.

13                  A.    This big.     (Indicating.)

14                  Q.    Did you ever broadcast from the studios at

15      83rd Avenue or 800 3rd Avenue?

16                  A.    Well, that was my default position.               I

17      mean, that was the home base.

18                  Q.    Okay.    And at what point did your

19      employment at WABC terminate?

20                  A.    Sometime this year.           I think it was this

21      year.

22                  Q.    But you don't recall exactly when?

23                  A.    Uh-uh.    I'm pretty sure it was sometime

24      earlier this year.

25                  Q.    Okay.

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1                   A.   It's been at least six or eight months.

2                   Q.   You mentioned that you last amended your

3       will sometime during or shortly after your divorce.

4       Where is that will now?

5                   A.   Probably in my -- in a box that I have here

6       with important, you know, important papers.

7                   Q.   Okay.    What other important papers are in

8       that box?

9                   A.   The deed, the -- both of the -- after --

10      after we -- all the divorce records are here.                 I don't

11      remember when I moved them all here, a couple of years

12      ago.    They are in a box with all the divorce records.

13                  Q.   Okay.

14                  A.   Excuse me, they are in a box with

15      sensitive -- there are a lot of divorce records.                  So some

16      of them don't fit in the box but the sensitive divorce

17      records are there and the deed.             Whatever you call the

18      thing on the condo, right.          Proprietary lease or

19      something like that.

20                  Q.   Do you mean the co-op?

21                  A.   Yes.

22                  Q.   So the proprietary lease for the co-op is

23      in that box?

24                  A.   Yeah.

25                  Q.   What about the co-op shares?

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1                   A.      I haven't looked in there in a while but

2       they are probably there too.

3                   Q.      When you say "in a while," what do you

4       mean?

5                   A.      Six months.

6                   Q.      Okay.   And do you have a birth certificate?

7                   A.      I do -- I do and I had it reproduced

8       because I had to use it for different -- for different

9       visas.      And I have some copies here.               I probably have

10      some in the records that are now in the -- in the -- I

11      mean, some are in New York and some are here.

12                  Q.      Okay.   The ones that were in New York --

13                  A.      I had to get a -- I had to get a -- while I

14      was still a New York resident, I had to get a new

15      passport and I got it in Miami.               So I -- when that

16      happened, I tried to keep the records duplicate at both

17      places.

18                  Q.      Okay.

19                  A.      Because I needed a birth certificate.

20      And I had to get it sent down from New York.                   At that

21      point, I had some moved there and some there.

22                  Q.      Do you recall where the original of your

23      birth certificate is?

24                  A.      I don't.    I'm not even sure I have an

25      original.        I think I had to go get another one.

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1                   Q.   Oh, okay.

2                   A.   I don't think I have the "original

3       original."

4                   Q.   When I say the original, I don't mean the

5       one that was issued at the time of your birth.

6                   A.   You mean the one that's the official

7       record.

8                   Q.   The current official record.

9                   A.   I don't.     I'm not sure if it is here or in

10      New York.

11                  Q.   Okay.

12                  A.   It might be here because of what I had to

13      do.   I mean, if it is here, it doesn't have really any

14      relevance other than the fact I lived here.                 Because I

15      did that a long time ago.

16                  Q.   Would it be in the box that you were

17      describing?

18                  A.   Yeah, uh-huh.

19                  Q.   Okay.    Do you have a passport?

20                  A.   I do.

21                  Q.   Okay.    And where is the passport located?

22                  A.   The passport I got here but that's because

23      I was here when I had applied for it.

24                  Q.   Okay.    And when was that?

25                  A.   Four years ago, five years ago.

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1                   Q.   Okay.    Have you always kept the passport

2       here?

3                   A.   No, I didn't keep it here.                At the time

4       that I got the passport, my residence was New York.                      I

5       just happen to get it here because I was here and I

6       traveled a lot out of Miami.

7                   Q.   Okay.

8                   A.   And I had to get it right away.

9                   Q.   And during the time that you had that

10      passport, where did you usually keep it?

11                  A.   With me.     I have it with me now.

12                  Q.   Okay.    Do you have a social security card?

13                  A.   I can't find it.

14                  Q.   Okay.    And you haven't -- you haven't

15      gotten it reproduced or --

16                  A.   I did, I did get it reproduced and do I

17      have it down here, the reproduction of it.

18                  Q.   Okay.

19                  A.   Because I had -- I had to produce it to

20      get one of the new -- to get one of the new companies

21      open.

22                  Q.   Okay.    And when was that?

23                  A.   About six months ago.

24                  Q.   Okay.    Was that the Standard USA company?

25                  A.   Yeah.

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1                   Q.    Okay.     But before that, you didn't have a

2       copy of your social security card?

3                   A.    I did not.

4                   Q.    Okay.     Do you have a revocable trust?

5                   A.    I do, yes.       Well, yeah, on death.

6                   Q.    And is that created under your will or --

7                   A.    It is --

8                   Q.    -- separate from your wife?

9                   A.    -- under will.         It's under the will.

10                  Q.    Okay.     So it doesn't exist at the moment --

11                  A.    No.

12                  Q.    -- created it --

13                  A.    Sure, right.

14                        THE REPORTER:         Okay.     Hold on.

15                        MR. CAMMARATA:         Yeah, yeah, just --

16                        MR. NATHAN:       Sorry.

17                        THE WITNESS:        I'm sorry.

18                        MR. NATHAN:       I'll ask --

19                        THE WITNESS:        Last --

20                        MR. NATHAN:       I'll ask to clarify.

21                        THE WITNESS:        I have -- I believe I have

22                  one under the will.

23      BY MR. NATHAN:

24                  Q.    Okay.     But independently of your will?

25                  A.    I do not.

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1                   Q.    You do not?       Okay.

2                         Do you know whether the will recites --

3       well, strike that.

4                         Based on what you've told me, it sounds

5       like the will would recite New York as your domicile,

6       is --

7                   A.    If it was -- yeah, sure.              If it was '18,

8       sure.

9                   Q.    So you cite New York as your domicile.

10      Okay.

11                        MR. NATHAN:       All right.         This is a natural

12                  stopping point.      Well, actually, I have about -- I

13                  have about ten more minutes -- well, let's stop

14                  here, if that's all right.

15                        MR. CAMMARATA:         Yeah.

16                        MR. NATHAN:       We'll take a short break,

17                  we'll come back and shall we go off the record?

18                        THE VIDEOGRAPHER:           Sure.

19                        This is the end of Media 4.                The time is

20                  3:19 p.m.    We're going off the record for a media

21                  change.

22                        (A recess is taken.)

23                        THE VIDEOGRAPHER:           This is Media Number 5,

24                  the deposition of Rudolph Giuliani.                The time is

25                  3:35 p.m.    We are back on the record.

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1       BY MR. NATHAN:

2                   Q.    Mr. Mayor, during the break, did you

3       discuss your deposition --

4                   A.    I did not.

5                   Q.    -- with your attorney -- with anyone?                 You

6       did not?

7                   A.    I learned my lesson.

8                   Q.    Okay.     As of August -- or on August -- as

9       of August -- let me start over.

10                        As of August 3rd, 2024, would it have been

11      accurate to say that you lived in New Hampshire?

12                  A.    No.

13                        MR. CAMMARATA:         Objection.

14                        THE WITNESS:        You mean lived in New

15                  Hampshire as a permanent place or --

16      BY MR. NATHAN:

17                  Q.    Just --

18                  A.    -- was there temporarily?

19                  Q.    Just lived in New Hampshire.

20                  A.    Yeah.     No, I don't think it would be --

21                  Q.    Okay.

22                  A.    -- because I've always rented there.

23                  Q.    Okay.     Would it have been accurate to say

24      you worked in New Hampshire?

25                  A.    Yes, I did some work in New Hampshire,

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1       sure.

2                   Q.    You did "some" work?          Would it have been

3       accurate to say you worked in New Hampshire?

4                         MR. CAMMARATA:       Objection.

5                         THE WITNESS:      Yes, also in Illinois and

6                   about ten other places.

7       BY MR. NATHAN:

8                   Q.    Okay.   So you worked in New Hampshire in

9       the same sense that you worked in Illinois when you were

10      on a trip there?

11                  A.    Right, I spent a week in Illinois.              I spent

12      a week in Milwaukee.       I spent five days in Los Angeles.

13      I spent -- I spent some time in the northern part of New

14      Hampshire and sometimes in Manchester.               So yeah, I

15      probably was in New Hampshire more often but only by --

16      by a little bit.

17                  Q.    Okay.   And so, for example, when you were

18      in Illinois, was that when you were at the Democratic

19      National Convention in Chicago?

20                  A.    That was the Democratic convention, right.

21                  Q.    Okay.   And so when you say you worked in

22      Illinois, you were referring to broadcasting from --

23                  A.    Yes, I broadcast in Illinois.

24                  Q.    Okay.   And that was a temporary trip and

25      you broadcast there just because you can broadcast

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1       anywhere?

2                   A.   Correct.

3                   Q.   Okay.    So when you -- if -- if somebody

4       were to say that you worked in New Hampshire, all that

5       would mean is you can broadcast from anywhere, so you

6       could broadcast from there?

7                   A.   Correct, and I broadcast from -- I

8       broadcast from two different hotels.                 Every once in a

9       while I use somebody's home, a friend or so --

10                  Q.   Okay.

11                  A.   -- if it's special.

12                  Q.   Okay.    And the way that -- to the extent

13      you worked in New Hampshire in August 2020 -- or, excuse

14      me.

15                       To the extent you worked in New Hampshire

16      at all in 2024, was it any different from the way --

17                  A.   Yeah, it was.

18                  Q.   I'm sorry.      Just let me just finish the

19      question.

20                       Was it any different from the ways that you

21      had worked in New Hampshire in prior years?

22                  A.   Just one time and that was the -- that was

23      the summertime when I was able to temporarily rent a

24      little condo as a permanent place, you know, for that

25      period of time to do my show.            So I could set it up in

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1       one place.       Didn't have to move it around.

2                   Q.       Okay.   And so it was a permanent place for

3       a period of time?

4                   A.       Permanent place for --

5                            MR. CAMMARATA:       Objection.

6                            THE WITNESS:      Yes, permanent place for a

7                   month and a half -- two months, in which I

8                   probably traveled about 40 percent of the time

9                   that I was there.

10      BY MR. NATHAN:

11                  Q.       Okay.   So something can be permanent even

12      if it has a set end date?

13                           MR. CAMMARATA:       Objection.

14                           THE WITNESS:      I guess for two weeks, three

15                  weeks.     If I'm going to be in one place, I'll be

16                  permanently there for two or three weeks.

17      BY MR. NATHAN:

18                  Q.       Okay.   Do you recognize the address, 418

19      Walnut Street, Manchester, New Hampshire?

20                           THE REPORTER:       What was the address?

21                           MR. NATHAN:     418 --

22                           THE WITNESS:      Sure, that's doctor --

23                           MR. NATHAN:     -- Walnut Street --

24                           THE WITNESS:      That's Dr. Ryan's --

25                           MR. NATHAN:     -- Manchester, New Hampshire.

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1                        THE WITNESS:        -- address.

2       BY MR. NATHAN:

3                   Q.   That's Dr. Ryan's address?

4                   A.   Yes.

5                   Q.   Okay.

6                   A.   And Vanessa.

7                   Q.   Okay.     Is there any reason that you would

8       have told somebody to contact you at that address?

9                   A.   Other than she can -- she can get me.                 I'll

10      have -- I'll have things sent there sometimes if I'm in

11      New Hampshire.        Safer than having it sent to the hotel.

12      So if I'm going to get some equipment or something, I'll

13      have it sent to 418 Walnut Street either under her name

14      or her granddaughter.

15                  Q.   Okay.

16                  A.   But because I've -- I've lost things that

17      were sent to hotels.

18                  Q.   Okay.     Did you ever execute a change of

19      address form at the U.S. Postal Service?

20                  A.   I'm not sure.

21                  Q.   Let me combine that.

22                       In 2024 or between -- in 2023 or in 2024,

23      did you ever submit a change of address form to the U.S.

24      Postal Service?

25                  A.   I'm not sure.

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1                   Q.      Would you have any way of knowing whether

2       you did or not?

3                   A.      I'd have to go ask Dr. Maria or Ted.

4                   Q.      Okay.   So if that was done on your behalf,

5       it would have been Dr. Maria or Ted who would have done

6       it?

7                   A.      Yes, sir.

8                   Q.      Okay.   And if they had done that and they'd

9       been asked to supply an email address, what email address

10      would they have given the post office for a confirmation?

11                          MR. CAMMARATA:       Objection.

12                          THE WITNESS:      I don't know.          I imagine mine

13                  but I -- I don't know.          You would have to ask

14                  them.

15      BY MR. NATHAN:

16                  Q.      But it's possible they would have given

17      your email address?

18                  A.      Yeah.

19                          MR. CAMMARATA:       Objection.

20                          THE WITNESS:      I -- I guess.

21      BY MR. NATHAN:

22                  Q.      Okay.   So you'd be able to confirm whether

23      or not they had given the post office your email address

24      just by looking at your own emails?

25                          MR. CAMMARATA:       Objection.

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1                         THE WITNESS:      Yeah, if I didn't erase it.

2                   But I don't recall seeing an email but --

3       BY MR. NATHAN:

4                   Q.    Okay.   Would -- would --

5                   A.    I don't -- I don't check all my emails.

6                   Q.    Okay.

7                   A.    I get too many.

8                   Q.    Would you have erased an email like that --

9                   A.    Probably not.

10                  Q.    -- in the last year?

11                  A.    Probably not but -- I don't recall -- I

12      don't recall an email like that.             Somehow all my mail

13      comes to me now at 315.        For a while, some would come to

14      315, even after I changed and some would go there.                  And

15      then they forward to me.         But for the last three months,

16      I haven't had any issue like that.

17                  Q.    Okay.

18                  A.    And that's how, that's how I lost my

19      subscription at Epoch Times because I changed it in the

20      last --

21                  Q.    Okay.   So for the last three months, you've

22      received all your mail --

23                  A.    For sure.

24                  Q.    -- at -- at --

25                  A.    At the very beginning of the change, the

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1       first month or two, there was an overlap and then in the

2       middle, probably I received --

3                    Q.    Okay.

4                    A.    -- it all here.

5                    Q.    At the beginning of the change, just to

6       clarify?

7                    A.    Meaning -- meaning in January or

8       February --

9                    Q.    Okay.

10                   A.    -- there was more of an overlap.

11                   Q.    Okay.

12                   A.    The last three months, it's always been

13      here.       And in the middle, it was mostly here.             With a

14      few, I would still have to have them forward certain

15      things.

16                   Q.    But in the middle, in sort of the middle of

17      this year you were telling someone where to send you

18      something, you would have told them to send it here?

19                   A.    Yeah, although I have had -- I did have

20      people, for example, send things to me at the Republican

21      Convention at that hotel.          But I had people send things

22      to me at the Democratic Convention at the hotel because I

23      was going to be there for a week.               So I have, at various

24      times, given them other places to send things.

25                   Q.    Okay.

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1                   A.    Including Amazon.

2                   Q.    Okay.   Would you have given them your New

3       York apartment as a place to send you something?

4                   A.    Not in a long time.

5                   Q.    Not in a long time.          Around when would you

6       say is the last time you would have thought to do that?

7                   A.    You'd have to look on the calendar, the

8       last time I was there for more than a couple of days.

9       And therefore I thought it'd be more likely I'd get it

10      there than someplace else.

11                  Q.    And if it's sitting here today, if you had

12      to say, around when would have been the last time?

13                  A.    Probably before I went to -- before I went

14      off on my -- it would have to be before June.

15                  Q.    Okay.   When is the -- when is the last time

16      that you think you would have referred to the New York

17      apartment as your home?

18                        MR. CAMMARATA:       Objection.

19                        THE WITNESS:      I just have to go back by

20                  process of elimination.         Sometimes I'll even say

21                  now, Oh, I'm in New York -- oh, former New Yorker.

22                  Just because I'm so used to it.

23      BY MR. NATHAN:

24                  Q.    Sure.   And if somebody --

25                  A.    Or somebody will come up to me and say, Oh,

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1       you're from New York.       And I might originally say yes,

2       but oh, no, not anymore.         I probably got the addresses

3       confused for about six months, I'd say, or where I lived

4       con- -- you know, confused.

5                   Q.    Okay.   So I can understand that --

6                   A.    Occasionally.

7                   Q.    If somebody asked you where you are from

8       and you said I'm from New York, that's totally

9       understandable.       I think some people would agree that

10      even if you moved to Florida, you are still from New

11      York.

12                        But if somebody asked you whether it be

13      accurate to describe the New York apartment as your home,

14      when do you think the last date you would have agreed

15      with that characterization would have been?

16                        MR. CAMMARATA:       Objection.

17      BY MR. NATHAN:

18                  Q.    Let me rephrase the question.             By about

19      let's say April 2024, would you have described the New

20      York apartment as your home?

21                        MR. CAMMARATA:       Objection.

22                        THE WITNESS:      I would think -- I'd be

23                  comfortable with the last two months, three

24                  months, basically not making the mistake.              But

25                  before that, it was so -- it was so routine, that

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1                   I would -- I would give it.

2       BY MR. NATHAN:

3                   Q.    Okay.   And is that --

4                   A.    Sometimes.

5                   Q.    That -- okay.

6                   A.    Sometimes I'd give it and not realize it.

7       Sometimes I'd give it and then change it.

8                   Q.    Okay.   Do you recall that you filed a

9       petition for bankruptcy in December 2023?

10                  A.    I remember filing it.              I don't remember the

11      exact date.

12                  Q.    Okay.   You remember filing for bankruptcy?

13                  A.    Of course, yeah.

14                  Q.    Okay.   And do you remember that you filed

15      for Chapter 11 protection?

16                        MR. CAMMARATA:       Objection.

17                        THE WITNESS:      I do.

18      BY MR. NATHAN:

19                  Q.    Okay.   And what's your understanding of

20      what Chapter 11 bankruptcy means?

21                        MR. CAMMARATA:       Objection.

22                        THE WITNESS:      Chapter 11 allows you to do a

23                  reorganization.

24      BY MR. NATHAN:

25                  Q.    Okay.   Can you just say a little bit more

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1       about what that means?

2                   A.    Well, to be qualified you have to have more

3       liabilities than assets and you -- ultimately you have to

4       work on a plan so that you can pay off -- pay off your

5       debts.

6                   Q.    Okay.   And do you have an understanding of

7       what a Chapter 7 bankruptcy is?

8                   A.    Not as well, no.

9                   Q.    Okay.   What understanding do you have of

10      what a Chapter 7 bankruptcy is?

11                        MR. CAMMARATA:       Objection.

12                        THE WITNESS:      If you want to guess, I think

13                  it's liquidation, I think.

14      BY MR. NATHAN:

15                  Q.    Okay.   Liquidation?

16                  A.    You sell everything and your creditors

17      parcel it out.

18                  Q.    Okay.   And when you say --

19                  A.    Or almost everything.

20                  Q.    And when you say "you sell everything" --

21      Right.      So you'd sell -- would you sell assets that are

22      exempt from --

23                  A.    I don't know.

24                  Q.    Okay.

25                  A.    I don't know.       I imagine there are certain

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1       exemptions, sure.

2                   Q.   Okay.    But your understanding of Chapter 7

3       is that it's a liquidation in which your property is sold

4       and your creditors parcel out the proceeds?

5                   A.   Yeah, as opposed to an 11 where you would

6       do the same thing but you do it as part of a plan to

7       reorganize.

8                   Q.   Okay.    And in either case, you -- well,

9       strike that.

10                  A.   In both cases, you'd be selling a lot of

11      your assets.

12                  Q.   Okay.    Did you ever seek a Chapter 7

13      liquidation in your bankruptcy proceedings?

14                  A.   I don't think so.

15                  Q.   While you were in bankruptcy, did you pay

16      attention to the filings that your -- that you were

17      making in the Bankruptcy Court?

18                  A.   As best I could.         They were complicated, as

19      I said, and obviously busy.

20                  Q.   Okay.    And do you recall that --

21                  A.   I relied on the lawyers probably to do a

22      lot more of that than usual because I was very, very

23      busy.

24                  Q.   Okay.    And did you personally sign any

25      documents that were filed in the Bankruptcy Court?

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1                   A.   I certainly signed the original one.

2                   Q.   Okay.    Well --

3                   A.   Petition.

4                   Q.   If you were personally signing a document

5       that would be filed in the Bankruptcy Court, would you

6       have reviewed that document first?

7                   A.   Yes.

8                   Q.   Okay.    So at the time you filed it, you

9       would have been -- had an understanding of what was being

10      filed over your signature; is that correct?

11                  A.   As best I could.         Yeah, I mean, I think.

12                  Q.   If you had any questions about what it

13      meant, you would have asked your lawyers those questions,

14      right?

15                  A.   I would have, although as I said, it wasn't

16      optimum time to have extraordinary amount of time to ask

17      a lot of questions.       So you move very, very quickly.

18                  Q.   You're not the type of person that would

19      sign something and file it in a court --

20                  A.   I wouldn't do it deliberately, that's

21      right.

22                  Q.   -- without understanding it?

23                  A.   Yes, that's pretty much true.              But there is

24      a little more -- when you are under a lot of pressure and

25      a lot of other things are calling your attention, it's

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1       hard to concentrate.

2                   Q.    You say "pretty much true."              What are the

3       circumstances under which you might file something in a

4       court without understanding what you were signing?

5                   A.    Wouldn't do it without understanding it.

6       I'd say that there are times in which you can pay optimum

7       attention and times that you can't.

8                   Q.    Okay.

9                   A.    Depending on how much pressure there was to

10      do other things.      And I think it would be impossible to

11      describe the amount of pressure that was on me.

12                  Q.    Okay.   Filing a bankruptcy petition is a

13      pretty big decision, wouldn't you agree?

14                  A.    Sure.

15                  Q.    Okay.   And applying for a Chapter 7

16      liquidation is also a pretty big decision, wouldn't you

17      agree?

18                        MR. CAMMARATA:       Objection.

19                        THE WITNESS:      I don't think I do.           I don't

20                  think I -- I don't remember applying for a 7.

21      BY MR. NATHAN:

22                  Q.    Okay.   But if -- if you were to apply for a

23      7, that would be a pretty big decision, right?

24                  A.    They both were big.

25                  Q.    Okay.   Those are the things you would try

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1       to pay as much attention to as possible?

2                   A.   As possible, right.

3                   Q.   Okay.

4                   A.   There are certain human limits, however.

5                   Q.   Okay.     But as much attention as you'd pay

6       to anything else, you'd --

7                   A.   As much as attention as I could pay to

8       anything else at that time, yes.

9                   Q.   Okay.     Do you understand that if you were

10      to seek a Chapter 7 liquidation that that would result in

11      all of your nonexempt property being sold?

12                  A.   No.     I would assume that there would be

13      some exemptions under it -- or under anything.

14                  Q.   I totally agree.          I'm not suggesting that

15      any exempt property would be sold, but is it your

16      understanding --

17                  A.   Oh, sure, right.          The process lays out

18      exemptions and nonexemptions.             And nonexemptions get

19      sold.

20                  Q.   Okay.     So if you were to engage in a

21      Chapter 7 liquidation, you understand that anything

22      that didn't qualify for an exemption would be sold?

23                  A.   That makes sense to me.              I never read the

24      law, so it just makes sense to me that that would be the

25      case but I don't know that I ever thought about it.

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1                   Q.    Okay.

2                   A.    I didn't -- did I file a Chapter 7?

3                   Q.    All right.

4                   A.    I don't recall.

5                   Q.    The real question I have is, if you were to

6       take any steps in the bankruptcy that would have resulted

7       in the Palm Beach condo being sold, that's something you

8       would have tried to pay very close attention to; is that

9       accurate?

10                        MR. CAMMARATA:       Objection.

11                        THE WITNESS:      I don't know that I can -- I

12                  don't -- I don't know that I thought about that.

13      BY MR. NATHAN:

14                  Q.    Okay.   Are you aware that the creditors

15      committing in the bankruptcy filed a motion to compel you

16      to sell the Palm Beach condo?

17                        MR. CAMMARATA:       Objection.

18                        THE WITNESS:      I don't remember that.          I

19                  thought they did the New York -- they wanted to

20                  take over the sale of the New York condo -- co-op.

21      BY MR. NATHAN:

22                  Q.    Are you aware of any hearings that were

23      held on the motion to compel the sale of the Palm Beach

24      condo?

25                  A.    No, sir.

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1                   Q.    Okay.     Were you present at any of those

2       hearings?

3                   A.    I don't think so.

4                   Q.    Were you present by Zoom?

5                   A.    I was present for some hearings.               I don't

6       remember they're trying to force me to sell the -- the

7       Florida condo.

8                   Q.    But if you were present for a hearing, you

9       would have been aware of what was going on at the hearing

10      while you were present?

11                        MR. CAMMARATA:         Objection.

12                        THE WITNESS:        All I could do is tell you

13                  what I remember.       I can't tell you what I don't

14                  remember.     I don't remember there being a hearing

15                  to sell the condo in Florida.

16      BY MR. NATHAN:

17                  Q.    So what would be the best evidence, if you

18      don't remember, what would be the best evidence of

19      whether that happened or not?

20                  A.    If it happened, it happened.               And I was

21      there and I don't remember it, I don't remember it.

22                  Q.    And similarly, if you don't remember, what

23      would be the best evidence of whether you sought to

24      convert your bankruptcy to Chapter 7 liquidation or not?

25                        MR. CAMMARATA:         Objection.

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1                          THE WITNESS:      The big issue with the

2                   bankruptcy was not that.          It was not being able to

3                   appeal the decision in the -- the judgment against

4                   me.   And the court would not give us permission to

5                   appeal.   And we -- and -- and to me that was, it

6                   was critical that we get an appeal because I

7                   believe the case is horrendous miscarriage of

8                   justice --

9       BY MR. NATHAN:

10                  Q.     Okay.   I --

11                  A.     -- that will be reversed.           I'm telling you

12      what the --

13                  Q.     I remember that issue.

14                  A.     -- what the decision was.

15                  Q.     I'm just -- I'm just focusing on the

16      question --

17                  A.     To me --

18                  Q.     -- of the Chapter 7 application.

19                  A.     To me, there was no issue about Chapter 11

20      or Chapter 7.

21                  Q.     Okay.   So given that your -- your testimony

22      today is you don't recall whether or not you tried to

23      convert the bankruptcy to a Chapter 7 liquidation, how

24      would we know whether you had or you did not?

25                  A.     Either it was done or it wasn't done and --

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1       or my lawyers talked about it and didn't tell me about

2       it.

3                    Q.      Okay.    So we could just look at the court's

4       records to find out whether that happened or not?

5                    A.      I guess, yes.        I mean, yeah.          But I

6       never -- I do not recall ever filing a Chapter 7, nor do

7       I ever recall having it explained to me in detail so I

8       could make a decision whether to do it.

9                    Q.      And --

10                   A.      And I remember the predominant discussion

11      being, if we stay in bankruptcy, who knows when the hell

12      we're going to be able to appeal because the judge won't

13      give us permission to appeal.

14                           And I said that seems crazy to me because

15      that's -- I'm only in bankruptcy because of that

16      judgment.         Otherwise, I would be liquid.                And should we

17      get that resolved, should the creditors want it resolved

18      to figure out how much, and they couldn't give me a good

19      answer to that.

20                   Q.      Okay.    So if --

21                   A.      I think they told me that you were blocking

22      that.       And I said, well, that's only for the benefit of

23      one creditor, not all the creditors.

24                   Q.      Okay.    So if -- since you don't recall

25      whether or not you filed an application to convert the

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1       bankruptcy to Chapter 7, the only way to know would be to

2       go look at the court's records; is that right?

3                         MR. CAMMARATA:       Objection.

4                         THE WITNESS:      Sure.

5       BY MR. NATHAN:

6                   Q.    Okay.   And since you testified that you

7       don't know really have a full understanding of what a

8       Chapter 7 liquidation would mean with respect to the Palm

9       Beach condo, the way to note that would just be to look

10      at the law and see what the law says?

11                        MR. CAMMARATA:       Objection.

12      BY MR. NATHAN:

13                  Q.    Is that right?

14                  A.    I guess.     To this day, I mean, right now, I

15      don't know the answer to that.

16                        MR. CAMMARATA:       Don't guess.

17                        THE WITNESS:      I don't -- I don't know

18                  Chapter 7.

19      BY MR. NATHAN:

20                  Q.    Okay.   I -- I can appreciate that you are

21      telling me now, sitting here today, you don't know what

22      that is and I'm just asking whether you agree that the

23      way to know, one way or the other --

24                  A.    Of course.

25                  Q.    -- what would happen would just be to look

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1       at the law and see what the law says?

2                         MR. CAMMARATA:         Objection.

3                         THE WITNESS:        Of course.

4       BY MR. NATHAN:

5                   Q.    Okay.     And ultimately it would be up to a

6       court to make that determination about what the law says?

7                         MR. CAMMARATA:         Objection.

8                         THE WITNESS:        Ultimately, sure.

9       BY MR. NATHAN:

10                  Q.    Okay.

11                        Now, just one final thing.                 So you don't --

12      you don't recall being present at any hearings relating

13      to an application to convert your bankruptcy to

14      Chapter 7?

15                  A.    No.

16                  Q.    Okay.     So we've talked plenty about the

17      Palm Beach condo and your homestead claim.

18                        Is there anything that we haven't discussed

19      that you think is important to the question whether you

20      established a homestead at the Palm Beach condo?

21                  A.    I don't --

22                        MR. CAMMARATA:         Objection.

23                        THE WITNESS:        I really don't know the

24                  answer to that.

25      BY MR. NATHAN:

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1                   Q.       You don't know whether there is anything --

2                   A.       Well, sure there are other things to

3       discuss.         I mean, it was a long, long decision.               There

4       were many parts to it.           I've answered the questions

5       you've asked me.         I -- you are supposed to ask the

6       questions.

7                   Q.       Sure.   Sitting -- so I'm asking the

8       question now.

9                            So sitting here today, can you recall

10      anything else that is important to the question of

11      whether you established the -- the Palm Beach condo as a

12      homestead?

13                  A.       Sure, I -- of course I can.              I mean, I can

14      think of all the people that I talked to about it.                      I've

15      only given you a small sample of those.

16                  Q.       I'm not asking about other people who might

17      also know.         I'm asking, in your mind, what are the other

18      facts that are important to that question that we haven't

19      discussed?

20                           MR. CAMMARATA:       Objection.

21                           THE WITNESS:      I can't think of -- I can't

22                  think of a -- a -- I probably haven't described

23                  adequately all the things that I bought or brought

24                  down here so that it would be a permanent -- when

25                  you say "permanent residence," I didn't really

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1                    have to buy anything to make it a permanent
2                    residence.    I had to add things to make it a
3                    permanent studio which I did.                  I have explained
4                    that that -- that took a long time.
5                          Right now I can't think of anything other
6                    than people that I've discussed it with who --
7                    for -- for example, one of my close friends
8                    thought I already was a Florida domiciliary.
9       BY MR. NATHAN:
10                   Q.    And who is that?
11                   A.    In mid -- in mid-'23.
12                   Q.    Who was that?
13                   A.    Bernard Kerik.
14                   Q.    Okay.     And why did he think that?
15                   A.    Because obviously -- because of the way I
16      acted, the way I -- they way he would come and see me
17      here.       He just assumed it.
18                   Q.    Based on the way you were acting in 2023,
19      he thought that you were already a permanent resident
20      at --
21                   A.    Correct, I had --
22                   Q.    -- the Palm Beach condo?
23                   A.    I had to correct him, that I wasn't.
24                   Q.    Okay.     Is there anything else that we
25      haven't discussed, any other facts that you think are

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1       relevant to the question --

2                   A.     Other than discussing it with people,

3       that's the one that comes to mind.

4                   Q.     Okay.

5                   A.     I'm sure when I leave here, there will be

6       five other things I'll remember about things that I did.

7                   Q.     Okay.   So what types of those -- what types

8       of things would that be?

9                   A.     I can't remember them.             Didn't you ever

10      give an argument and then remember three things you

11      should have argued?

12                  Q.     I'm just asking right now, sitting here

13      today --

14                  A.     Right now, sitting here --

15                  Q.     -- do you remember any other facts --

16                  A.     Right now --

17                  Q.     -- that are relevant?

18                  A.     -- I've told you -- I've answered your

19      questions.       If I -- if I say, are there other things that

20      should have been asked and you didn't ask?                  I don't think

21      I can really help you with that.

22                  Q.     Okay.

23                  A.     There's nothing that I can think of --

24                  Q.     I'm asking you --

25                  A.     -- nor do I think it's a particularly --

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1                   Q.     I'm not asking you --

2                   A.     -- useful question.

3                   Q.     Okay.     Just let me finish my question.

4                   A.     You should know what to ask, not me.

5                   Q.     I am not asking whether you answered my

6       questions.       I'm asking:      Other than the things we've

7       already spoken about, is there any other information that

8       you think is relevant to whether you established a

9       homestead at the Palm Beach condo?

10                         MR. CAMMARATA:         Objection.

11                         THE WITNESS:        I'm sure there is but I can't

12                  think of it right now.

13      BY MR. NATHAN:

14                  Q.     Sitting here right now, you cannot think of

15      anything else?

16                         MR. CAMMARATA:         Objection.

17                         THE WITNESS:        Right now I can't think of

18                  anything else but I'm certain there is.

19      BY MR. NATHAN:

20                  Q.     You are certain there is?

21                  A.     Uh-huh.

22                  Q.     Why are you certain?

23                  A.     Because you always remember things

24      afterwards.

25                  Q.     Always?

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1                   A.    Always, almost -- I've never -- I've

2       never -- I've argued a hundred cases.                  There probably

3       isn't one where I didn't finish a summation, two days

4       later think, oh, I should have added that.                   I should have

5       added that.

6                   Q.    I'm just asking -- well, have you -- have

7       you given complete and honest testimony here today?

8                   A.    Yes.

9                   Q.    Okay.     So are you leaving out anything

10      that's important to these claims?

11                  A.    No.

12                  Q.    Okay.

13                  A.    Well, wait a second.            I answered your --

14                  Q.    I asked a question and you answered it.

15                  A.    Well, I'm going to amend the answer so that

16      it's --

17                  Q.    I'm not asking you to amend your answer.

18                  A.    I've answered your questions.               Of course I

19      left things out that you didn't ask me.

20                  Q.    Okay.     What did you leave out?

21                  A.    Thousands of things you didn't ask me.

22                  Q.    What did you leave out?              I'm asking you --

23                        MR. CAMMARATA:         Objection.

24                        THE WITNESS:        This is an absolutely

25                  ridiculous question.

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1       BY MR. NATHAN:

2                    Q.    What did you leave out?

3                    A.    I'm not going to -- it's an absolutely

4       ridiculous question.

5                    Q.    You won't tell me the things that you left

6       out?

7                          MR. CAMMARATA:       Objection.

8                          THE WITNESS:      They are totally irrelevant.

9                    I mean, there are a lot of things you didn't ask

10                   me.

11      BY MR. NATHAN:

12                   Q.    Okay.   What are the things that are

13      relevant --

14                   A.    I don't know.

15                   Q.    -- that you haven't said?

16                   A.    I don't know.       I don't know the answer to

17      that.       I'm sure I'll think of it later.

18                         MR. CAMMARATA:       That's his answer.

19                         MR. NATHAN:     Joe, I didn't ask you any

20                   questions.

21                         THE WITNESS:      Argumentative, stupid

22                   questions.

23      BY MR. NATHAN:

24                   Q.    Well, I'm just asking a simple question

25      about whether there are other facts that are relevant to

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1       your claim.

2                   A.   As I told you, I cannot recall any other

3       facts, but I'm certain there are.

4                   Q.   Why are you certain that there are?

5                   A.   Because of the way the operation of the

6       human mind takes place.        And after you finish, you

7       almost -- let me say, the odds are very strong that there

8       are things that you didn't remember.

9                   Q.   Okay.    Are you aware of the phrase "the

10      whole truth"?

11                  A.   That is the whole truth.              It's the whole

12      truth as of right now.

13                  Q.   Have you told the whole truth today?

14                  A.   Yeah.    It's rather insulting that you ask

15      me.   Yes, I've told the whole truth.

16                  Q.   Well, that's all I'm asking, is whether you

17      told the whole truth today.

18                  A.   I told the whole truth today.              Absolutely.

19                  Q.   Okay.    I'm asking now whether there are any

20      other facts, other than what you've told me today, that

21      are relevant to your claim in this case?

22                  A.   And I'm telling you, I don't recall any

23      right now but I'm certain there are.                 That's the whole

24      truth.

25                  Q.   So you're sure that there are other facts

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1       that you haven't told me today?

2                   A.   I am certain that between now and two weeks

3       from now I'll think of two or three more things that you

4       didn't ask about and I didn't think of.

5                   Q.   Okay.

6                   A.   That's after 50 years of experience of

7       being in court.

8                   Q.   Okay.    But if I asked about something, you

9       gave me the most --

10                  A.   I gave you the answer I could give you

11      today, honestly.

12                  Q.   Okay.    So if I asked about something, you

13      gave me a complete answer?

14                  A.   I gave you the honest answer that I could

15      give today based on my memory today.

16                  Q.   Okay.    Is there any reason -- I think I

17      asked you earlier today as to whether there was any

18      reason that you would not be able to give complete

19      answers, whether there was any reason you wouldn't be

20      able to remember everything relevant to your testimony.

21                       Is there any reason your memory today would

22      be any less sharp than usual?

23                  A.   My memory is not any different than it is

24      normally is.

25                  Q.   Okay.

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1                    A.    But I am a human being, which means my

2       memory is not perfect.

3                    Q.    Okay.     Are you aware that you have a

4       continuing obligation to supplement your discovery

5       responses?

6                          MR. CAMMARATA:         Objection.

7                          THE WITNESS:        Correct, I'm sure.

8       BY MR. NATHAN:

9                    Q.    Okay.     And so if you recall any additional

10      relevant information, you'll supplement your discovery

11      responses accordingly?

12                   A.    If I recall -- if I have the experience

13      that I think I will have, I will tell my lawyers and they

14      can figure what the right way to handle this.

15                   Q.    Okay.     So I'll hold the deposition open in

16      case any additional material is disclosed.                    We'll come

17      back and ask you about it.

18                   A.    Are we finished?

19                   Q.    No.     I would now like to ask you about the

20      World Series rings.          So at what point did you own four

21      Yankees World Series rings?

22                   A.    They were given to me in the spring of

23      2002.       Well, actually, one was given to me in the fall of

24      1996 or after the fall of 1996 whenever they were ready.

25      And I sent it back to George Steinbrenner and said I

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1       didn't think it was appropriate that a mayor get a ring.

2                         I didn't even think at that time that I

3       could have paid for it.         I should have, because then I

4       could have had it.        But I sent it back to him.              The

5       Yankees then went on and won three more world

6       championships while I was mayor.              And I was a very ardent

7       Yankee fan.      When I was the mayor, I was described as New

8       York's number one Yankee fan.             I would sit right next to

9       Joe Torre, who is close personal friend.                    We went through

10      prostate cancer together.          That made us even closer.               I

11      was a close friend of Bernie Williams.                 I introduced him

12      at his first concert.        And I could go on and on with the

13      Yankees.

14                  Q.    Okay.

15                  A.    Unbeknownst to me -- well, let me tell you

16      how it happened.      After I left being mayor and during

17      spring training of 2002, George Steinbrenner invited me

18      to a lunch in Tampa, Florida, and at the lunch, he gave

19      me a plaque, I don't recall exactly, beautiful plaque, I

20      don't recall exactly, then he gave me three World Series

21      rings with my name on it.

22                        And I said, what are those?                He said, well,

23      after the first one, I knew you didn't want any more.

24      And I had these three made up for you when they won.                       And

25      I was very touched and moved by that.                 And then -- but he

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1       said -- he said, "after you didn't want any more."                    So I

2       said -- so I said, I hate to ask this, George, but where

3       is the first one?        He said, You have that.             I said, No, I

4       don't have it.        I sent it back.        He said, We don't have

5       it.     And I said, George, I'm not going to take these

6       unless I pay for them.         He said, Well, you can't pay for

7       them.       I said, Well, I damn well can pay for them.               I can

8       go call the guy who made them and find out.                   Every player

9       loses a ring, I knew that because several players had

10      told me they lost rings.          The Yankees make them buy the

11      new one.       So I'll figure out the value and pay -- pay the

12      Yankees for the value.

13                         He said, If that's really going to make you

14      feel better, fine, but this is ridiculous.

15                         I used to also pay for my seats all the

16      time and I have a letter somewhere from him, you probably

17      have it now in all those papers, where I was the only

18      politician who ever paid for his tickets.                   I said I'm

19      going to pay for them but we've got to locate this --

20      we've got to locate this missing ring because this will

21      be a problem.       Because I know what the press is like.

22                         So it took a while but -- I've forgotten

23      what his role was then -- but now the president of the

24      Yankees, Randy Levine, located it in his safe.                   He --

25      Randy Levine had been my deputy mayor twice and now he

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1       was George Steinbrenner's -- either the vice president or

2       the president of the Yankees.

3                         And he had effectuated the return of the

4       ring but he kept it in his safe.             Luckily, I had letters

5       from my special assistant, Beth Hatton, documenting that

6       I sent the ring back.       So that completed the whole thing.

7       When I got the rings, I told George -- who loved Andrew,

8       helped to bring him up.        He used to sit in his big glove

9       chair.      I said, you know, These are for Andrew.                He said,

10      Well, I knew that.

11                        And when I got them all together, I put

12      them out, this would be in 2002, maybe '3, I put them out

13      and I said, These are going to be yours.                   He said, Well,

14      I shouldn't take them now.          I said, Well, why don't you

15      take one.      Pick the one you want and you can have that.

16      You can just take that one with you and I'll keep the

17      rest for safekeeping.       And so I did for a while.

18                        I'd occasionally -- I'd wear them

19      usually -- I'd wear one on like a special Yankee

20      occasion, like I'd wear one when they were in the World

21      Series again.      I wore -- we both did.            We wore them

22      through the World Series in 2009.              We wore them through

23      the World Series in 2003.         It didn't do any good.             We

24      wore it when the Red Sox came back and won four games in

25      a row.      Didn't work then either.

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1                          I stopped wearing them after the Yankees

2       stopped winning because it was no longer working.                  And

3       then I wasn't using them anymore.              And on my -- I don't

4       remember if it was my birthday or his birthday, but it

5       was about 2018, 2019, and we kept exchanging that one

6       ring.       So I don't know which three rings it was.             But I

7       brought the three boxes and I made a little ceremony.

8       I'd given it to him.       I said, They are now yours.             These

9       are your rings.       I don't know what I'm keeping them for.

10      They belong to you.

11                         And then he -- he wore them from then on,

12      on and off.       And he moved -- when he moved, I took them

13      and put them in safekeeping.           And so they were in my

14      house for a while after I gave it to him, and then back

15      in his house when he moved.           And I think the last time --

16      and every once in a while I'd borrow one, either when he

17      had them or I had them.        The last time I probably did

18      maybe two years ago, but there hasn't been any real

19      occasion to wear them.

20                         I might have -- I might have -- I think I

21      remember him bringing it over when I told you I was

22      doing -- when I was doing the Yankee simulcast or

23      whatever.       I think I asked him to bring a ring.

24                         Also, I remember in 2007 or 2008, if you

25      need further evidence of this, I was being attacked by

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1       the press with complete lies -- that's not unusual --

2       that I had been given those rings -- I think Wayne

3       Barrett wrote this article -- as a bribe in order to

4       provide a new Yankee stadium.

5                        I thought it was a ridiculous article

6       because I don't think somebody would have taken $20,000

7       worth of rings for a $2 billion stadium but -- nor would

8       I have taken one since I was a prosecutor for more years

9       than I was anything else, and an honest person.

10                       And luckily I had kept all my records.                And

11      I had my secretary -- my special assistant, Beth Hatton,

12      who was an extraordinarily remarkably human being -- she

13      had every detail of how much I paid for them, when I paid

14      for them, the two valuations of them.                And I held a press

15      conference, this is when I was running for president.                   I

16      held a press conference and I proved that I paid for

17      every ring.

18                       The press then said, Well, you are lying

19      because the rings are worth more than you say, because

20      they are your rings, and we went to specialists and they

21      had them valued, because they are yours, at more than

22      their actual value.       I said, Well in that case, when I

23      bought this suit which was about 6-, $700, I should have

24      paid 1,200.     Because if I resold the suit as my suit, it

25      would be worth $1,200.

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1                         Oh, and this pen that cost me $100, I

2       should have gone to -- or probably had a Montblanc pen,

3       $500, probably should have said to Montblanc, if it is my

4       pen, how much is it worth?          And they would have said

5       1,500.      Well, I'll pay you another $1,000 or -- I said

6       this is ridiculous because I paid for them the same value

7       what everybody else paid for them.

8                         If I would sell them -- if I spent 20,000

9       and I sold them sometime for 500 or 50,000, I'd have to

10      pay 40,000 in capital gains tax.             That's how it worked.

11      But I don't intend to sell them.             These are my son's

12      rings.      So I always intended to give it to him.              They

13      were his -- even considered them before I gave them his

14      rings.

15                        And then I finally officially gave it to

16      him.     I remember reading something about a father who

17      turned all his property over to his kids before he died

18      so they could have it when they can enjoy it.                 That was

19      probably on my mind when I did it.

20                  Q.    Okay.

21                  A.    That's all I remember about it.

22                  Q.    Thank you, that was very helpful.              So I

23      just want to make sure I'm clear on the timeline.                  So

24      initially there were -- there are four total rings; is

25      that right?

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1                   A.   There were four total rings.              I explained

2       to you the hitch in one of them being missing for about

3       six months.

4                   Q.   Sure.    Sure.     And then at one point, you

5       owned all four of them?

6                   A.   (Nodding head yes.)

7                   Q.   Okay.    And I think you testified -- I'm

8       sorry, could you just answer that verbally?                 At one point

9       you owned all four of them?

10                  A.   Sure, when they were given to me, yes.

11                  Q.   Okay.    And then later you testified that

12      you -- you decided to give one of them to Andrew?

13                  A.   No, immediately.

14                  Q.   Well, I'm just talking about -- you

15      testified that sometime in 2002, you gave one of those

16      rings to Andrew?

17                  A.   I did -- yes, when I first showed it to

18      him, I told him, pick out one.

19                  Q.   Okay.

20                  A.   And he did.      And then I said, I am

21      eventually going to give them all.

22                  Q.   Okay.    So -- and then you told him you

23      would eventually give them all.

24                       And then you testified that you -- then you

25      did give them all to him in 2018?

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1                    A.    I don't remember if it was 2018 or 2019.                      I

2       can't remember if it was 2018.

3                    Q.    That's when you -- that's when you

4       physically gave him all?

5                    A.    Right.

6                    Q.    The other three rings?

7                    A.    Right.     I said, I might as well give them

8       to you.

9                    Q.    And then --

10                   A.    They are yours, do -- do -- I can't, I just

11      can't recall whether it was 2018 or 2019.                     I don't

12      remember if it was my birthday or his birthday.

13                   Q.    Okay.     And your testimony is that, that's

14      when you physically gave him the remaining three rings;

15      is that right?

16                   A.    Uh-huh.

17                   Q.    And after --

18                   A.    Yes.

19                   Q.    -- that point you didn't physically

20      possess --

21                   A.    No.

22                   Q.    -- any of the rings?

23                   A.    Some -- I didn't -- I didn't physically

24      possess them in the sense that I used them on my own free

25      will.       I physically possessed them for a long period of

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1       time when he was moving in order to secure them.

2                   Q.   Do you remember when that was?

3                   A.   2020, 2021.

4                   Q.   Okay.

5                   A.   And then I haven't had them in my house

6       for -- I can't rem- -- seems to me, over a year or two.

7                   Q.   Okay.

8                   A.   So that would be like a one or two-year

9       period in between.       And all during that time, I would

10      occasionally borrow one and I'd make a little joke out of

11      it and I'd ask his permission.

12                  Q.   So whenever you would -- okay.               So

13      starting -- let -- let me back up.

14                       I think you testified that during the time

15      you didn't physically possess them, you still were able

16      to use them of your own free will; is that right?

17                  A.   No, no.     No.     Well, I probably could have.

18      He wouldn't have minded.           But I would -- I would always

19      tell him, asked him or tell him.

20                  Q.   So if -- if you were going to use the

21      rings, you would always ask Andrew's permission?

22                  A.   I would tell him I was, yeah, or ask him.

23      Either -- either way.

24                  Q.   Would you tell him or ask him?

25                  A.   Both.

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1                   Q.   Okay.     And if he had said no, what would

2       you have done?

3                   A.   Not -- not use it.

4                   Q.   Okay.     Did he ever say no?

5                   A.   No.

6                   Q.   Okay.     In your mind, that moment in 2018

7       when you physically gave him the -- strike that.

8                        In your mind, the moment when you

9       physically gave Andrew the remaining three rings, was

10      that the moment when you officially made the gift of

11      those three rings to him?

12                  A.   Yes, I -- right.

13                  Q.   So it would have been the moment when you

14      physically transferred possession to him?

15                  A.   Right, whenever that was, whatever --

16                  Q.   Okay.

17                  A.   -- date that was.           And I -- I recall a

18      picture of handing it over to him that I've seen since

19      then.

20                  Q.   Okay.

21                  A.   Because it was -- it was at an event.

22      He -- it was at a certain event.              I just can't recall the

23      event and somebody took a picture of it.

24                  Q.   Okay.     So you --

25                  A.   And I said, "These for my son Andrew."

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1                   Q.      Okay.   And then there was an event.             There

2       was a picture and then what happened --

3                   A.      And his wife.       There was a picture of me,

4       Andrew and his wife, Živile.

5                   Q.      Okay.

6                   A.      That picture would be the best evidence of

7       the date, if it -- yeah, if it marks the date.                   I don't

8       remember.        Usually pictures do.

9                   Q.      Okay.   And in -- and in your recollection,

10      that's the moment when you physically gave Andrew the --

11                  A.      Yeah.

12                  Q.      -- remaining three rings?

13                  A.      Sort of the thing reversed, right.              So I --

14      they were technically mine and he would occasionally

15      borrow them.        Then they became his and I would

16      occasionally borrow them.

17                  Q.      Okay.   And -- and that transition happened

18      when you made the physical transfer of the remaining

19      three rings to him?

20                  A.      Yeah, and the best evidence of it would --

21      of the date would be -- would be the picture.                   That would

22      help me figure out the date.

23                  Q.      Okay.   Is it possible that it didn't happen

24      exactly then but it happened another time?

25                  A.      At -- at the time of the picture?

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1                    Q.    Yeah, is it possible that -- that the

2       physical transfer of the remaining three rings that you

3       are describing didn't happen when that picture was taken?

4                    A.    I guess anything is possible but that's

5       what I recall.

6                    Q.    Okay.    Have you ever had the rings

7       appraised?

8                    A.    I don't think so because they never were an

9       issue in my -- in my -- Judith never sought custody of

10      them.       So I -- I don't think I ever did.

11                   Q.    Okay.    But Judith never possessed any of

12      the rings?

13                   A.    Oh, no, she -- that was one of the things

14      that she -- she was not going to -- she wasn't going to

15      ask for the ring or my grandfather's watch or a couple

16      things and a couple of things of hers that I would never

17      have asked for.

18                   Q.    Okay.    And -- okay.         Do you recall what you

19      did pay for the rings?

20                         MR. CAMMARATA:        Objection.

21                         THE WITNESS:       Between 20 and 30,000.

22      BY MR. NATHAN:

23                   Q.    Each or total?

24                   A.    Oh, no, total.

25                   Q.    Total?

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1                   A.    They each -- they became significantly more

2       expensive, ridiculously more expensive each year and

3       ridiculously bigger.

4                         So the first one -- this is complete -- for

5       purposes of illustration, the first one, it started at

6       about two or $3,000 and it ended about 12.

7                   Q.    Okay.

8                   A.    So the first one was like 3,000, which

9       would be the Yanks and the Braves.              And the last one,

10      which was also the Yankees and the Braves was -- was like

11      12,000.      And one was about 8,000.          And the other one was

12      about four.      They kept going up.         And the -- the stone

13      kept getting bigger and bigger and bigger.

14                        And the last one was ridic- -- you couldn't

15      wear it any way.      You'd look like it -- you look crazy

16      wearing it.      And now, now they are twice the size of --

17                  Q.    Okay.

18                  A.    -- what they were then.

19                  Q.    Why did you list three Yankees World Series

20      rings as -- among your property when you filed for

21      bankruptcy?

22                        MR. CAMMARATA:       Objection.

23                        THE WITNESS:      Because they probably

24                  were in -- they probably were somewhere in the

25                  divorce papers and they got picked up.

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1       BY MR. NATHAN:

2                   Q.    Okay.   And --

3                   A.    Because I -- a lot of the discrepancies in

4       the bankruptcy papers come about because the best thing I

5       had to give was of the valuations that were done in the

6       divorce.

7                   Q.    Okay.   But if you had a chance to fix that,

8       you would have fixed it?

9                   A.    I would have, yeah.

10                  Q.    Okay.   But the reason it would have said

11      three and not four, that's because Andrew had already

12      taken possession of one of them?

13                  A.    Yeah.

14                        MR. CAMMARATA:       Objection.

15                        THE WITNESS:      Yes, but what I said, I

16                  had -- I had given that one -- gave it to him

17                  right away, right -- right when I got them.

18      BY MR. NATHAN:

19                  Q.    Okay.   Have you ever had any insurance

20      coverage for the rings?

21                  A.    Itemized insurance coverage or -- the items

22      in my -- I don't -- no, I don't think I had itemized

23      insurance coverage, other than general coverage of

24      everything in your apartment.

25                  Q.    Okay.   Sort of a part of your homeowner's

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1       policy?

2                   A.   Right.

3                   Q.   Okay.    Have you ever made any changes to

4       the amount of that coverage?

5                   A.   I probably have, not anything -- not

6       anything to do with the rings.

7                   Q.   Okay.    Do you recall which of the rings was

8       the one that you gave Andrew initially?

9                   A.   I remember -- I remember having a Met ring

10      for a fairly long time because I use -- that's the one I

11      would wear in order to irritate people who were Met fans.

12      Probably wore that more often than any other.                 I don't

13      remember which one he took.

14                  Q.   Okay.

15                  A.   All -- all I can remember is it was not the

16      Met ring.

17                  Q.   Okay.

18                  A.   Which is the one I thought he would take.

19                  Q.   Okay.

20                  A.   If --

21                  Q.   Do you recall speaking to Andrew around

22      January 26th, 2024, about the rings?                 Do you recall

23      speaking to Andrew around January 26th, 2024 --

24                  A.   Do I recall what about Andrew?

25                  Q.   Speaking to him about the rings?

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1                    A.    Well, he -- I don't remember that date but

2       I remember talking about the rings and him telling me --

3       and reminding me that I gave them to him.

4                    Q.    Okay.   Do you remember what exactly was

5       said in that conversation?

6                    A.    He reminded me -- he reminded me, I said I

7       remembered and -- and then -- I don't remember if it was

8       on that occasion or other occasion, he -- he -- he

9       brought me the picture and he showed me the picture.

10                   Q.    Okay.

11                   A.    And I recall the -- the event.

12                   Q.    Why did you need to be reminded that you

13      had given him the rings?

14                         MR. CAMMARATA:       Objection.

15                         THE WITNESS:      Because there are a million

16                   things on my mind, and it would not have been

17                   something that I would necessarily have

18                   remembered.

19      BY MR. NATHAN:

20                   Q.    Okay, so --

21                   A.    I mean, I think it's impossible to recreate

22      how many things I've been through, so I don't know that I

23      would have independently been able to recall -- recall

24      that.       I think I would have but I'm not sure.

25                   Q.    Okay.   You -- so you are not sure whether

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1       you would have been able to independently remember

2       whether or not you've given him the rings?

3                   A.       The minute he said it, I remembered it.

4       And I remembered it was a birthday occasion.                     But if out

5       of the blue you asked me to recite, yeah, if I -- if I

6       was going to tell the story I just told, I would remember

7       it.   But it was not a fact that I carried around in my

8       head all the time.

9                   Q.       Okay.   Do you remember any specific details

10      of the conversation you had with Andrew at that time, in

11      January 2024?         Do you remember any specific words that

12      were said?

13                  A.       No, I remember the subject.              I remember the

14      picture.         I remember recalling -- at that time, I recall

15      the event, meaning whether it was his birthday or mine.

16      Right now I'm a little unclear about which event it was.

17      And when he showed me the picture, I recalled it even

18      more vividly.

19                  Q.       Okay.   Do you remember -- at that event, do

20      you remember exactly what words you used when you told

21      Andrew you were giving him the rings?

22                  A.       No, I remember the substance of it which

23      these are -- something like as you know, I've always --

24      these are yours when I die, so you might as well have

25      them now.         Something like that, like a joke, or you might

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1       as well enjoy them now.

2                   Q.       Okay.   Something --

3                   A.       And then he said something about of course

4       you can always use them when you went and -- and we

5       hugged and kissed and I gave him the rings.

6                   Q.       Okay.   Do you remember whether you said you

7       might as well have them now, or you might as well enjoy

8       them now?

9                   A.       I could have said that, yeah.              That's what

10      I meant.         I meant he should enjoy them now, why wait

11      until I die.

12                  Q.       I think I may not have been clear.               You

13      testified that you said something like these are yours

14      when I die, so you might as well have them now, or you

15      might as well enjoy them now.

16                           Do you remember which of those two it was?

17                  A.       If I had to use my own words, I would say

18      these are yours now.

19                  Q.       That's that you would say --

20                  A.       That's what I think I said.              Something like

21      that.

22                  Q.       Okay.   Do you have anything that can

23      confirm one way the other which of those two things you

24      said?

25                  A.       Uh-uh, all I can do is give you my best

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1       recollection.

2                   Q.    Sitting here today, as far as you can

3       recall, it could have been either one?

4                   A.    Could have been either one.

5                   Q.    Okay.

6                   A.    The intent was to give them to him and they

7       would be his.

8                   Q.    Okay.    And that happened when you

9       physically gave the three rings to him?

10                  A.    It happened on the date of that picture,

11      right.

12                  Q.    Okay.    Well, I think you testified -- so

13      the act of physically giving him the other three rings,

14      that was the moment when you gave him -- when you

15      transferred ownership of the rings to him?

16                  A.    Yes, when I -- yes.

17                  Q.    Okay.    Do you know what the Giuliani

18      Freedom Fund is?

19                        MR. CAMMARATA:        Objection.

20                        THE WITNESS:       That is a fund that is run to

21                  raise money to help pay my legal fees.              There are

22                  two of them.    There are two such funds.             And

23                  that's one of them.

24      BY MR. NATHAN:

25                  Q.    Okay.    What's the other one?

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1                   A.    GoFundMe or something like that.

2                   Q.    Do you know what -- excuse me.

3                   A.    It's like a GoFundMe fund.               One is run by

4       Andrew.      He's the trustee of it.         And the other is run by

5       Jake Menges.

6                   Q.    Okay.   Do you know what Giuliani Defense

7       is?

8                   A.    Pardon me?

9                   Q.    Giuliani Defense, do you know what that is?

10                  A.    That's one of the -- that's one of the

11      funds.

12                  Q.    Okay.

13                  A.    I'm not sure which one -- I'm not sure of

14      the name of the one that Andrew is the trustee of and the

15      one that Jake Menges is the trustee of.

16                  Q.    Okay.

17                  A.    Jake's precedes Andrew's.

18                  Q.    Okay.   I'll -- does it sound right to you

19      that Jake Menges is the trustee of Giuliani Freedom Fund

20      and Andrew is in charge of Giuliani Defense?

21                  A.    Yes -- I mean, yes, but I could have

22      reversed them too.

23                  Q.    Okay.   I'll represent to you that that's

24      the --

25                  A.    I have no reason to disagree with that.

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1                   Q.   No reason to disagree, okay.                To what

2       extent are you aware of the activities of Giuliani

3       Freedom Fund?

4                   A.   Just what they tell me.

5                   Q.   Is Jake Menges somebody you trust?

6                   A.   A hundred percent.

7                   Q.   Okay.     If Giuliani Freedom Fund were to

8       communicate something to the public that purported to be

9       on your behalf, would he let you know first?

10                  A.   I don't -- there isn't any kind of rule

11      like that, no.

12                  Q.   But if he were going to say something -- if

13      he were going to put words in your mouth, would he talk

14      to you about it first?

15                  A.   I don't know.         I mean I don't know.            There

16      is no -- he's worked with me for so long and made

17      comments to the press for me for so long.                   He worked with

18      me for eight years when I was mayor.                  And he's helped run

19      my presidential campaign.          I think he -- he'd feel a

20      certain freedom to speak for me, yeah.

21                  Q.   Okay.     And in particular, if Giuliani

22      Freedom Fund were to distribute a fundraising appeal that

23      included a personal message or something purporting to be

24      a personal message from you --

25                  A.   Uh-huh.

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1                    Q.    -- would you review that message before it

2       was circulated to the public?

3                    A.    Not always.     I mean, he would do it on his

4       own.

5                    Q.    Okay.   So Giuliani Freedom Fund might send

6       out a fundraising appeal with a message that purports to

7       be from you personally, but that actually came from Jake

8       Menges?

9                    A.    I don't remember them doing that but it

10      wouldn't surprise me if they would do that.                  Because I

11      try -- I mean, I try very hard to stay as far away from

12      the fund as I can.

13                   Q.    Okay.   Is the same true for Giuliani

14      Defense?

15                   A.    Same thing.

16                   Q.    So Giuliani Defense might put out a

17      fundraising appeal with a message that purports to be

18      from you personally, but actually --

19                   A.    Yeah, I don't know that that's to be the

20      case.       It wouldn't shock me if that happened.

21                   Q.    Okay.   Other than the issues we just

22      discussed with respect -- well, strike that.

23                         Do you have any documents to support the

24      story that you just told me about the four World Series

25      rings?

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1                   A.    Not about -- I have documents about the

2       purchasing of them.

3                   Q.    Well, let's limit it to a narrower time

4       period.      Do you have any documents --

5                   A.    That's way back.

6                   Q.    -- to support the story you told me about

7       giving Andrew the three rings at all?

8                   A.    No, we never did a -- like a bill of sale.

9                   Q.    There are no documents to support --

10                  A.    I don't remember doing any writing about

11      it, no.

12                  Q.    There are no documents that would support

13      that?

14                  A.    Except for the picture, I don't think so.

15                  Q.    Okay.   Are there any communications that

16      would support that?

17                  A.    Like an email or a...

18                  Q.    Any communications of any kind that

19      would --

20                  A.    I just recall it being oral.

21                  Q.    Okay.   So --

22                  A.    I handed it to him and that was it.

23                  Q.    So there are no communications that would

24      support the contention that you gave Andrew the other

25      three World Series rings?

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1                         MR. CAMMARATA:       Objection.

2       BY MR. NATHAN:

3                   Q.    Other than the one that he --

4                   A.    There is nothing that would support that I

5       gave him the first one.         I just gave it to him.

6                   Q.    Okay.   Is there anything that's relevant to

7       you giving Andrew any of the World Series rings that you

8       haven't shared?

9                   A.    Not that I can think of.

10                  Q.    Okay.   Okay.     I'd like to ask you a little

11      bit about Standard USA, LLC.           Do you know what Standard

12      USA, LLC is?

13                  A.    Sure.

14                  Q.    What is it?

15                  A.    It's the company that -- its main -- its

16      main business is producing and marketing the America's

17      Mayor Live.      And also all of my media and -- my media and

18      communication business.

19                  Q.    Okay.   Who owns Standard USA, LLC?

20                  A.    Myself, Dr. Ryan, and Theodore Goodman.

21                  Q.    Okay.   Are you the majority owner of

22      Standard USA, LLC?

23                  A.    Yes, I am.

24                  Q.    Okay.   Who has managerial control over

25      Standard USA?

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1                   A.      De facto, Marie Ryan.                She runs it.

2                   Q.      Okay.     What do you mean by de facto?

3                   A.      I don't know that we wrote that down

4       anywhere.        We don't have those kinds of detailed

5       documents.        That's how -- that's how we -- she runs it

6       day to day and tells us what to do.                      I'm the talent.

7                   Q.      Is there an operating agreement for

8       Standard USA, LLC?

9                   A.      No.

10                  Q.      Is there any sort of membership agreement?

11                  A.      Just the corporate papers and -- I don't

12      think so.

13                  Q.      Okay.     Are there any documents that would

14      assign legal authority for any individual to act on its

15      behalf?

16                  A.      Yes.

17                  Q.      What are those?

18                  A.      Well, the bank account.

19                  Q.      Let me clarify.          Are there any corporate

20      documents that would assign legal authority --

21                  A.      I would have to look.                I think there might

22      be one that was produced -- one that was done in order to

23      set up different accounts that makes her the person in

24      control of that.

25                  Q.      In control of the bank account?

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1                   A.    Yes.    She -- she is -- she and Ryan are the

2       signatories of the bank account.

3                   Q.    Meaning, Maria Ryan and Ryan Medrano?

4                   A.    Yes, the two Ryans.

5                   Q.    So the document you are referring to that

6       would give Dr. Ryan authority is a document in connection

7       with the bank account that gives her signatory authority

8       on the bank account?

9                         MR. CAMMARATA:        Objection.

10                        THE WITNESS:       Yes.

11      BY MR. NATHAN:

12                  Q.    Okay.    But internal to Standard USA, LLC,

13      there is no -- is there any document that I would assign

14      authority to act to any particular member of the LLC?

15                  A.    I don't remember.

16                  Q.    Okay.    Do you take distributions and

17      profits from Standard USA?

18                  A.    We haven't done that yet.            It's only been

19      in existence for what, six, seven months.                   So we haven't

20      had -- we haven't distributed any profits.

21                  Q.    Okay.    How -- are you paid by Standard USA,

22      LLC?

23                  A.    I don't think I've received any money from

24      there.      I would be paid out of the profits.

25                  Q.    If you were paid by Standard, it would

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1       be --

2                   A.   Right.

3                   Q.   -- out of the profits?

4                   A.   Yes.

5                   Q.   Okay.    You don't take a salary as though

6       you were an employee though?

7                   A.   I don't.

8                   Q.   Okay.    But -- but you have not been paid at

9       all --

10                  A.   I've got to check.

11                  Q.   -- from Standard?

12                  A.   Please let me check that.             I'm not sure.

13                  Q.   Okay.    If -- if you were paid, it would be

14      out of the profits of the LLC, though, that's your

15      testimony?

16                  A.   I believe that's right.             I would have to

17      check that --

18                  Q.   You believe based on what?

19                  A.   Just my recollection of having read it a

20      while back and talking about it.

21                  Q.   Have you entered any employment agreement

22      with Standard USA?

23                  A.   I -- I think by signing the corporate

24      documents, I did because the corporate documents say --

25      layout, you know, that I'm going to conduct a show and --

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1       and speak and -- I'd have to go back and look at the

2       corporate documents.        I do know there is something in

3       there about my -- the value of certain things going to

4       them.

5                        For example, I, with Giuliani Partners, ABC

6       employed me as part of -- of Giuliani Communications.

7       And ABC paid Giuliani Communications and they paid me.

8                   Q.   Okay.    Well, right now --

9                   A.   And --

10                  Q.   Right now I'm just asking you about

11      Standard USA though.

12                       So your relationship --

13                  A.   I think -- I think -- I think we carried

14      over the same arrangement to Standard USA.

15                  Q.   And your relationship with Standard USA is

16      as an owner or a part owner, I should say, of the LLC; is

17      that right?

18                  A.   Correct.

19                  Q.   Okay.    So you are entitled to a share of

20      the profits?

21                  A.   Right.

22                  Q.   Okay.    Have you produced any documents --

23      any corporate documents relating to Standard USA LLC?

24      Strike that.

25                       Do you have access to the corporate

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1       documents of Standard USA LLC?

2                   A.    Sure, I'm sure if I ask for them, I get

3       them.

4                   Q.    Okay.   Why did you create Standard USA LLC?

5                   A.    Because the -- the Giuliani Communications

6       account was frozen and therefore, I couldn't pay any of

7       the -- I couldn't pay any of the obligations out of it,

8       so I had to -- and I was going to -- I was going to move

9       it to Florida any way, so we decided to open up a new --

10      a new corporation in Florida so that it would be free of

11      that and therefore -- I mean, it was mostly opened up as

12      an emergency to make sure we can pay our bills so we can

13      keep going.

14                  Q.    Okay.   And I think you said if you were

15      paid out of Standard USA, it would have been a

16      distribution of the profits.

17                        Who decides when profits are contributed

18      for Standard?

19                  A.    We haven't had a meeting yet but we would

20      decide.      I mean, Ryan would really tell, Ryan would

21      really tell us.

22                  Q.    Ryan would tell you based on what?

23                  A.    Based on his keeping the books.

24                  Q.    Okay.   And if you had a disagreement among

25      the three members of Standard USA, how would you resolve

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1       that disagreement about what to do?

2                            MR. CAMMARATA:       Objection.

3                            THE WITNESS:      We'd sit down and talk about

4                   it.

5       BY MR. NATHAN:

6                   Q.       Okay.

7                   A.       And probably all end up agreeing.

8                   Q.       Would your views have any more weight

9       because of the size of your stake in the company?

10                  A.       I would, sure.       I would but on the other

11      hand, we very -- very much respect Maria's business

12      judgment.         So I don't know that she would have as -- as

13      much -- she'd have a very important voice.                    And I don't

14      tend to do business -- I mean, I would prefer to do

15      business without any agreement.                And if we have a

16      disagreement, we just split it in half.

17                           I made a fortune with the Washington

18      Speakers Bureau without a single contract.                    We had two

19      disagreements and we split it in half.                  He thought I

20      should pay for something.            I thought he should pay for

21      something.         So I paid for half of it and he paid for it

22      and we did that twice and we probably made $50 million

23      together.

24                  Q.       That was during your time at Washington

25      Speakers Bureau?

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1                   A.      Uh-huh.

2                   Q.      Not with Standard USA?

3                   A.      Pardon me?

4                   Q.      That didn't describe anything that occurred

5       at Standard USA?

6                   A.      No, but I'm telling you how I prefer to do

7       business.        I don't -- I don't -- I think if you have

8       spends a lot of time disagreeing with your partners, you

9       better not be partners.

10                  Q.      Okay.     So you prefer to do business without

11      formal --

12                  A.      Yeah, I don't -- I don't anticipate that

13      we'd have something we wouldn't agree on.

14                  Q.      Okay.

15                  A.      Or compromise, I should say.

16                  Q.      Okay.     Let me just, just so the record is

17      clear, you prefer to do business without formal legal

18      agreements?

19                  A.      I do.

20                  Q.      Okay.

21                  A.      Because if you need formal legal

22      agreements, you probably don't trust each other.

23                  Q.      Okay.     I'd like to ask you now about

24      Giuliani Communications LLC.

25                          Do you know what that is?

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1                   A.   That was my -- that is -- I mean, I guess

2       it's still in -- I guess it's still in existence but that

3       was my former company.

4                   Q.   Okay.    Who owns Giuliani Communications

5       LLC?

6                   A.   I believe I own that.

7                   Q.   Okay.    You own all of that one?

8                   A.   I think now I do -- no, I think I --

9       Giuliani Partners had a lot of different partners at

10      different times.      And technically, I'm not sure if

11      Giuliani Partners doesn't own Giuliani Communications.

12      I'm not sure if I own it or Giuliani Partners owned it

13      but I'm the only partner left at Giuliani Partners.                   So

14      either way, I own it.

15                  Q.   Okay.    So one way or another --

16                  A.   Right.

17                  Q.   -- you are the sole owner of Giuliani

18      Communications?

19                  A.   One way or another, right.

20                  Q.   One way or another, you are entitled to all

21      the profits of Giuliani Communications?

22                  A.   That is correct.

23                  Q.   Okay.    Have you ever taken a distribution

24      or profits from Giuliani Communications?

25                  A.   Sure, yes.

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1                   Q.    Okay.   When have you done that?

2                   A.    You have to -- I mean, I wouldn't want

3       to -- it's in the tax returns, and it's in the record.                       I

4       mean, I don't remember exactly when.

5                   Q.    Okay.   Was there any regularity to the

6       profit distributions you would take?

7                         MR. CAMMARATA:       Objection.

8                         THE WITNESS:      No.     It was always when Ryan

9                   felt there was enough money to distribute.

10      BY MR. NATHAN:

11                  Q.    Okay, and -- okay.         So would it be fair to

12      say it was ad hoc?

13                  A.    Yeah, yeah.

14                  Q.    Okay.   What would have been a reason for

15      taking a distribution from Giuliani Communications?

16                  A.    To pay bills.

17                  Q.    Okay.   So whenever you had a financial

18      need, you -- you could call on the profits from Giuliani

19      Communications?

20                  A.    Usually I -- no, I can't say -- no,

21      sometimes I couldn't get it.           There was no profit.

22                  Q.    Okay.

23                  A.    But if there was a profit -- well,

24      sometimes -- sometimes there was, and sometimes he would

25      say, "This is a good time to distribute $10,000."

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1                   Q.      Okay.     But if you had a financial need --

2                   A.      If I had a financial need, I -- I would --

3       I could call him.           And if he had the money, he would give

4       it to me.        If not, he would say, well, you have to wait a

5       little while.

6                   Q.      Okay.

7                   A.      The more often it was, he would distribute

8       it to me when he had it and therefore, I didn't have to

9       do that.

10                  Q.      Okay.     Did you need anybody's approval to

11      take a profit distribution from Giuliani Communications?

12                          MR. CAMMARATA:         Objection.

13                          THE WITNESS:        I didn't technically need

14                  anyone's approval but I never did it without Ryan.

15                  A few times I asked and he couldn't do it, I

16                  didn't -- I didn't just go take it.

17      BY MR. NATHAN:

18                  Q.      Okay.     But if you --

19                  A.      Like, he said it's more prudent -- it

20      wasn't that he couldn't give it to me.                   He would say to

21      me, it's more prudent if we wait a little because we have

22      these bills coming up.            I could give it to you now if you

23      really need it, but let's wait.                 And I'd say, let's wait.

24                  Q.      Okay.     So you would -- you would

25      voluntarily follow his advice?

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1                   A.    Yeah, I would voluntarily follow his advice

2       but it was more than voluntary because of our working

3       relationship.

4                   Q.    Okay.

5                   A.    I mean, I valued his judgment.

6                   Q.    And if -- and if --

7                   A.    It would be better than mine on something

8       like that.

9                   Q.    If you gave him an instruction?

10                  A.    If I told him you have to give it to me,

11      the corporate regulations would allow me to do that.

12                  Q.    And he would have had to follow that

13      instruction?

14                  A.    I think, yeah.

15                  Q.    Okay.     Did you ever use funds in Giuliani

16      Communications, LLC to pay personal expenses?

17                        Let me clarify.          Did you ever use -- did

18      you ever transfer money directly from Giuliani

19      Communications, LLC to pay a personal expense?

20                  A.    No.     Well, a --

21                        MR. CAMMARATA:         Objection.

22                        THE WITNESS:        I'm not sure I know exactly

23                  what you mean.      If I -- if I -- usually the

24                  opposite.     I would -- I'd pay for things

25                  personally for the company because I get confused

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1                   with the credit cards or I didn't want the company

2                   to incur the money -- the expense so I would --

3                   I'd buy it and give it to the company.

4       BY MR. NATHAN:

5                   Q.    But you were careful not to --

6                   A.    I was careful not to do it the other way

7       around.

8                   Q.    Careful not -- and just to be clear, you

9       were careful not to directly pay personal expenses out of

10      Giuliani Communications, LLC?

11                        MR. CAMMARATA:       Objection.

12                        THE WITNESS:      I don't recall ever doing it.

13      BY MR. NATHAN:

14                  Q.    Okay.   Why wouldn't you have done that?

15                        MR. CAMMARATA:       Objection.

16                        THE WITNESS:      I didn't have to.         And if I

17                  did, I mean, sometimes I -- I don't know if I ever

18                  did it with Giuliani Communications, LLC.

19                        Sometimes over the years with Giuliani

20                  Partners I might do that and then I'd make out --

21                  I might used it -- most often I didn't even have

22                  the corporate credit card, so Ryan kept the

23                  corporate credit card.        So I hardly ever used it.

24                        But when I was in law practice or -- I

25                  would then keep a record of it and reimburse it.

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1       BY MR. NATHAN:

2                   Q.       I'm just trying to get clear on the

3       testimony you gave because I think you said you

4       occasionally would pay for Giuliani Communications

5       expenses out of your personal funds, but that you were

6       careful not to do it the other way around; is that

7       accurate?

8                   A.       Yes.

9                   Q.       Okay.   And why were you careful not to do

10      it the other way around?

11                  A.       Because it would be a tax issue.             Then I'd

12      have to remember it and list it as income and I might

13      miss it.         I like the idea of the money going to the

14      corporation and then the corporation paying me and we not

15      mix that up, so that even though I was getting income

16      from five different sources, it was all being registered

17      in one place.

18                           And I always used one checking account so

19      that we didn't have to go looking around for what I paid,

20      so that my accountant could double-check what I did.

21                  Q.       Okay.   So was it your feeling that there

22      would be anything improper about Giuliani Communications

23      directly paying your personal financial expenses?

24                           MR. CAMMARATA:       Objection.

25                           THE WITNESS:      No.     You'd just have to

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1                   discuss it with your -- if -- if I would have used

2                   Giuliani Communications to pay for personal

3                   expense or Standard to pay for personal expense,

4                   then I'd have to do one of either two things.                I'd

5                   have to -- by the end of the year, or the end of

6                   the tax year, I'd have to reimburse them or I'd

7                   have to take as income.

8                         And I didn't like doing that because that's

9                   when you sort of miss things.            You know, if you

10                  keep it clean, you don't miss it.              But I think

11                  occasionally that probably happened over the years

12                  where Joe has had to impute income to me or I had

13                  to make a check.     He used to always say this is

14                  really stupid because you pay for a lot of

15                  corporate expenses all by yourself.

16      BY MR. NATHAN:

17                  Q.    Okay.   And how would Joe know to impute

18      income to you?

19                  A.    Huh?

20                  Q.    How would Joe know in those -- and by Joe,

21      I'm sorry, we're talking about Joe Ricci?

22                  A.    Yeah, he would do it when he was auditing.

23                  Q.    Okay.   And he would be auditing records

24      that you provided for him?

25                  A.    Yeah, I believe it happened maybe twice

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1       over 25 years, 24 years.

2                   Q.       Would there be any documentation -- okay.

3       Strike that.

4                            If Giuliani Communications had paid for any

5       personal expenses of yours this year, would you have

6       documentation of that?

7                            MR. CAMMARATA:       Objection.

8                            THE WITNESS:      There would be records at

9                   Giuliani Communications.            I don't think it did,

10                  but...

11      BY MR. NATHAN:

12                  Q.       Okay.   Other than Standard USA, LLC, have

13      you formed any other companies in the last year?

14                  A.       Did I form any other companies?             No, sir,

15      no.

16                  Q.       Are you aware -- strike that.

17                           Does Giuliani Communications, LLC owe

18      anyone money?

19                           MR. CAMMARATA:       Objection.

20                           THE WITNESS:      I'd have to -- I don't know.

21                  You'd have to ask Ryan that.

22      BY MR. NATHAN:

23                  Q.       Okay.   As far as you are aware, it doesn't

24      have -- you are not aware of any liabilities?

25                  A.       I'm not aware that it does or that it

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1       doesn't.

2                   Q.       Okay.    So for most issues relating to

3       the -- to any of your companies, the person to ask about

4       them would be Ryan Medrano?

5                   A.       Yes, Ryan would know by far the most, yes.

6                   Q.       Okay.    And Maria Ryan would know something?

7                   A.       More the current -- things in the past,

8       Ryan would know.

9                   Q.       And Maria Ryan would know --

10                  A.       If you were asking about Giuliani

11      Communications, Ryan would know that.                    Maria would know

12      very, very little.           If you are asking about Standard,

13      they probably have pretty much overlapping knowledge.

14                  Q.       Okay.    Okay.

15                           MR. NATHAN:      I'd like to take one more

16                  break if that's all right with everyone.

17                           MR. CAMMARATA:        We're getting close,

18                  though.

19                           THE WITNESS:       Why do you want to take a

20                  break?

21                           MR. NATHAN:      Take one more break and then

22                  hopefully we can come back and wrap up.

23                           THE WITNESS:       Okay.      I thought we were

24                  finishing at 5:00.

25                           MR. CAMMARATA:        I mean, how much are you

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1                   anticipating?

2                          THE REPORTER:         Can we go off the record?

3                          THE VIDEOGRAPHER:           This is the end of Media

4                   5.   The time is 4:55 p.m.            We're going off the

5                   record for media change.

6                          (A recess is taken.)

7                          THE VIDEOGRAPHER:           This is Media Number 6

8                   in the deposition of Rudolph W. Giuliani.                 The

9                   time is 5:07 p.m.        We're back on the record.

10      BY MR. NATHAN:

11                  Q.     Mr. Mayor, during the break, did you

12      discuss your testimony with anyone?

13                  A.     No.

14                  Q.     Okay.     As you sit here now, is there

15      anything about the testimony you've given today that you

16      feel the need to change?

17                  A.     No, sir.

18                  Q.     I think we discussed earlier that sometimes

19      you'll give an answer and then subsequently you will

20      think of something else.

21                  A.     No.

22                  Q.     Have you thought of anything else?

23                  A.     Nothing has come to mind.

24                  Q.     Okay.     So at least as far as you -- as far

25      as you know sitting here today, you've told me about

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1       everything that you think is relevant to your claim that

2       you established a homestead in the Palm Beach condo?                    At

3       least as far as you know, sitting here today?

4                   A.   I do.     I do.     I think I have.         I'm not --

5       there are just so many facts that went into the decision,

6       I feel a little inadequate in describing it, but I think

7       I have.

8                   Q.   And same question regarding the World

9       Series rings.     Sitting here today, you don't recall

10      anything else that you know that would be relevant to the

11      World Series rings?

12                  A.   No.     No, sir.

13                  Q.   Do you have any financial assets located

14      outside of the United States?

15                  A.   Do I have any what?

16                  Q.   Financial assets located outside of the

17      United States?

18                  A.   No, sir.

19                  Q.   Anyone outside of the United States who is

20      holding money for you?

21                  A.   No.

22                  Q.   Anyone outside of the United States who

23      owes you money?

24                  A.   Not that I know of -- not that I know of.

25                  Q.   That would be good news if it were true,

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1       right?

2                   A.      Yeah, let me know.

3                   Q.      Yeah.

4                   A.      No, I don't have anything outside the

5       United States.

6                   Q.      Do you own any -- do you own any

7       cryptocurrency?

8                   A.      Pardon me?

9                   Q.      Do you own any cryptocurrency?

10                  A.      No.

11                  Q.      Does anyone hold any cryptocurrency for

12      you?

13                  A.      No, sir.

14                  Q.      Where is the signed Joe DiMaggio jersey

15      that you own?

16                          MR. CAMMARATA:         Objection.

17                          THE WITNESS:        I don't know.          The last time

18                  I saw it, it was on the wall where it's always

19                  been.

20      BY MR. NATHAN:

21                  Q.      Where is that?

22                  A.      At 45 East 66th Street.

23                  Q.      And it's always been there as far as you

24      know?

25                  A.      Well, always been there meaning from about

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1       the time that I got it, yeah.

2                    Q.    Okay.   Did you ever move it to Florida?

3                    A.    I did not.

4                    Q.    Okay.   It's never been located in Florida?

5                    A.    Never has.

6                    Q.    Okay.   Did you take any steps to move it

7       out of your New York City apartment?

8                    A.    I did not.

9                    Q.    Did anyone move it outside of the New York

10      City apartment on your behalf?

11                   A.    No, I would have thought it would be with

12      the items that are -- that you showed me.

13                   Q.    For the last three months, how have you

14      paid your day-to-day expenses?

15                   A.    I -- well, I don't have a checking account.

16      I have some cash left over.            So I probably have used

17      that.       You'd have to ask Dr. Ryan.          I think she paid one

18      bill of mine.

19                   Q.    Did she pay that out of her own money or

20      out of your money?

21                   A.    No, no, out of her own money.

22                   Q.    You said you had some cash left over.               What

23      cash do you mean?

24                   A.    Just cash I had around the house.              I just

25      used it all up.

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1                   Q.       Like paper money?

2                   A.       Yeah, paper money.

3                   Q.       Okay.   And how much -- about how much did

4       you have left over, how much paper money?

5                   A.       500, $600.

6                   Q.       Other than Maria Ryan paying one bill on

7       your behalf and spending that leftover paper money, what

8       other ways do you pay for your day-to-day expenses?

9                   A.       The -- sometimes Ted buys lunch.             Sometimes

10      a friend.         I don't have -- I don't have any other

11      expenses.         My -- it would be a problem next month because

12      I have to pay the -- I have to pay the maintenance -- I

13      pay maintenance on the Florida condo every three months.

14                           So there hasn't been a payment.             I made

15      that payment back in -- I guess since September or

16      October.         That paid the last three months.             But that will

17      come up now in -- that will come up in January.                     That

18      covers most of the utilities.

19                  Q.       When you made the last payment of your --

20                  A.       The condo.

21                  Q.       -- maintenance fees for the condo, how did

22      you make that payment?

23                  A.       By check.

24                  Q.       Out of what funds did you make that

25      payment?

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1                   A.   My usual checking account.

2                   Q.   By your usual checking account --

3                   A.   Chase -- maybe out of the one that I had

4       for a short period that's been frozen -- the New

5       Hampshire account.

6                   Q.   But sitting here today, you can't say for

7       certain which checking account you used?

8                   A.   I'm pretty certain it was that one.

9                   Q.   Okay.    So you made that payment out of

10      funds that were available to you that had been deposited

11      into one of your personal checking accounts?

12                  A.   Yes.

13                  Q.   Okay.    Do you recall the source of the

14      income that was deposited into your checking accounts?

15                  A.   I don't.

16                  Q.   Okay.    When Ted pays for lunch -- I'm

17      sorry, strike that.

18                       Do you know how much you pay Ted Goodman?

19                  A.   I believe we pay Ted $5,000 a month.

20                  Q.   Okay.    Is -- is Ted's employment with you

21      his only employment?

22                  A.   No, Ted does consulting work as well but

23      not much, but he does some.

24                  Q.   Okay.    Are you aware of his income from

25      that other consulting work?

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1                   A.   I am not.

2                   Q.   Okay.    As far as you know -- strike that.

3                        You are not aware one way or another

4       whether he earns income from his consulting work?

5                   A.   He does but I don't think he earns a great

6       deal.

7                   Q.   Okay.    Would you estimate that he earns

8       more or less than $5,000 a month from his consulting

9       work?

10                  A.   He probably earns -- I don't know.                 You'd

11      have to -- you'd really have to ask him.                   I don't want to

12      guess.

13                  Q.   Okay.    Other than Ted buying lunch

14      occasionally, who pays for your meals?

15                  A.   Dr. -- Dr. Ryan probably pays for them.

16                  Q.   Okay.    And she pays out of her funds or out

17      of your funds?

18                  A.   I don't have any funds.

19                  Q.   Does that mean that she pays out of her

20      funds?

21                       MR. CAMMARATA:        Objection.

22                       THE WITNESS:       Again, you'd have to ask her.

23      BY MR. NATHAN:

24                  Q.   Okay.    Who pays for your air travel?

25                  A.   Pardon me?

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1                   Q.    Who pays for your air travel?

2                   A.    The business.

3                   Q.    Which business?

4                   A.    Standard or it might be reimbursed by

5       whoever is inviting me.          Most often, it's reimbursed.

6                   Q.    Okay.     And who pays for your cigars?

7                   A.    I don't -- I haven't bought cigars in, I

8       don't know, how long.

9                   Q.    Okay.     Who -- when you take Ubers, who pays

10      for your Ubers?

11                        MR. CAMMARATA:         Objection.

12                        THE WITNESS:        Usually reimbursed or the

13                  business.

14      BY MR. NATHAN:

15                  Q.    So if the business is not paying and if --

16      if -- strike that.

17                        If you need to pay an expense and the

18      business is not paying and it's not reimbursed, would it

19      be fair to say that Maria Ryan funds the payment of those

20      expenses?

21                  A.    More often than anybody else, right.

22                  Q.    How often do other people pay your

23      expenses?

24                  A.    Every -- every so often.             I don't have that

25      many expenses.

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1                   Q.    Okay.   How does Maria Ryan make a living?

2                         MR. CAMMARATA:       Objection.

3                         THE WITNESS:      She -- she gets paid from

4                   Giuliani Partners -- from Standard and she gets

5                   about, I think, 10,000 a month.

6       BY MR. NATHAN:

7                   Q.    Is that a salary?

8                   A.    That's a salary, yes.

9                   Q.    Okay.   Has that salary changed at any point

10      in the last year?

11                  A.    I don't think so.         Maybe it was 8,000.        It

12      went to 10,000.       I'm not sure.

13                  Q.    When would that change have occurred?

14                  A.    A year ago.

15                  Q.    Does she also own a share of Giuliani --

16      excuse me --

17                  A.    She does.

18                  Q.    -- Standard USA?

19                  A.    Yes.

20                  Q.    Okay.   Do you know her share?

21                  A.    15 percent, I think.

22                  Q.    Okay.   And did she --

23                  A.    Oh, maybe ten.

24                  Q.    Did she own a share of Giuliani

25      Communications, LLC?

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1                   A.    No.
2                   Q.    Okay.     Did Ted Goodman own a share of
3       Giuliani Communications?
4                   A.    Pardon me?
5                   Q.    Excuse me.
6                         Did Ted Goodman earn a share of Giuliani
7       Communications, LLC?
8                   A.    No.
9                   Q.    Does Ted Goodman own a share of Standard
10      USA LLC?
11                  A.    He does.
12                  Q.    And what's the size of his share?
13                  A.    Five or ten.
14                  Q.    Okay.     Have any distributions or profits
15      been made to Maria Ryan out of Standard USA LLC?
16                  A.    Not that I know of.
17                  Q.    Have many --
18                  A.    Again, you'd have to ask Ryan that.
19                  Q.    Excuse me, I'd have to ask who that?
20                  A.    Ryan -- Ryan --
21                  Q.    Ryan Medrano?
22                  A.    I haven't asked him.               Dr. -- no, no, Ryan
23      Medrano or Dr. Ryan I guess, either Ryan in that case.
24                  Q.    Either Ryan Medrano or Dr. Maria Ryan?
25                  A.    Correct, I don't think there's been any

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1       distribution of profit but --

2                   Q.    Okay.

3                   A.    -- again, I can't be absolutely sure of

4       that.

5                   Q.    Same question about Ted, has any

6       distribution profits been made --

7                   A.    Same answer.

8                   Q.    Thank you.

9                         Okay.     Are you aware of any other sources

10      of compensation that Maria Ryan earns?

11                  A.    She's on boards.          You'd have to ask --

12      you'd have to ask her.          I think so but I'd only be

13      guessing at it.

14                  Q.    Okay.     Okay.     Is it your testimony that

15      you've -- that you have never received a distribution of

16      funds from Standard USA?

17                        MR. CAMMARATA:         Objection.

18                        THE WITNESS:        I think before -- I think

19                  I -- I think I received $10,000 at some point but

20                  not recently.     I think.

21      BY MR. NATHAN:

22                  Q.    What does "recently" mean?

23                  A.    Meaning in the last month, while I was

24      having difficulty paying bills.

25                  Q.    Okay.     You said earlier that you -- that

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1       you were -- that you were not aware of any distributions

2       or profits that had been made out of Standard USA LLC; is

3       that correct?

4                   A.   Yes, I don't think -- I think -- I think

5       they paid me like as if it was a salary.                   You'd have to

6       ask Ryan how he booked it.

7                   Q.   But you are not aware one way or the

8       other -- well, are you certain that you did receive --

9                   A.   No, I'm not certain but I think I did.

10                  Q.   Just -- just so the record is clear.                 You

11      are not certain whether or not you received a payment

12      from Standard USA LLC?

13                  A.   I'm not.

14                  Q.   And if you did receive a payment, you are

15      not aware of whether it was a profit distribution or some

16      other form of payment?

17                  A.   I would assume it was some other form of

18      payment because I think I would have had to have approved

19      the profit distribution I think but...

20                  Q.   Okay.    But one way or the other, Ryan

21      Medrano or Dr. Maria Ryan would know the answer to these

22      questions?

23                  A.   Yeah, more likely that one, Ryan Medrano

24      would know the answer to.

25                  Q.   Okay.    So if -- if you and he had different

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1       recollections, his recollection would be the one --

2                   A.   Uh-huh.     Yes.

3                   Q.   -- you'd trust?

4                   A.   Yep.     No question about it.

5                   Q.   Okay.     How much work have you performed for

6       Standard USA LLC?

7                   A.   I do a -- well, let me separate it now.                 I

8       do a show between 7:00 and 8:00, five days a week for

9       Frank Network.        They pay me and I turn -- they're

10      supposed to pay Standard.           Occasionally, they make the

11      check out to me and then I turn it over to Standard but

12      the contract is with Standard.             So that's one source

13      of -- I don't get it directly.             I know occasionally they

14      put it in my name, but then I deposit it right into the

15      Standard account.

16                  Q.   Why don't they pay you directly?

17                  A.   I think -- I think they get confused.                 They

18      used to pay to Giuliani --

19                  Q.   Let me clarify.          I wasn't asking about

20      their intentions in terms of who they pay.

21                       Why do you arrange things so that the

22      contract is with your LLC rather than with you

23      personally?

24                       MR. CAMMARATA:         Objection.

25                       THE WITNESS:        I've always done that.          I've

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1                   done that -- I've done that for -- the only thing

2                   I ever did that with and then I changed it with

3                   Speeches, I did that personally.                 But I always had

4                   them contract with my company, rather than with

5                   me, largely because I could keep better track of

6                   it.   And also because I wanted to support my

7                   company.   I wanted it to grow.

8                          So my contract with ABC --

9       BY MR. NATHAN:

10                  Q.     Was with Giuliani Communications?

11                  A.     Right.

12                  Q.     Okay.    And you did that because --

13                  A.     And now -- and now originally my contract

14      with -- with Frank -- this is what caused the confusion.

15                         Originally my contract with FrankSpeech was

16      with Giuliani Communications.              And they made out the

17      check to Giuliani Communications.                And then when we

18      switched to Standard, they originally just made out the

19      checks to me until they changed it in their system.

20                         So I would then negotiate the check and

21      deposit it into the Standard account, I never took it for

22      myself.

23                  Q.     Why was it easier to keep track of if your

24      LLC was the one making the contracts and receiving the

25      payments?

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1                         MR. CAMMARATA:       Objection.

2                         THE WITNESS:      Because it all went to one

3                   place and -- and they -- then Ryan could decide

4                   how it could best be used.

5       BY MR. NATHAN:

6                   Q.    Best be used for what?

7                   A.    To help the company and help me.

8                   Q.    Okay.   Are there any other -- I think you

9       described yourself as the talent with respect to these

10      companies?

11                  A.    So I do that.       That's one -- that's one

12      thing.      Then I also do -- I do mayor -- America's Mayor

13      Live and the revenue from that is basically advertising

14      revenue and that goes into Standard every month.

15                  Q.    Is there anyone, other than yourself, who

16      earns money for these communications, Giuliani

17      Communications or Standard USA?

18                  A.    Not directly.       I mean, they have -- so the

19      money I earn, I couldn't earn without the help of

20      Dr. Ryan, Ted Goodman and then Mike.                 So they help me

21      with it.

22                  Q.    Okay.

23                  A.    They -- and they -- they receive salaries

24      for that.

25                  Q.    Okay.   Because they are employees of the

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1       company?

2                   A.   They are both employees and owners.

3                   Q.   Okay.    Ted and Maria are owners of

4       Standard?

5                   A.   Right.

6                   Q.   Are there any other --

7                   A.   No, Mike is just --

8                   Q.   -- employees of Standard?

9                   A.   -- an employee and Steven Schumacher is

10      a -- and -- and Ryan gets paid a salary.                   And Steve --

11      Steven Schumacher is -- which I guess you have to --

12      employed him as a consultant one or two times.

13                  Q.   Okay.    But there is nobody else who you

14      describe as the talent with respect to either of these

15      companies?

16                       MR. CAMMARATA:        Objection.

17                       THE WITNESS:       No.

18      BY MR. NATHAN:

19                  Q.   Okay.    Okay.     Is there anything else -- I

20      know I asked this earlier but now that we're coming to

21      the end, is there anything else about your testimony that

22      you'd like to amend in any way?

23                  A.   No, sir.

24                  Q.   Okay.    So of all the topics we've

25      discussed, you've answered my questions to the best of

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1       your knowledge at this time?

2                   A.    I have.

3                   Q.    Okay.     And nothing has occurred to you

4       while we've sit -- while we've been sitting here that

5       would cause you to amend any of your answers?

6                   A.    No, nothing comes to mind.

7                         MR. NATHAN:       Okay.      I'm going to hold the

8                   deposition open for the reasons already stated on

9                   the record.

10                        And other than that, I have no further

11                  questions.

12                        THE WITNESS:        Thank you.

13                        MR. CAMMARATA:         Thank you.

14                        THE VIDEOGRAPHER:           The time is 5:28 p.m.

15                  This concludes today's proceedings and the

16                  deposition of Rudolph W. Giuliani.

17                        (The proceeding is adjourned at 5:28 p.m.)

18

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                                                                       Page 344

1                        CERTIFICATE OF OATH OF WITNESS
2
3       STATE OF FLORIDA                 )
4       COUNTY OF ST. LUCIE              )
5
6                        I, the undersigned Notary Public, in and
7       for the State of Florida, hereby certify that RUDOLPH W.
8       GIULIANI personally appeared before me, produced ID and
9       was duly sworn.
10
11                       WITNESS MY HAND and official seal in the
12      City of Fort Pierce, County of St. Lucie, State of
13      Florida this December 30, 2024.
14
15
16
17
                                   <%3003,Signature%>
18                                _________________________________
                                  Jennifer L. Bush, RPR, FPR, FPR-C
19                                Notary Public
                                  State of Florida at Large.
20                                My Commission: #HH 529563
                                  My commission expires:            9/20/28
21
22
23
24
25

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                                                                       Page 345

1                        CERTIFICATE OF REPORTER
2
3       STATE OF FLORIDA                 )
4       COUNTY OF ST. LUCIE              )
5                        I, Jennifer L. Bush, Registered
6       Professional Reporter, Florida Professional Reporter, do
7       hereby certify that I was authorized to and did
8       stenographically report the deposition of RUDOLPH W.
9       GIULIANI; and that a review of the transcript was
10      requested; and that pages 1 through 348, inclusive, are a
11      true record of my stenographic notes.
12                       I further certify that I am not a relative,
13      employee, attorney or counsel of any of the parties, nor
14      am I a relative or employee of any of the parties,
15      attorneys or counsel connected with the action, nor am I
16      financially interested in the action.
17
18                       Dated this December 30, 2024.
19
                                    <%3003,Signature%>
20                                ______________________________
                                  Jennifer Bush, RPR, FPR, FPR-C
21
22
23
                         The foregoing certification of the
24      transcript does not apply to any reproduction of the same
        by and means unless under the direct control and/or
25      direction of the certifying reporter.

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                                                                       Page 346

1
2       December 30, 2024
3       RUDOLPH W. GIULIANI
        C/O Joseph M. Cammarata, Esquire
4       Cammarata & DeMeyer PC
        456 Arlene Street
5       Staten Island, NY 10314
6       RE: FREEMAN VS. GIULIANI
        Deposition of RUDOLPH W. GIULIANI
7
        Dear Mr. Giuliani:
8
                      The above-referenced transcript is
 9      available for review.
10                    The witness should read the testimony to
        verify its accuracy. If there are any changes, the
11      witness should note those with the reason on the attached
        Errata Sheet.
12
                      The witness should, please, date and sign
13      the Errata Sheet and e-mail to the deposing attorney as
        well as to Veritext at cs-ny@veritext.com and
14      copies will be e-mailed to all ordering parties.
15                    It is suggested that the completed errata
        be returned 30 days from receipt of testimony, as
16      considered reasonable under Federal rules*. However,
        there is no Florida statute to this regard.
17
                      If the witness fails to do so, the
18      transcript may be used as if signed.
19
                         Yours,
20
21
                         Veritext Legal Solutions
22
        *Federal Civil Procedure Rule 30(e)/Florida Civil
23      Procedure Rule 1.310(e).
24
25

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                                                                       Page 347

1                         CERTIFICATE OF NOTARY PUBLIC
2
3       STATE OF FLORIDA
4       COUNTY OF ___________
5
6                        I, RUDOLPH W. GIULIANI, certify that I have
7       read the foregoing transcript of my deposition and that
8       the statements contained therein, together with any
9       additions or corrections made on the attached Errata
10      Sheet are true and correct.
11
12                       Dated this _____ day of ___________, 20__.
13
14                                       _________________________
                                         RUDOLPH W. GIULIANI
15
16                       The foregoing certificate was subscribed to
17      before me this _____ day of ________________, 20__, by
18      the witness who has produced a __________________ as
19      identification and who did not take an additional oath.
20
21                                ________________________________
                                               NOTARY PUBLIC
22
23
24
25

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                                                                       Page 348

1                                     ERRATA SHEET
2       IN RE:      FREEMAN VS. GIULIANI
3       DO NOT WRITE ON TRANSCRIPT - ENTER CHANGES HERE:
4       Page No.          Line No.       Change              Reason
5       ________/________/_______________/________________
6       ________/________/_______________/________________
7       ________/________/_______________/________________
8       ________/________/_______________/________________
9       ________/________/_______________/________________
10      ________/________/_______________/________________
11      ________/________/_______________/________________
12      ________/________/_______________/________________
13      ________/________/_______________/________________
14      ________/________/_______________/________________
15      ________/________/_______________/________________
16      ________/________/_______________/________________
17      ________/________/_______________/________________
18      ________/________/_______________/________________
19      ________/________/_______________/________________
20      ________/________/_______________/________________
21      ________/________/_______________/________________
22      ________/________/_______________/________________
23      I have read my deposition in this matter and entered any
        changes in form or substance as reflected above.
24
                          _________      _______________________________
25                        DATE           RUDOLPH W. GIULIANI

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                   Federal Rules of Civil Procedure

                                    Rule 30



      (e) Review By the Witness; Changes.

      (1) Review; Statement of Changes. On request by the

      deponent or a party before the deposition is

      completed, the deponent must be allowed 30 days

      after being notified by the officer that the

      transcript or recording is available in which:

      (A) to review the transcript or recording; and

      (B) if there are changes in form or substance, to

      sign a statement listing the changes and the

      reasons for making them.

      (2) Changes Indicated in the Officer's Certificate.

      The officer must note in the certificate prescribed

      by Rule 30(f)(1) whether a review was requested

      and, if so, must attach any changes the deponent

      makes during the 30-day period.




      DISCLAIMER:        THE FOREGOING FEDERAL PROCEDURE RULES

      ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

      THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

      2019.    PLEASE REFER TO THE APPLICABLE FEDERAL RULES

      OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
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       COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

 Veritext Legal Solutions represents that the

 foregoing transcript is a true, correct and complete

 transcript of the colloquies, questions and answers

 as submitted by the court reporter. Veritext Legal

 Solutions further represents that the attached

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 documents as submitted by the court reporter and/or

 attorneys in relation to this deposition and that

 the documents were processed in accordance with

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 Act (HIPAA), as amended with respect to protected

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 Information (PII). Physical transcripts and exhibits

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